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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAKE THE ROAD NEW YORK, AFRICAN SERVICES
COMMITTEE, ASIAN AMERICAN FEDERATION,
CATHOLIC CHARITIES COMMUNITY SERVICES
(ARCHDIOCESE OF NEW YORK), and CATHOLIC
LEGAL IMMIGRATION NETWORK, INC.,
                                            Plaintiffs,

                              - against -
                                                                             COMPLAINT
KEN CUCCINELLI, in his official capacity as Acting
Director of United States Citizenship and Immigration
Services; UNITED STATES CITIZENSHIP &
IMMIGRATION SERVICES; KEVIN K. McALEENAN,
in his official capacity as Acting Secretary of Homeland
Security; and UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,
                                            Defendants.


                  Plaintiffs Make the Road New York (“MRNY”), African Services Committee

(“ASC”), Asian American Federation (“AAF”), Catholic Charities Community Services

(Archdiocese of New York) (“CCCS-NY”), and Catholic Legal Immigration Network, Inc.

(“CLINIC”), for their Complaint against defendants Ken Cuccinelli and Kevin K. McAleenan, in

their respective official capacities; the United States Citizenship and Immigration Services

(“USCIS”); and the United States Department of Homeland Security (“DHS”), allege as follows:

                                     PRELIMINARY STATEMENT

                    1.     Defendants have promulgated a rule (the “Rule”)1 that seeks to deny

    lawful permanent residence in the United States to millions of law-abiding aspiring immigrants

    with low incomes and limited assets. Most of them are the husbands and wives, parents and

1
     See Inadmissibility on Public Charge Grounds, 84 Fed. Reg. 41,292 (Aug. 14, 2019) (to be codified at 8 C.F.R.
     pts. 103, 212, 213, 214, 245, 248).
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children of U.S. citizens. For the first time in history, the Rule would impose a wealth test on

the primary doorway to U.S. citizenship for immigrants.

               2.    The Rule purports to implement a narrow provision of the Immigration

and Nationality Act (the “INA”) that bars admission and lawful permanent residence (“LPR,”

or so-called “green card” status) to any noncitizen who immigration officials conclude is

“likely to become a public charge.” For more than a century, courts and administrative

agencies have recognized that this provision applies only to noncitizens who are destitute and

unable to work, and who are thus likely to be predominantly reliant on government aid for

subsistence. In that time, Congress has repeatedly re-enacted the public charge provisions of

the Act without material change. And it has expressly rejected efforts to broaden its scope.

               3.    Defendants now seek through the Rule to redefine “public charge” to

dramatically expand the government’s power to exclude noncitizens and deny them green

cards. Under the Rule, green card status—for the vast majority of immigrants, a necessary

condition to achieving citizenship—would be denied to certain, predominantly nonwhite,

noncitizens who USCIS loosely predicts are likely to receive even a small amount of specified

government benefits at any time in the future. Even the predicted receipt of noncash benefits

(such as Medicaid and the Supplemental Nutrition Assistance Program (“SNAP,” the former

food stamp program)) that are widely used by working families to supplement their earnings—

and that, under existing law, are expressly excluded from public charge consideration—would

render applicants ineligible for a green card. The Rule would fundamentally transform

American immigration law—and, indeed, foundational principles of American democracy—by

conditioning lawful permanent residence on high incomes and a perceived ability to




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    accumulate enough wealth to fully absorb the prospective impacts of health problems or wage

    losses.

                    4.    The Rule, entitled “Inadmissibility on Public Charge Grounds” and set to

    become effective on October 15, 2019, threatens grave, imminent harm to immigrants, their

    families, and their communities, and to immigrant assistance organizations such as plaintiffs

    here. The nonpartisan Migration Policy Institute has estimated that more than half of all

    family-based green card applicants could not meet the factor the Rule weights most heavily in

    favor of an immigrant’s adjustment of status, an income of 250 percent of the Federal Poverty

    Guidelines (“FPG”).2 The Migration Policy Institute has also estimated that 69 percent of

    recent green card recipients had one or more factors that the Rule weights negatively, and 43

    percent had two or more negative factors.3 As defendants intend, the impact of the Rule would

    be felt disproportionately by immigrants from countries with predominantly nonwhite

    populations, including those from Mexico, Central America, the Caribbean, China, the

    Philippines, and Africa.

                    5.    The harm the Rule will cause is not limited to future denials of green card

    status. Far from it. As defendants concede—and intend—the Rule will also likely cause

    hundreds of thousands of immigrants annually not to access benefits to which they are lawfully

    entitled. Since press reports surfaced in January 2017 of a draft Executive Order directing

    DHS to adopt a broadened definition of “public charge,” large numbers of noncitizens have

2
     Jeanne Batalova et al., Through the Back Door: Remaking the Immigration System via the Expected “Public-
     Charge” Rule, Migration Policy Institute (Aug. 2018), https://www.migrationpolicy.org/news/through-back-
     door-remaking-immigration-system-expected-public-charge-rule. This study was referenced in numerous public
     comments, including, e.g., those submitted by the National Hispanic Leadership Agenda, and the Service
     Employees International Union.
3
     Randy Capps et al., Gauging the Impact of DHS’ Proposed Public-Charge Rule on U.S. Immigration, Migration
     Policy Institute (Nov. 2018), https://www.migrationpolicy.org/research/impact-dhs-public-charge-rule-
     immigration. This study was referenced in numerous public comments, including, e.g., those submitted by the
     National Center for Law and Economic Justice, and the Massachusetts Attorney General.

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    already chosen not to participate in public benefit programs for fear of damaging their

    immigration status. DHS has also acknowledged that the losses of benefits resulting from the

    Rule could lead to “[w]orse health outcomes,” “[i]ncreased use of emergency rooms and urgent

    care as a method of primary health care due to delayed treatment”; “[i]ncreased prevalence of

    communicable diseases”; “[i]ncreased rates of poverty and housing instability”; and “[r]educed

    productivity and educational attainment,” among other dire harms.4 In fact, numerous studies

    cited in public comments on the proposed Rule have shown that DHS’s estimates drastically

    understate the harm the Rule will cause.5

                    6.    Nothing in the INA justifies or authorizes the Rule. On the contrary, the

    Rule is inconsistent with the language of the Act and with more than a century of judicial

    precedent and administrative practice. As DHS has admitted, “[a] series of administrative

    decisions after passage of the [INA] clarified . . . that receipt of welfare would not, alone, lead

    to a finding of likelihood of becoming a public charge.” 83 Fed. Reg. at 51,125. Consistent

    with these decisions and the settled meaning of “public charge,” USCIS’s predecessor agency,

    the Immigration and Naturalization Service (“INS”), determined in 1999 that “mere receipt of

    public assistance, by itself, will not lead to a public charge finding.”6 INS’s 1999 published

    field guidance (the “Field Guidance”), which has been in effect for more than 20 years,

    expressly excluded from public charge consideration receipt of such supplemental noncash

    benefits as Medicaid and SNAP, thus permitting intending immigrants who were not primarily


4
     Inadmissibility on Public Charge Grounds, 83 Fed. Reg. 51,114, 51,270 (proposed Oct. 10, 2018) (to be
     codified at 8 C.F.R. pts. 103, 212, 213, 214, 245, 248).
5
     E.g., California Immigrant Policy Center, Comment, at 3 (Dec. 10, 2018). Throughout this Complaint, public
     comments on the proposed Rule will be cited by referring to the name of the organization or individual that
     submitted them.
6
     Inadmissibility and Deportability on Public Charge Grounds, 64 Fed. Reg. 28,676, 28,677 (proposed May 26,
     1999) (to be codified at 8 C.F.R. pts. 212, 237).

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    dependent on cash assistance to obtain crucial health or other services for themselves and their

    families without losing eligibility for green cards.7

                    7.    The Rule overturns this historical understanding. It seeks to label as

    “public charges” a far larger group of intending immigrants, including noncitizens who receive

    any amount of cash or noncash public benefits for even a short duration. Thus, a noncitizen

    could be branded likely to be a public charge for receiving benefits such as Medicaid, SNAP,

    and public housing subsidies that are widely used by low-wage workers and are available to

    beneficiaries with earned income well above the poverty line. Receipt of such benefits would

    not have been considered in any public charge determination under existing law, including the

    Field Guidance. And, because determining whether someone is “likely to become a public

    charge” is inherently predictive, the Rule would bar green card status to any noncitizen whom

    USCIS agents predict is likely to receive even a minimal amount of such benefits at any time in

    the future. Under the Rule, green card status could also be denied on the ground that an

    applicant has limited assets and works at a job that is low-wage or does not provide health

    insurance. The Rule would also predicate a “public charge” finding on a wide variety of other

    factors that have never previously been considered relevant, including such vague and

    standardless (and non-statutory) factors as English fluency and credit score.

                    8.    The Rule thus attempts to rewrite the INA without action by Congress,

    and it does so in a way that Congress has expressly and repeatedly rejected. Between 1996 and

    2013, Congress rejected multiple efforts to define “public charge” to include the receipt of




7
     See Field Guidance on Deportability and Inadmissibility on Public Charge Grounds, 64 Fed. Reg. 28,689 (May
     26, 1999).

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    noncash supplemental benefits. On the contrary, Congress has repeatedly reenacted the public

    charge provisions of the INA without material change.

                    9.    Defendants fully understand and intend the dramatic change the Rule will

    make to U.S. immigration law. Stephen Miller, the President’s senior advisor on immigration

    and a principal architect of the Rule, has said that the Rule will be “transformative,” and

    defendant Ken Cuccinelli, in announcing the publication of the Rule, stated that it would

    “reshape” the system of obtaining lawful permanent residence. They are right. But under the

    Constitution, it is up to Congress, not the Department of Homeland Security, to “transform[]”

    or “reshape” U.S. law.

                    10.   The Rule also is “transformative” in that it undermines the goal of family

    unity, which has been a cornerstone of U.S. immigration policy for nearly a century.

    Beginning in 1921, Congress expanded the categories of family members of citizens and green

    card holders able to seek admission or status adjustment through their relatives to further the

    “well-established policy of maintaining family unity.” Revision of Immigration and

    Nationality Laws, S. Rep. No. 1137, at 16 (1952). The Immigration Act of 1965, also called

    the Hart-Celler Act, Pub. L. No. 89-236, 79 Stat. 911, adopted an immigration policy designed

    to “first reunite families,” H.R. Rep. No. 89-745, at 12 (1965).8 Congress has never retreated

    from that policy. The Rule will predominantly affect family-based aspiring immigrants, and

    thus will undermine decades of immigration law promoting and protecting family stability,

    unity, and well-being through the process of granting lawful permanent residence.




8
     See Albertina Antognini, Family Unity Revisited: Divorce, Separation, and Death in Immigration Law, 66 S.C.
     L. Rev. 1, 4 (2014).

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               11.   The Rule seeks to achieve by fiat what the Trump Administration has

failed to achieve through legislation. The Trump Administration explicitly sought to reduce

family-based immigration and convert U.S. immigration policy to a “merit”-based system. But

its efforts to achieve that goal through legislation have failed. The Rule now seeks to

circumvent Congress in furtherance of that goal.

               12.   The Rule accordingly violates the Administrative Procedure Act (“APA”)

because it is not in accordance with law, and is arbitrary, capricious, and an abuse of

discretion.

               13.   Even more fundamentally, under the plain language of the INA, DHS

issued the Rule without statutory authority. The INA expressly grants the authority to regulate

public charge determinations for noncitizens seeking adjustment of status not to DHS, but to

the Attorney General. Accordingly, the promulgation of the Rule was enacted “in excess of

statutory jurisdiction, authority, or limitations,” in further violation of the APA. 5 U.S.C.

§ 706(2)(C).

               14.   The Rule violates the APA for additional reasons. Defendants fail to

address substantive objections raised in the more than 266,000 public comments—the vast

majority of them opposing the proposed rule—from state and local governments, health care

providers, educators, religious organizations, members of Congress, business organizations,

independent policy analysts, and others. Defendants fail to establish the premise of the Rule

that certain arbitrary and in some cases undefined circumstances, such as the minimal receipt

of temporary benefits or lack of English proficiency, are reliable predictors of becoming a

public charge. This premise is disconnected from the reality of the immigrant experience in

the United States. Defendants fail to justify DHS’s dramatic departure from prior agency


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interpretation of the INA, including the Field Guidance. And, while purporting to apply only

to green card applications submitted after its effective date, the Rule is impermissibly

retroactive, as well as so confusing, broad, and vague, and internally inconsistent that it fails to

give applicants notice of conduct to avoid and invites arbitrary decision-making by government

officials.

               15.   The Rule also discriminates against people with disabilities contrary to

Section 504 of the Rehabilitation Act of 1973. 29 U.S.C. § 794.

               16.   Finally, the Rule violates the Constitution because its adoption was driven

by unconstitutional animus against nonwhite immigrants. The Rule—which originated in a

nativist think tank, and subsequently in a draft Executive Order—reflects the President’s and

his advisors’ longstanding hostility to nonwhite immigrants from what he has referred to as

“shithole countries,” and whom he has characterized as “animals” who are “infesting” the

United States. He has repeatedly referred to immigration from the southern border as an

“invasion.” Defendant Cuccinelli, the acting USCIS Director and the primary public face of

the Administration’s defense of the Rule, has for many years similarly referred to entry of

undocumented immigrants from Mexico as an “invasion.” In a recent televised interview,

when asked whether the Rule was consistent with the ethos of the Statue of Liberty’s

welcoming words to “your tired, your poor, your huddled masses yearning to breathe free,”

Cuccinelli responded that those words were addressed to “people coming from Europe.”

Multiple courts, including at least two district courts in this Circuit, have already found it

“plausible” that other anti-immigrant actions by the current Administration—including actions

undertaken by DHS—were motivated by just such unconstitutional animus.




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                    17.   Plaintiffs are national and community-based non-profit organizations that

     advise, assist, advocate for, and serve hundreds of thousands of low-income noncitizens and

     their families in New York City and nationwide. The Rule will impede their core missions,

     and they will be forced to allocate substantial time and resources to respond to the impact the

     Rule will have on noncitizen families in New York and elsewhere. Accordingly, they bring this

     action under the APA and the Fifth Amendment to the United States Constitution to enjoin the

     Rule, declare it unlawful, and set it aside.

                                    JURISDICTION AND VENUE

                    18.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as

     this case arises under the United States Constitution, the APA, 5 U.S.C. § 551 et seq., and the

     INA, 8 U.S.C. § 1101 et seq.

                    19.   The publication of the final Rule in the Federal Register, on August 14,

     2019, constitutes final agency action within the meaning of 5 U.S.C. § 704.

                    20.   Venue is proper in this district pursuant to 28 U.S.C. § 1391, because the

     adjudication of family-based adjustment of status applications occurs at the USCIS New York

     Field Office located at 26 Federal Plaza, New York, New York 10278, which is in this district,

     and is where MRNY’s members, and ASC’s and CCCS’s clients, would have their adjustment

     of status applications adjudicated. Venue in this district is also proper because Plaintiffs

     MRNY, ASC, AAF, and CCCS have offices in this district.

                                                    PARTIES

I.         Plaintiffs

                    21.   Plaintiff Make the Road New York (“MRNY”) is a nonprofit,

     membership-based community organization with more than 23,000 members residing in New


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York City, Long Island and Westchester. Its mission is to build the power of immigrant and

working-class communities to achieve dignity and justice. Its work involves four core

strategies: Legal and Survival Services, Transformative Education, Community Organizing and

Policy Innovation. MRNY regularly creates and disseminates educational and outreach

materials and conducts workshops for its members and the public on issues affecting working-

class and immigrant communities. MRNY also mobilizes community members to engage in

organizing and public-policy advocacy efforts around the organization’s priorities.

               22.   Through its legal, health and education teams, MRNY provides direct

services to thousands of immigrant New Yorkers. Among other matters, MRNY’s legal team

represents thousands of immigrants in removal proceedings or filing affirmative applications

for immigration benefits, including individuals seeking adjustment of status. Its health team

assists immigrants in accessing health services and navigating the health system as well as

advocating for improved access to healthcare for immigrants. And its adult education team

focuses on English as a second language, civics, basic adult education, and citizenship classes

for immigrant New Yorkers. In 2018 alone, across its five community centers, MRNY

provided direct services to over 10,000 individuals (not including their family members who

benefited from its services).

               23.   During the public notice-and-comment period, MRNY submitted to

USCIS a detailed comment documenting numerous harms the Rule would inflict on its

members and immigrant communities. MRNY’s comment demonstrated the Rule’s substantial

chilling effect on families and individuals entitled to nutritional and health assistance; the risks

to public health and children should the Rule take effect; and the economic losses and

increased suffering of immigrant communities. MRNY’s comment also criticized the Rule’s


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racist intent and disproportionate impact on Latinx communities; the irrationality of the

English-language proficiency requirement; and the incoherence and unlawfulness of the Rule’s

alteration of the test to determine whether an immigrant is or may become a public charge.

               24.   MRNY also assisted approximately 300 of its members in submitting

comments.

               25.   The Rule is causing substantial harm to MRNY. MRNY’s mission of

advocating for the rights of low-income immigrant communities is inseparable from the

interests of its members in not being denied admission or adjustment of their immigration

status, in receiving vital public benefits, and in maintaining family integrity and unity.

Defendants’ actions also harm MRNY, and threaten it with ongoing and future harm, by

causing the organization to divert resources in response to defendants’ actions, including by

assisting immigrants who may receive or need to receive public benefits on behalf of

themselves and their families in navigating this new, more onerous regulatory framework.

MRNY’s members and clients who are preparing to file for adjustment of status face the

prospect of denial and ultimately removal from the U.S. should the Rule take effect. Since the

Rule was proposed, MRNY has held dozens of workshops to address questions and concerns

among its members and devoted significant organizational resources to educating, screening

and assisting members and other members of the public in responding to the Rule. MRNY’s

legal team has to divert resources to provide consultations and advice to immigrant New

Yorkers who may be impacted under this Rule. In the event that adjustment applications are

denied on public charge grounds, MRNY will have to devote resources to representing its

members and clients in removal proceedings. Defendants’ actions also increase the already




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significant fears and needs of New York’s immigrant community, impeding MRNY’s goals of

mobilizing and empowering its constituency.

               26.   Plaintiff African Services Committee (“ASC”) is a non-profit multi-

service human rights agency based in the Manhattan neighborhood of Harlem, and dedicated to

mobilizing and empowering immigrants, refugees, and asylees from across the African

Diaspora, filling gaps in the pathway to achievement of economic self-sufficiency. ASC’s

departments provide, among other things, housing placement, rental assistance, health

screening access to care, and mental health services for hundreds of immigrants, especially

those living with and at risk for HIV/AIDS and viral hepatitis; legal representation in

immigration proceedings, including those for adjustment of status, providing increasing levels

of assistance with legal application fees and emergency financial support to fill one-time needs,

from private sources of funding; English language classes for immigrants; food pantry and

nutrition services; and development of leadership skills of immigrants through community

education and organizing. In seeking to educate and organize the communities it serves, ASC

also publishes fact sheets, newsletters, and policy notes, which include updates and information

on immigration policies with the potential to impact its clients.

               27.   During the public notice-and-comment period, ASC submitted to USCIS a

detailed comment documenting numerous harms the Rule would inflict on its clients and

immigrant communities generally, with a particular focus on the risks to health care access for

those with HIV/AIDS.

               28.   Defendants’ actions threaten substantial harm to ASC’s ability to

accomplish its mission. ASC’s clients who are preparing to file for adjustment face the

prospect of denial and ultimately removal from the U.S. should the Rule take effect. ASC’s


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clients are at particular risk because many live with chronic health conditions currently

protected under the Americans with Disability Act (“ADA”) and lack private health insurance.

The Rule reinforces the concept of disability being a public burden, and will adversely affect

immigrants with disabilities like many of ASC’s clients, who are more likely than non-disabled

immigrants to be living on or below the poverty line and utilizing public benefits for survival.

For example, people with disabilities often need help with daily activities that are covered by

Medicaid, but typically are not covered by private insurance. As another, children whose

immigrant parents have disabilities will suffer due to being denied access to programs that

provide them shelter and food, even if they were born in the U.S. In the worst-case scenario,

children may be forcibly separated from their parents and placed into foster care.

               29.   The Rule is also affecting ASC’s ability to connect clients with the

benefits and services they need due to the warranted fear that receiving benefits today will be

held against them in the future when they pursue their goals of seeking adjustment of status.

               30.   Because of the Rule’s impact on ASC clients and constituents, among the

many legal needs presented by clients, the organization has no choice but to devote significant

resources to responding to the Rule. ASC has had to prioritize assisting applicants for

adjustment who can file before the Rule’s October 15, 2019, effective date, and at the same

time counsel staff, community partners, and clients with urgent questions about whether

receiving the benefits and services that keep them healthy and secure will undermine their

ability to remain permanently in their communities surrounded by their networks of support.

The consequences of choosing to forego benefits, especially healthcare and housing assistance,

would be detrimental for ASC clients living with chronic health conditions and would derail

their efforts to work, pursue education and training, and achieve their goals of success. In the


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event that adjustment applications are denied on public charge grounds, ASC will have to

devote resources to representing its clients in removal proceedings.

               31.   Plaintiff Asian American Federation (“AAF”) is a non-profit umbrella

leadership and organizational development network based in lower Manhattan and Flushing,

Queens, with a mission of building the influence and well-being of the pan-Asian American

community. AAF represents over 70 community services agencies throughout the northeast

who work in health and human services, education, economic development, civic participation,

and social justice, and are focused on serving low-income Asian immigrants and their families.

In serving these members, AAF provides information and advocacy tools aimed at the low-

income constituents of their members and for use by member staff; initiates research and data

analysis to assess community needs, improve service delivery, and make policy

recommendations; develops research on critical policy issues; raises awareness of problems by

engaging with government stakeholders and the media; and provides training and capacity-

building support to AAF member agencies.

               32.   During the public notice-and-comment period, AAF submitted to USCIS a

detailed comment documenting numerous harms the Rule would inflict on its clients and

immigrant communities generally, with a particular focus on the Rule making it harder for

Asian immigrants to adjust and the chilling effect caused by the Rule.

               33.   Defendants’ actions harm AAF in numerous ways. For low-income Asian

immigrants, just like others, the Rule represents an emergency that requires immediate, critical

decisions be made about pursuing plans to adjust, seeking to preserve the ability to adjust by

foregoing public benefits, and dealing with the fallout from foregoing such benefits:

immediate, adverse impacts on health, increased hunger, and housing instability. To fulfill its


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mission of building the influence and well-being of its constituent communities, AAF has been

required to expend resources providing the information, services, and expertise its members

need to address this unfolding emergency, and at the same time represent member interests by

engaging with government actors, Asian-language media, and the public to help get the word

out about the Rule and its impacts, especially in the low-immigrant Asian neighborhoods and

communities.

               34.   Plaintiff Catholic Charities Community Services (Archdiocese of New

York) (“CCCS-NY”) is a nonprofit organization within the Archdiocese of New York, with

program sites and affiliates located throughout New York City and the Lower Hudson Valley.

CCCS-NY’s mission is to provide high quality human services to New Yorkers of all religions

who are in need, especially the most vulnerable: the newcomer, the family in danger of

becoming homeless, the hungry child, persons struggling with their mental health and

developing youth. CCCS-NY’s mission is grounded in the belief in dignity of each person and

the building of a just and compassionate society.

               35.   CCCS-NY has been pursuing this mission since 1949 through a network

of programs and services that enable participants to access eviction/homelessness prevention;

tenant education and financial literacy training; case management services to help people

resolve financial, emotional and family issues; long-term disaster case management services to

help hurricane survivors rebuild their homes and lives; emergency food and access to benefits

and other resources; immigration legal services; refugee resettlement; English as a second

language services; specialized assistance for the blind; after-school and recreational programs

for children and youth; dropout prevention and youth employment programs; and supportive

housing programs for adults with severe mental illness.


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               36.   CCCS-NY includes a 150-employee Immigrant and Refugee Services

Division, which provides legal counsel, deportation defense, and application assistance—

including litigation, family unity, asylum support, naturalization, and more—to immigrants;

conducts large scale legal services initiatives throughout the Lower Hudson Valley; provides

legal orientation, know your rights, and legal defense to unaccompanied children; offers

resettlement and orientation support to refugees; provides English as a second language and

cultural instruction; and operates three information hotline services, which respond to over

64,000 calls annually. Two of those hotlines are fundamental to the provision of legal services

and legal information by New York City and New York State. These are the “ActionNYC

Hotline” and the “New Americans Hotline,” which answer over 43,000 calls in 18 languages

annually and make referrals to social service providers throughout New York State each year.

During 2018, the Immigrant and Refugee Services programming directly assisted over 20,000

individuals—children, families, workers—in New York.

               37.   During the public notice-and-comment period, CCCS-NY submitted to

USCIS a comment documenting the harms the Rule would inflict on immigrant communities,

including increased suffering for families and children due to immigrants’ foregoing food and

health care assistance for fear of losing access to immigration status. CCCS-NY’s comment

also criticized the Rule’s unlawful and confusing alteration of the test to determine whether an

immigrant is or may become a public charge; the likelihood of arbitrary and discriminatory

application of the new standards; and the arbitrary, costly, and inequitable increase in the

Rule’s public bond requirements.

               38.   Defendants’ actions directly harm CCCS-NY in multiple ways. The Rule

threatens CCCS-NY’s ability to achieve its core mission of helping to assist vulnerable


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immigrants—families, children, long-time residents, workers—establish their footing in the

communities they serve, whether through obtaining LPR status to preserve and protect family

unity or ensuring that clients who are eligible continue to access critical government services

and benefits that support vulnerable families. The Rule also requires CCCS-NY to devote

substantial resources to assist its clients in understanding and addressing its impact. Further,

CCCS-NY’s clients who are preparing to file for adjustment of status face the prospect of

denial and ultimately removal from the U.S. should the Rule take effect. In the event that

adjustment applications are denied on public charge grounds, CCCS-NY will have to devote

resources to representing its clients in removal proceedings.

               39.   Given the critical role the CCCS-NY hotlines play in the State and City

response to public charge, CCCS-NY is on the front line of responding to the impact of the

Rule—on New Yorkers who want to adjust to LPR status and their families, and on New

Yorkers who are considering giving up SNAP, housing assistance, and essential health care

because they do not understand if the Rule applies to them.

               40.   Plaintiff Catholic Legal Immigration Network, Inc. (“CLINIC”) is a

national, non-profit training and resource network focused on equipping immigration

organizations with the tools necessary to provide comprehensive immigration representation.

CLINIC’s network includes approximately 370 affiliate immigration programs, which operate

over 400 offices in 49 states and the District of Columbia. Its network employs more than

2,300 attorneys and accredited representatives who, in turn, serve hundreds of thousands of

low-income immigrants each year, including aid with applications for adjustment of status. In

seeking to further its mission to embrace the Gospel value of welcoming strangers, CLINIC

supports its network by hosting in-person trainings on immigration-related matters; conducting


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e-learning courses and webinars; publishing newsletters, Practice Advisories, and articles on

developments in the immigration landscape; and, in some instances, providing funding for

affiliates working directly with immigrant communities.

                  41.   CLINIC affiliates employ not only attorneys but also Department of

Justice (“DOJ”)-accredited representatives. Accredited representatives are non-attorney staff or

volunteers who are approved by DOJ to represent noncitizens in immigration court or before

the Board of Immigration Appeals or USCIS. An accredited representative must work for a

non-profit or social service organization that provides low- or no-cost immigration legal

services. Many CLINIC affiliates rely on accredited representatives for the day-to-day work of

their organization. In turn, those accredited representatives rely on CLINIC’s resources for

training and guidance.

                  42.   CLINIC also provides training to its affiliates and other providers of

services to immigrants. Trainings take the form of webinars, online courses with multiple

classes, online self-directed courses, and workshops during its annual affiliate convening.

CLINIC also provides technical support to its affiliates through the “Ask-the-Experts” portal

on its website.

                  43.   During the public notice-and-comment period, CLINIC submitted to

USCIS a detailed comment documenting the enormous harms and burdens the Rule would

inflict on immigrant communities and legal representatives and pointing out significant legal

and practical flaws in the Rule’s scheme. These flaws included, among others, the Rule’s

failure to justify changes to longstanding practice; its bypassing of the legislative process; and

its inconsistency with congressional intent and the plain meaning of “public charge.”




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               44.   Defendants’ actions threaten to impede CLINIC’s mission, and have

directly harmed and threaten ongoing and future harm to CLINIC, including by expending

substantial resources to address the Rule and its impacts. Attorneys and accredited

representatives from affiliates submit inquiries regarding individual immigration matters that

are particularly complex, and CLINIC staff provide an expert consultation. Prior to the Rule

being published on August 14, 2019, CLINIC attorneys provided an average of ten

consultations a week on public charge related issues. Since the Rule was released, CLINIC has

experienced a tripling in volume of technical support questions related to public charge and has

had to prioritize updating its legal reference materials, conducting webinars, and modifying its

training curricula. CLINIC anticipates that demand for consultations will be that much greater

when the Rule becomes effective on October 15, 2019. Consultations regarding removal

defense for individuals whose adjustment of status applications have been denied will be

particularly complex.

               45.   CLINIC has no choice to apply its resources to addressing the

emergencies precipitated by the Rule, both advising on individual cases brought to them by

affiliates, and getting accurate information out to their immense network.

               46.   Were the Rule enjoined and set aside, plaintiffs could proceed with

furthering their missions of affirmatively helping immigrants in meeting their goals instead of

being forced into the defensive posture of protecting them from adverse actions, dealing with

emergencies, and filling in the gaps created by a disenrollment from government benefits and

services. Accordingly, the injuries to plaintiffs would be redressed by a favorable decision

from this Court. Such a decision would, among other things, allow the organizational plaintiffs

to redirect their resources from this issue to their other core objectives.


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II.      Defendants

                 47.   Defendant Ken Cuccinelli is the Acting Director of United States

  Citizenship & Immigration Services, the component of DHS that oversees most adjustments

  and that is responsible for promulgating the Rule. President Trump appointed him to this role

  in June 2019 without seeking Senate confirmation, after the abrupt forced resignation of his

  predecessor, Lee Francis Cissna. Defendant Cuccinelli is sued in his official capacity.

                 48.   Defendant Kevin K. McAleenan (the “Acting Secretary”) is the Acting

  Secretary of Homeland Security and Commissioner of U.S. Customs and Border Protection.

  He inherited the role of Acting Secretary in April 2019 after the forced resignation of his

  predecessor, Kirstjen Nielsen. He is sued in his official capacity.

                 49.   Defendant DHS is a cabinet department of the United States federal

  government. DHS has statutory responsibility for, among other things, administration and

  enforcement of certain portions of the INA (although, as discussed below, not the provisions

  by which the Rule is purportedly authorized).

                 50.   Defendant USCIS is the agency with DHS responsible for the

  administration of applications within the United States for immigrant and non-immigrant

  benefits, including adjudication of applications for legal permanent residence.

                                  FACTUAL ALLEGATIONS

                 51.   The factual allegations in this Complaint are set forth in nine Sections.

  Section I describes lawful permanent residence (green card or “LPR”) status, the basis for

  family-based adjustment, and the process an applicant for adjustment follows to obtain status

  under current law, including the public charge provisions of the INA. Section II discusses the

  historical interpretation of “public charge” in our immigration laws, including Congress’s


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     repeated rejections of efforts to expand the definition of “public charge” in a manner

     substantially similar to that reflected in the Rule. Section III describes the Rule. Section IV

     describes the supplemental, noncash public benefits whose receipt would render a person a

     public charge under the Rule. Section V describes the ways the Rule violates the

     Administrative Procedure Act, including that the Rule is unlawfully retroactive, arbitrary and

     capricious, and discriminatory against individuals with disabilities. Section VI explains DHS’s

     lack of statutory authority to promulgate the Rule. Section VII details defendants’ failure to

     follow the APA’s procedural requirements in promulgating the Rule, including their failure to

     meaningfully respond to substantive comments. Section VIII details the extensive evidence of

     anti-immigrant animus displayed by the defendants and the Trump Administration, under

     whose instructions DHS crafted and promulgated the Rule. Finally, Section IX discusses the

     immediate and irreparable harm that the Rule will cause.

I.        LPR Status, the Adjustment Process, and the Public Charge Provision of the INA

                    52.   The INA defines “lawfully admitted for permanent residence” to mean

     “the status of having been lawfully accorded the privilege of residing permanently in the

     United States as an immigrant in accordance with the immigration laws . . . .” 8 U.S.C.

     § 1101(a)(20). An LPR, or green card holder, has permission to live and work in the U.S.

     permanently as long as they abide by the law, and the right to petition for certain family

     members to join them in the U.S. as LPRs. LPR status is also a precondition for most

     immigrants to be eligible for obtaining U.S. citizenship through naturalization. The INA refers

     to the process whereby a noncitizen already residing in the United States obtains legal

     permanent residence as adjustment of status.




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                    53.    There are various paths by which an intending immigrant can obtain LPR

    status. Family-based immigration is the predominant path, accounting for 66 percent of all

    adjustments to LPR status.9 Other paths to LPR status include (among others) humanitarian

    entry provided to refugees, asylees, and certain crime victims; employer sponsorship; and the

    diversity visa lottery.

                    54.    Obtaining LPR status through a family member involves a number of

    preconditions and steps. As an initial matter, a person must have a qualifying relationship with

    certain U.S. citizens or LPRs. One category of qualifying relationships is “immediate

    relative,” meaning a spouse of a U.S. citizen; an unmarried child under the age of 21 of a U.S.

    citizen; or the parent of a U.S. citizen who is at least 21 years old. 8 U.S.C. §§

    1151(b)(2)(A)(i), 1151(f). The INA places annual numerical limits on the number of

    immigrant visas available to relatives of U.S. citizens and LPRs in certain categories, but there

    are no such limits on the number of persons seeking to obtain LPR status through an immediate

    relative. Id. § 1151(b). Other relatives of a U.S. citizen or LPR may qualify under “family-

    based preference” categories. Id. § 1153(a). These include unmarried adult children of

    citizens; spouses and unmarried children of LPRs; married children of citizens; and brothers

    and sisters of citizens, but there are annual numerical limits placed on the immigrant visas

    available in each of these family-based preference categories. Id. § 1151(a)(1). Fiancés of a

    U.S. citizen and a fiancé’s child, as well as a widow or widower of a U.S. citizen, may also be

    eligible to adjust their status to LPR. Most family-based applicants for LPR status are required




9
      See Dep’t of Homeland Security, Annual Flow Report: Lawful Permanent Residents, at 5 (2018),
      https://www.dhs.gov/sites/default/files/publications/Lawful_Permanent_Residents_2017.pdf.

                                                       22
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to have a financial sponsor who can support them at or above 125 percent of the FPG. See id.

at § 1183a.

               55.     Section 212 of the INA lists many of the bases for denying applications

for admission and adjustment. Id. § 1182(a)(1)–(10) (including, e.g., grounds related to health,

criminal convictions, national security, and public charge). If the applicant is found to be

eligible and there is no basis for denial, the application for status adjustment is approved and

the applicant is issued a lawful permanent resident card, known as a green card.

               56.     In the context of admissibility and status adjustment, public charge

determinations are governed by section 212(a)(4) of the INA, which states that a noncitizen

who “in the opinion of the consular officer at the time of application for a visa, or in the

opinion of the Attorney General at the time of application for admission or adjustment of

status, is likely at any time to become a public charge is inadmissible.” Id. § 1182(a)(4)(A).

               57.     The INA identifies five factors that a consular officer or the Attorney

General must consider when making a prospective public charge determination in the

admissibility context: (1) age, (2) health, (3) family status, (4) assets, resources, and financial

status, and (5) education and skills. Id. § 1182(a)(4)(B)(i). The statute does not ascribe

particular weight to any one factor. The INA also permits a consular officer or the Attorney

General to “consider any affidavit of support” from a financial sponsor. 8 U.S.C.

§ 1182(a)(4)(B)(ii).

               58.     A separate provision of the INA, not directly at issue here, provides that a

public charge determination may result in a noncitizen being deported. Section 237(a)(5) of

the INA provides that “[a]ny alien who, within five years after the date of entry, has become a

public charge from causes not affirmatively shown to have arisen since entry is deportable.”


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     Id. § 1227(a)(5). Although the Rule at issue in this litigation purports to apply only to Section

     212(a)(4), relating to admission and status adjustment, recent reports indicate that the

     Department of Justice is developing a public charge deportation rule “based on” the DHS Rule

     at issue here,10 and DHS confirms as much in the final Rule.11

II.       The Public Charge Provisions Have Historically Been Interpreted to Apply Only to
          Noncitizens Primarily Dependent on The Government For Subsistence

                     59.   Since the “public charge” inadmissibility provision first became part of

     federal immigration law in 1882, courts and administrative agencies have interpreted the term

     “public charge” to refer to noncitizens who rely primarily on the government for subsistence,

     and Congress has repeatedly considered and rejected efforts to expand the definition of public

     charge in a manner similar to the definition in the Rule. The historical interpretation of “public

     charge,” from its origins in federal immigration law to the present, is described chronologically

     below.

          A.       1880s–1930s: The Original Meaning of “Public Charge” Referred to A
                   Narrow Class of Persons Wholly Unable to Care for Themselves

                     60.   The term “public charge” first appeared in federal immigration law in the

     Immigration Act of 1882, 47th Cong. ch. 376, 22 Stat. 214, § 2, which provided that “any

     person unable to take care of himself or herself without becoming a public charge” could be

     denied admission to the United States. Later bills changed the wording of the clause to “likely

     to become a public charge,” and that language has been retained in the statute to the present.12


10
      See Yaganeh Torbati, Exclusive: Trump Administration Proposal Would Make It Easier to Deport Immigrants
      Who Use Public Benefits, Reuters (May 3, 2019), https://www.reuters.com/article/us-usa-immigration-benefits-
      exclusive/exclusive-trump-administration-proposal-would-make-it-easier-to-deport-immigrants-who-use-
      public-benefits-idUSKCN1S91UR.
11
      E.g., 84 Fed. Reg. at 41,324.
12
      E.g., 1891 Immigration Act, 51st Cong. ch. 551, 26 Stat. 1084 § 1; Immigration Act of 1903, 57th Cong. ch.
      1012, 32 Stat. 1213, 1214 § 2 (excluding from the United States “persons likely to become a public charge,”
      among others); Immigration Act of 1917, 64th Cong. Ch. 29, 39 Stat. 874, 876 (same); Immigration and

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                       61.    In the Immigration Act of 1891, Congress provided additionally that

     newly arrived immigrants were subject to “removal,” or deportation, if they became public

     charges within one year after entry resulting from circumstances that did not predate arrival (a

     period later extended to five years). 26 Stat. 1084, 1086 § 11. Like the public charge

     inadmissibility provision, the public charge removal provision has remained largely unchanged

     since it was first adopted.13

                       62.    While the 1882 Act and its successors did not define the term “public

     charge,” Congress considered the phrase to refer to those who were likely to become long-term

     residents of “poor-houses and alms-houses”—i.e., persons who were institutionalized and

     wholly dependent on the government for subsistence. 13 Cong. Rec. 5109 (June 19, 1882). In

     the House debate on the bill that became the 1882 Act, one supporter argued that the bill was

     needed to address alleged efforts by foreign nations “to get these paupers into the United States

     and make their support a burden upon the United States. . . . Here they become at once a public

     charge. They get into our poor-houses.” 13 Cong. Rec. 5107, 5109 (1882) (statement of Mr.

     Van Voorhis). The same Representative favorably quoted a writer who stated that “America

     has come to be regarded by European economists as a cheaper poor-house and jail than any to

     be found at home.” Id. at 5108–09.

                       63.    This interpretation of “public charge” is consistent with earlier and

     contemporaneous usage. Contemporary dictionaries defined “charge” as one “committed to

     another’s custody, care, concern, or management.” Century Dictionary of the English

       Nationality Act of 1952, 82nd Cong. ch. 477, 66 Stat. 163, 183 (1952) (excluding noncitizens “who, in the
       opinion of the consular officer at the time of application for a visa, or in the opinion of the Attorney General at
       the time of application for admission, are likely at any time to become public charges”).
13
       See Immigration Act of 1903, 32 Stat. 1213, 1218 § 20; Immigration Act of 1990, Pub. L. 101-649 § 602, 104
       Stat. 4978 (“Any alien who, within five years after the date of entry, has become a public charge from causes
       not affirmatively shown to have arisen since entry is deportable.”).

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     Language (1889–91). Consistent with this definition (as one group of immigration historians

     stated in a comment on the Rule), “under the colonial, state, and early federal immigration

     laws, deportation based on the public charge clause applied only to people accommodated at

     public charitable institutions or who were substantially dependent on public relief for the basic

     maintenance of their lives.”14 The 1882 Act itself derived from earlier state statutes regulating

     admission of immigrants, particularly in New York and Massachusetts, which similarly used

     the term “public charge” to refer to residents of public institutions for the destitute, such as

     almshouses and workhouses.15

                     64.    Early judicial interpretations of the original public charge provisions

     confirmed that Congress did not intend the public charge exclusion to apply broadly to

     noncitizens who relied on any outside assistance, however minimal. On the contrary, the

     courts recognized early that Congress intended the term public charge to require a substantial

     level of lengthy or permanent dependence on the public for subsistence. As the Second Circuit

     held in 1917, “We are convinced that Congress meant [by public charge] to exclude persons

     who were likely to become occupants of almshouses for want of means to support themselves

     in the future.” Howe v. United States ex rel. Savitsky, 247 F. 292, 294 (2d Cir. 1917); see also

     Gegiow v. Uhl, 239 U.S. 3, 9-10 (1915) (holding that the list of excludable immigrants in the

     Immigration Act of 1907, including those likely to become a public charge, meant to exclude

     immigrants “on the ground of permanent personal objections accompanying them,” (emphasis

     added), and stating that a group of immigrants could not be excluded on public charge grounds

     based on “the amount of money possessed and ignorance of our language”).



14
      Torrie Hester et al., Comment, at 3 (Oct. 5, 2018) [hereinafter “Historians’ Comment”].
15
      See Hidetaka Hirota, Expelling the Poor 180–204 (2017).

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                     65.   Consistent with this narrow understanding of public charge, federal

     immigration officials in the early 20th century excluded only a minuscule percentage of

     arriving immigrants on public charge grounds. According to DHS’s own data, of the

     approximately 21.8 million immigrants admitted to the United States as lawful permanent

     residents between 1892 and 1930, approximately 205,000—less than one percent—were

     deemed inadmissible as likely to become public charges. The same has been true in

     subsequent years: between 1931 and 1980 (the last year for which DHS publishes such data),

     only 13,798 immigrants were excluded on public charge grounds out of more than 11 million

     immigrants admitted as legal permanent residents—an exclusion rate of approximately one-

     tenth of one percent.16

                     66.   The narrow scope of the term “public charge” as interpreted by these

     courts and administrative agencies in applying the public charge exclusion provision of the

     INA is consistent with contemporaneous use of the term by courts in other contexts.

     Contemporaneous state court decisions expressly distinguished between receipt of “temporary

     relief” and becoming a public charge. See, e.g., Davies v. State ex rel. Boyles, 27 Ohio C.C.

     593, 595–96, 1905 WL 629, at *2 (Ohio Cir. Ct. July 8, 1905) (“[P]ublic interests are

     subserved by the aiding of persons who might become a public charge, if left to their own

     resources, to such an extent that, by combining the small fund given them by the state with

     what they may be able to earn . . . they might be able to maintain themselves and avoid

16
      See Dep’t of Homeland Security, Table 1. Persons Obtaining Lawful Permanent Resident Status: Fiscal Years
      1820 to 2016, (Dec. 18, 2017), https://www.dhs.gov/immigration-statistics/yearbook/2016/table1; Immigration
      and Naturalization Service, 2001 Statistical Yearbook of the Immigration and Naturalization Service 258
      (2003), https://www.dhs.gov/sites/default/files/publications/Yearbook_Immigration_Statistics_2001.pdf; see
      also Mae Ngai, Impossible Subjects: Illegal Aliens and the Making of Modern America 18 (2004). Similarly,
      during the Great Depression, the Immigration and Naturalization Service (“INS”) (the predecessor agency to
      USCIS) did not consider immigrants who were “victims of the general economic depression” deportable simply
      because they received public relief. Id. at 72.

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becoming a charge.”); Yeatman v. King, 51 N.W. 721, 723 (1892) (emphasizing the

“obligation” on the public “to keep a portion of the population destitute of means and credit

from becoming a public charge by affording them temporary relief”).

     B.      1940s–1980s: Administrative Decisions Affirm the Original Understanding of
             Public Charge

               67.   The original interpretation of “public charge” by Congress and the courts

persisted in the mid-twentieth century, largely through decisions of the Board of Immigration

Appeals (the “BIA”) and the Attorney General, which narrowly limited the circumstances in

which an immigrant could be deported or denied admissibility or adjustment of status on public

charge grounds.

               68.   In the leading case of Matter of B-, 3 I. & N. Dec. 323, 324 (B.I.A. 1948),

the BIA held that “acceptance by an alien of services provided by a State . . . to its residents,

services for which no specific charge is made, does not in and of itself make the alien a public

charge.” Rather, the Board held, a noncitizen was removable as a public charge only if (1) the

noncitizen was “charged” for receipt of a public benefit under the law, (2) a demand for

payment was made, and (3) the noncitizen or a family member failed to pay. Id. at 326.

Matter of B- has remained the law for more than seventy years.

               69.   In 1952, four years after Matter of B- was decided, Congress reenacted the

public charge provision in the Immigration and Nationality Act of 1952 (the “1952 Act,” also

known as the McCarran-Walter Act). The Senate report accompanying the bill that became the

1952 Act carefully traced the administrative and court decisions interpreting the public charge

provisions of the Act, and proposed retaining the existing provisions without defining the term

“public charge.” S. Rep. No. 1515, at 348–49 (1950). Consistent with that recommendation,



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 the 1952 Act did not define the term or purport to change existing administrative

 interpretations. See 1952 Act, 66 Stat. 163, 183.

                 70.   The holding in Matter of B- that mere receipt of public benefits does not

 render a person a public charge has been applied in the context of admissibility as well as

 removal. In Matter of Martinez-Lopez, 10 I. & N. Dec. 409 (B.I.A. 1962; A.G. 1964),

 Attorney General Robert F. Kennedy set forth in detail the history of the public charge

 inadmissibility rule—including its “extensive judicial interpretation”—and explained that, in

 order to exclude a noncitizen as likely to become a public charge, “the [INA] requires more

 than a showing of a possibility that the alien will require public support.” Id. at 421–22.

 Instead, the Attorney General explained:

               [s]ome specific circumstance, such as mental or physical disability,
               advanced age, or other fact reasonably tending to show that the burden of
               supporting the alien is likely to be cast on the public, must be present. A
               healthy person in the prime of life cannot ordinarily be considered likely
               to become a public charge, especially where he has friends or relatives in
               the United States who have indicated their ability and willingness to come
               to his assistance in case of emergency.

Id. at 422 (collecting cases); see also Matter of Perez, 15 I. & N. Dec. 136, 137 (B.I.A. 1974)

(“The fact that an alien has been on welfare does not, by itself, establish that he or she is likely to

become a public charge.”); Matter of Harutunian, 14 I. & N. Dec. 583, 590 (1974) (finding that a

70-year old noncitizen who was reliant on state old age assistance was inadmissible on public

charge grounds where she “lacks means of supporting herself, . . . has no one responsible for her

support and . . . expects to be dependent for support on old age assistance. . . .”).

                 71.   These administrative decisions continue to reflect a narrow definition of

 “public charge” despite the increasingly broad array of public benefits that became available

 for low-income people since the 1882 Immigration Act was enacted, including the Aid to


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     Dependent Children program (1935), public housing (1937), food stamps (1964), Medicaid

     (1965), Supplemental Security Income (1972), and Section 8 housing vouchers (1974).

     Indeed, even prior to the New Deal—throughout the nineteenth and early twentieth centuries—

     states, counties, and municipalities routinely provided temporary assistance to needy

     residents.17 And prior to enactment of the Personal Responsibility and Work Opportunity

     Reconciliation Act of 1996, discussed further below, many lawfully residing noncitizens were

     eligible for most federal public benefits without restriction. Plaintiffs are not aware of any

     judicial or administrative decision holding that the receipt of benefits under any of these

     programs rendered the recipient a public charge for immigration purposes, and defendants have

     cited none.

          C.       1990s: PRWORA and IIRIRA Confirm Noncitizen Eligibility for Public
                   Benefits and Leave Existing Law Regarding Public Charge Determinations
                   Unchanged

                     72.   Congress in the 1990s twice reenacted the public charge provisions of the

     INA without material change. First, the Immigration Act of 1990 reenacted the public charge

     provision virtually unchanged from the 1952 Act. The legislative history to the 1990 Act

     recognized that something more than mere receipt of benefits was required to label an

     immigrant as a public charge. A 1988 House Report explained that courts associated the

     likelihood of becoming a public charge with “destitution coupled with an inability to work,”

     and noted the Supreme Court’s finding in 1915 that a person deemed likely to become a public

     charge “is one whose anticipated dependence on public aid is primarily due to poverty and to




17
      See Michael B. Katz, In the Shadow of the Poorhouse: A Social History of Welfare in America 37–59 (10th ed.
      1996).

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     physical or mental afflictions.”18 In the debate leading to enactment of the 1990 Act, one

     Congressman characterized someone who “would become a public charge” as a person “who

     gets here who is helpless.”19 The 1990 Act also amended the INA to remove some of its

     archaic provisions related to the disabled, such as exclusions based on “mental retard[ation],”

     “insanity,” “psychopathic personality,” “sexual deviation,” or “mental defect.”20

                     73.   In 1996, Congress enacted two major pieces of legislation focused on the

     eligibility of noncitizen immigrants for certain public benefits and on public charge

     determinations: the Personal Responsibility and Work Opportunity Reconciliation Act

     (“PRWORA,” colloquially called the “Welfare Reform Act”) and the Illegal Immigration

     Reform and Immigrant Responsibility Act (“IIRIRA”). Neither statute purported to redefine

     “public charge,” or to alter the settled rule that the mere receipt of means-tested benefits is not

     a basis for branding someone a public charge.

                     74.   PRWORA restricted certain noncitizens’ eligibility for certain federal

     benefits. Pub. L. 104-193, § 403, 110 Stat. 2105, 2265–67 (1996). Some noncitizens were

     completely excluded from eligibility. But following the passage of PRWORA and subsequent

     legislation, certain classes of immigrants remained eligible to receive federally-funded

     government benefits, including Medicaid, Food Stamps (now SNAP), Supplemental Security

     Income (“SSI”) and Temporary Assistance for Needy Families (“TANF,” a form of cash

     assistance), the Children’s Health Insurance Program (“CHIP”), and the Special Supplemental

     Nutrition Program for Women, Infants, and Children (“WIC”). See generally 8 U.S.C.


18
      Staff of the H. Comm. on the Judiciary, 100th Cong., Grounds for Exclusion of Aliens Under the Immigration
      and Nationality Act: Historical Background and Analysis 121 (Comm. Print 1988) (citing Gegiow v. Uhl, 239
      U.S. 3 (1915)).
19
      135 Cong. Rec. S14,291 (July 12, 1989) (statement of Mr. Simpson).
20
      Immigration Act of 1990, Pub. L. No. 101-649, §§ 601-603, 104 Stat. 4978, 5067–85 (1990).

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     §§ 1612–1613. PRWORA also authorized states to choose to cover a broader group of

     noncitizens for eligibility in state public benefits programs. Id. § 1621(d).21

                     75.    Contrary to DHS’s suggestion, nothing in PRWORA supports the Rule’s

     unprecedented definition of public charge as someone who receives a minimal amount of

     public benefits. While PRWORA’s statement of purpose expressed the policy that resident

     noncitizens “not depend on public resources to meet their needs,” 84 Fed. Reg. at 41,294,

     Congress plainly concluded that that policy was consistent with affirming the eligibility of

     certain noncitizens for federal public benefits, and authorizing states to provide benefits to a

     broader group of noncitizens not eligible for federal benefits.22

                     76.    Nothing in PRWORA purported to change the meaning of “public charge”

     or to overturn its longstanding administrative application. Nor was this accidental. On the

     contrary, PRWORA specifically amended another provision of the INA relevant to public

     charge determinations. Section 423 of PRWORA amended the INA to provide detail about the

     requirements for executing an affidavit of support, a document executed by sponsors of certain

     immigrants establishing that the immigrant will not become a public charge. Pub. L. No. 104-

     193, § 423, 110 Stat. 2105, 2271–74. If Congress had wanted to change the settled



21
      In legislation following enactment of PRW0RA, Congress expanded the availability of certain benefits,
      particularly SNAP, to so-called “qualified aliens.” See Agricultural Research, Education and Extension Act of
      1998 (“AREERA”), Pub. L. No. 105-185, 112 Stat. 523 (restoring eligibility for certain elderly, disabled and
      child immigrants who resided in the United States when PRWORA was enacted); The Farm Security and Rural
      Investment Act of 2002, Pub. L. No. 107-171, 116 Stat. 134 (restoring eligibility for food stamps (now SNAP)
      to qualified aliens who have been in the United States at least five years and immigrants receiving certain
      disability payments and for children, regardless of how long they have been in the country).
22
      DHS concedes that PRWORA’s policy statements about self-sufficiency were not codified in the INA,
      including in the public charge inadmissibility provision, which makes no mention of “self-sufficiency.” See 84
      Fed. Reg. at 41,355–56 (“although the INA does not mention self-sufficiency in the context of section 212(a)(4)
      of the Act, 8 U.S.C. 1182(a)(4), DHS believes that there is a strong connection between the self-sufficiency
      policy statements [in PRWORA] (even if not codified in the INA itself) at 8 U.S.C. 1601 and the public charge
      inadmissibility language in section 212(a)(4) of the Act, 8 U.S.C. 1182(a)(4), which were enacted within a
      month of each other.”).

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     interpretation of public charge to include receipt of minimal amounts of noncash benefits, it

     would have been eminently logical for it to do so as part of PRWORA, a law that specifically

     concerned both the availability of public benefits to noncitizens and the public charge

     inadmissibility provision of the INA. Congress declined to make that change.

                    77.    IIRIRA—which was passed the month after PRWORA—codified the

     existing standard for determining whether a noncitizen was inadmissible as a public charge.

     Pub. L. No. 104-208 § 531, 110 Stat. 3009 (1996) (amending 8 U.S.C. § 1182). IIRIRA re-

     enacted the existing INA public charge provision relating to admission and status adjustment,

     and once again chose to leave the term “public charge” undefined. See 8 U.S.C. § 1182(a)(4).

     Instead, the statute provided that, consistent with prior case law, a public charge determination

     should take account of the “totality of the circumstances,” and specified that any public charge

     determination consider the applicant’s age; health; family status; assets, resources, and

     financial status; and education and skills. Id. § 1182(a)(4)(B)(i).

                    78.    IIRIRA also confirmed that immigration officers could consider a binding

     affidavit of support from an applicant’s sponsor in making a public charge determination. Id. §

     1182(a)(4)(B)(ii); see id. § 1183a. In practice, since the enactment of PRWORA and IIRIRA,

     noncitizens seeking admission or adjustment have routinely been able to overcome a potential

     public charge determination by filing a binding affidavit of support from a sponsor.23

                    79.    Nothing in IIRIRA purported to expand the definition of public charge, or

     reflected an intent by Congress to use the public charge provision to refuse admission or status

     adjustment based upon past or likely future receipt of supplemental or noncash public benefits.




23
      See Center on Budget and Policy Priorities, Comment, at 30 (Dec. 7, 2018) [hereinafter “CBPP Comment”].

                                                       33
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        D.   1995–2013: Congress Repeatedly Rejects Efforts to Expand the Meaning of
             “Public Charge”

               80.   Congress’s decision to maintain the definition of “public charge” was no

oversight. On the contrary, Congress has repeatedly considered and rejected proposals to

amend the INA public charge provisions to apply to persons receiving (or considered likely to

receive) means-tested public benefits—the result that DHS now seeks to achieve through the

Rule.

               81.   In the debate leading up to the enactment of IIRIRA, Congress considered

and rejected a proposal to label as a public charge anyone who received certain means-tested

public benefits. An early version of the bill that became IIRIRA would have defined the term

“public charge” for purposes of removal to include any noncitizen who received certain public

benefits enumerated in the bill, including Aid to Families with Dependent Children, Medicaid,

food stamps, SSI, and other programs “for which eligibility for benefits is based on need.”

Immigration Control & Financial Responsibility Act of 1996, H.R. 2202, 104th Cong. § 202

(1996). The express purpose of this provision was to overturn the settled understanding of

“public charge” found in the case law. When the bill was considered by the Senate, Senator

Alan Simpson (a proponent of the provision) explained during debate that the purpose of the

new public charge definition was to override “a 1948 decision by an administrative law

judge”—Matter of B-, discussed in ¶¶ 68–70 above—which he argued had rendered the public

charge provision “virtually unenforced and unenforceable.” See 142 Cong. Rec. S4401,

S4408–09 (1996).

               82.   The effort to overturn Matter of B- and change the settled definition of

public charge was met with criticism. For example, Senator Patrick Leahy expressed concern



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 that the bill “is too quick to label people as public charges for utilizing the same public

 assistance that many Americans need to get on their feet.” S. Rep. No. 104-249, at 63 (1996).

 Senator Leahy was “disturbed that the definition of public charge goes too far in including a

 vast array of programs none of us think of as welfare,” including medical services and

 supplemental nutritional programs and urged that the bill “will yield harsh and idiosyncratic

 results that no one should intend.” Id. at 64.

                83.   The effort to redefine the public charge in IIRIRA failed. Although a

 version of the bill including the expansive definition of public charge cleared one chamber of

 Congress, the bill could not be passed until the provision was removed. In a statement on the

 Senate floor the day IIRIRA was enacted, Senator Jon Kyl, a floor manager of the bill and

 proponent of the provision, explained:

              [I]n order to ensure passage of this historic immigration measure,
              important provisions of title 5 have been deleted. . . . [One] provision that
              was removed from title 5 would have clarified the definition of “public
              charge.” Under the House-passed conference report, an immigrant could
              be deported—but would not necessarily be deported—if he or she received
              Federal public benefits for an aggregate of 12 months over a period of 7
              years. That provision was dropped during Saturday’s negotiations.

142 Cong. Rec. S11872, S11882 (1996) (statement of Sen. Kyl).

                84.   In 2013, Congress again turned back efforts to redefine public charge to

 include anyone receiving means-tested public benefits when the Senate debated the proposed

 Border Security, Economic Opportunity, and Immigration Modernization Act, a bill that

 sought to create a path to citizenship for noncitizens who could show they were not “likely to

 become a public charge.” S. 744, 113th Cong. § 2101 (2013). During committee

 deliberations, Senator Jefferson B. Sessions, later to serve as Attorney General during a period

 of time when the Rule was under consideration and development, sought to amend the


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definition of public charge to include receipt of “noncash employment supports such as

Medicaid, the SNAP program, or the Children’s Health Insurance Program.” S. Rep. No. 113-

40, at 42 (2013). Senator Sessions’ proposed amendment was rejected by voice vote. Id.

               85.   In short, Congress has repeatedly rejected efforts to expand the definition

of public charge along the lines now proposed by DHS. In so doing, it has demonstrated its

clear intent to continue to apply the historical definition of public charge that has endured for

over 100 years. Nowhere in the INA does Congress delegate to DHS, USCIS, or any other

executive agency the authority to add new bases of inadmissibility or removability without the

consent of Congress.

     E.      1999: Administrative Field Guidance Reaffirms the Settled Interpretation of
             Public Charge

               86.   In 1999, approximately three years after the passage of PRWORA and

IIRIRA (and in the administration of the President Clinton, who signed both bills), the

Immigration and Naturalization Service (“INS,” the predecessor agency to USCIS) issued its

Field Guidance on Deportability and Inadmissibility on Public Charge Grounds (“Field

Guidance”), 64 Fed. Reg. 28,689 (May 26, 1999), and a parallel proposed regulation, 64 Fed.

Reg. 28,676 (May 26, 1999). INS issued the Field Guidance and proposed regulation “[a]fter

extensive consultation with benefit-granting agencies,” 64 Fed. Reg. at 28,692, in response to

“growing public confusion” about the definition of public charge in the wake of PRWORA and

IIRIRA, id. at 28,676, and “to ensure the accurate and uniform application of law and policy in

this area,” id. at. 28,689. INS explained that the Field Guidance “summarize[d] longstanding

law with respect to public charge,” and provided “new guidance on public charge

determinations” in light of the recent legislation. Id.



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                     87.    The Field Guidance defined “public charge” as a noncitizen “who is likely

     to become (for admission/adjustment purposes) ‘primarily dependent on the government for

     subsistence, as demonstrated by either (i) the receipt of public cash assistance for income

     maintenance or (ii) institutionalization for long-term care at government expense.’” Id. The

     Field Guidance expressly excluded from public charge determinations consideration of

     noncash benefits programs, such as Medicare, Medicaid, SNAP, and housing assistance. Id.

     INS explained that “[i]t has never been [INS] policy that any receipt of services or benefits

     paid for in whole or in part from public funds renders an alien a public charge, or indicates that

     the alien is likely to become a public charge.” Id. at 28,692.

                     88.    INS explained that the definition of public charge adopted in the Field

     Guidance and proposed regulation comported with the plain meaning of “charge,” as evidenced

     by dictionary definitions of the term as one “committed or entrusted to the care, custody,

     management, or support of another.”24 It reasoned that this definition “suggests a complete, or

     nearly complete, dependence on the Government rather than the mere receipt of some lesser

     level of financial support,” and that this standard of primary dependence on public assistance

     “was the backdrop against which the ‘public charge’ concept in immigration law developed in

     the late 1800s.” 64 Fed. Reg. at 28,677.

                     89.    INS further concluded that noncash benefit programs should not be

     considered in public charge determinations because benefits under such programs “are by their

     nature supplemental and do not, alone or in combination, provide sufficient resources to


24
      64 Fed. Reg. at 28,677 (quoting Webster’s Third New International Dictionary of the English Language 377
      (1986) (defining “charge” as “a person or thing committed or entrusted to the care, custody, management, or
      support of another,” and providing as an example: “He entered the poorhouse, becoming a county charge.”) and
      citing 3 Oxford English Dictionary 36 (2d ed. 1989) (defining “charge” as “[t]he duty or responsibility of taking
      care of (a person or thing); care, custody, superintendence”)).

                                                          37
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     support an individual or family.” Id. at 28,692. It explained that such benefits “are

     increasingly being made available to families with incomes far above the poverty level,

     reflecting broad public policy decisions about improving general health and nutrition,

     promoting education, and assisting working-poor families in the process of becoming self-

     sufficient.” Id. INS also emphasized that it did not expect this definition “to substantially

     change the number of aliens who will be found deportable or inadmissible as public charges.”

     Id. Likewise, USCIS publishes on its website a “public charge fact sheet” that, as of the filing

     of this Complaint, makes clear that noncash benefits are not subject to public charge

     consideration.25

                     90.    In identifying only primary dependence on means-tested cash assistance as

     a trigger for the public charge determination, the Field Guidance made expectations clear both

     to applicants for adjustment and admission and to USCIS officers tasked with implementing it.

     In the 20 years since the Field Guidance was adopted, the number of noncitizens excluded or

     denied adjustment as likely to become a public charge has remained small. By the same token,

     according to statistics from the State Department, between 2000 and 2016, approximately

     36,000 noncitizens were denied visas on public charge grounds, less than two-tenths of one

     percent of the more than 17 million immigrants admitted as lawful permanent residents.26

          F.       Background of The Rule

                     91.    The Rule originated in a wide-ranging policy proposal published in April

     2016 by the Center for Immigration Studies (“CIS”), a far-right group founded by white



25
      See Public Charge Fact Sheet, https://www.uscis.gov/news/fact-sheets/public-charge-fact-sheet (last visited
      Aug. 24, 2019).
26
      See Report of the Visa Office, 2000–2018, https://travel.state.gov/content/travel/en/legal/visa-law0/visa-
      statistics.html.

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     supremacist John Tanton and dedicated to immigration restrictionism.27 Tanton was a

     supporter of “passive eugenics”28 intended to preserve America’s white majority, which he

     feared was under threat due to the “greater reproductive powers” of Hispanic immigrants.29 He

     has been quoted as saying, “I have come to the point of view that for European-American

     society and culture to persist, it requires a European-American majority and a clear one at

     that.”30

                      92.    The CIS publication that led to the Rule, “A Pen and a Phone: 79

     immigration actions the next president can take,” lists numerous proposals for limiting

     immigration of low-income people and asylum seekers from non-European countries. Action

     #60 urges the next president to “make use of the public charge doctrine to reduce the number

     of welfare-dependent foreigners living in the United States.” 31 The publication also

     misleadingly states that “[h]alf of households headed by immigrants use at least one welfare

     program.”32 This assertion fails to differentiate long-term lawful permanent residents and

     naturalized citizens from intending immigrants; ignores that most intending immigrants are not

     eligible for any non-emergency public assistance at all; and misleadingly includes benefits paid

     to U.S. citizen members of noncitizen-headed households.33



27
       See Southern Poverty Law Center listing of Center for Immigration Studies as an “anti-immigrant hate group,”
       Southern Poverty Law Center, https://www.splcenter.org/fighting-hate/extremist-files/group/center-
       immigration-studies (last visited Aug. 24, 2019).
28
       See Anti-Defamation League, Ties Between Anti-Immigrant Movement and Eugenics, (Feb. 22, 2013),
       https://www.adl.org/news/article/ties-between-anti-immigrant-movement-and-eugenics.
29
       See Matt Schudel, John Tanton, architect of anti-immigration and English-only efforts, dies at 85, Wash. Post
       (July 21, 2019), https://www.washingtonpost.com/local/obituaries/john-tanton-architect-of-anti-immigration-
       and-english-only-efforts-dies-at-85/2019/07/21/2301f728-aa3f-11e9-86dd-d7f0e60391e9_story.html.
30
       Id.
31
       Center for Immigration Studies, A Pen and A Phone 8 (Apr. 6, 2016), https://cis.org/sites/cis.org/files/79-
       actions_1.pdf.
32
       Id.
33
       See Alex Nowrasteh, Center on Immigration Studies Overstates Immigrant, Non-Citizen, and Native Welfare
       Use, Cato Institute (Dec. 6, 2018), https://www.cato.org/blog/center-immigration-studies-overstates-immigrant-

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                     93.    Within a week of President Trump’s inauguration, a draft of an Executive

     Order targeting immigrant-headed families that had used any means-tested public benefit,

     including health insurance for U.S. citizen children, was leaked to the public, initiating a

     pattern across the country of fear and withdrawal from public services and benefits. The draft

     Executive Order, among other things, directed DHS to issue new rules defining “public

     charge” to include any person receiving means-tested public benefits.34

                     94.    The draft Executive Order was never signed. But DHS embarked on

     drafting changes to the public charge criteria through notice-and-comment rulemaking. Early

     drafts of the proposed rule were leaked to the press in February and March 2018.35 And on

     October 10, 2018, DHS published a Notice of Proposed Rulemaking (the “NPRM”) entitled

     “Inadmissibility on Public Charge Grounds” and opened the proposed rule for public notice

     and comment. Inadmissibility on Public Charge Grounds, 83 Fed. Reg. 51,114 (proposed Oct.

     10, 2018) (to be codified at 8 C.F.R. pts. 103, 212, 213, 214, 245, 248).

                     95.    More than 266,000 think tanks, scholars, advocacy groups, legal services

     organizations, children’s aid groups and other non-profits, states, municipalities, and

     individuals submitted comments, the “vast majority” of which “opposed the Rule,” according

     to DHS. 84 Fed. Reg. at 41,304.

                     96.    On August 14, 2019, USCIS published the final Rule.


      non-citizen-native-welfare-use (criticizing CIS’s “unsound methodological choice[s]” that are made to
      “inflat[e]” the apparent use of public benefits programs by noncitizens so as to justify expanding public charge).
34
      See Executive Order on Protecting Taxpayer Resources by Ensuring Our Immigration Laws Promote
      Accountability and Responsibility (Jan. 23, 2017), https://cdn3.vox-
      cdn.com/uploads/chorus_asset/file/7872571/Protecting_Taxpayer_Resources_by_Ensuring_Our_Immigration_
      Laws_Promote_Accountability_and_Responsibility.0.pdf.
35
      Nick Miroff, Trump Proposal Would Penalize Immigrants Who Use Tax Credits and Other Benefits, Wash. Post
      (Mar. 28, 2018), https://www.washingtonpost.com/world/national-security/trump-proposal-would-penalize-
      immigrants-who-use-tax-credits-and-other-benefits/2018/03/28/4c6392e0-2924-11e8-bc72-
      077aa4dab9ef_story.html.

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III.   Summary of The Rule

                 97.   The Rule seeks to implement the CIS wish list and the draft Executive

  Order. The Rule brands as a “public charge” anyone who receives any amount of specified

  means-tested public benefits in any twelve months over a thirty-six month period; it defines the

  statutory phrase “likely to become a public charge” to include anyone deemed likely to receive

  such benefits “at any time in the future”; and it provides that receipt of such benefits during the

  three years preceding the application is a “heavily weighted negative factor” in determining

  whether an applicant is likely to become a public charge. Other factors, including low income,

  limited assets, and having a health condition coupled with an absences of private health

  insurance, also weigh against applicants. The Rule also calls for consideration of such

  nonstatutory factors as English language proficiency and credit score, and counts both youth

  and old age against an intending immigrant. The Rule precludes any noncitizen immigrant

  subject to public charge scrutiny who is deemed likely to receive such benefits at any time in

  the future—including large numbers of low-income and nonwhite applicants who have never

  received such benefits—from obtaining legal permanent residence.

                 98.   More specifically, the Rule works as follows.

                 99.   First, the Rule defines “public charge” to mean a person “who receives

  one or more [specified] public benefits . . . for more than 12 months in the aggregate within

  any 36-month period (such that, for instance, receipt of two benefits in one month counts as

  two months).” 84 Fed. Reg. at 41,501 (proposed 8 C.F.R. § 212.21(a)).

                 100. Second, the Rule defines “public benefit” to mean any amount of benefits

  from any of the programs enumerated in the Rule. 84 Fed. Reg. at 41,501 (proposed 8 C.F.R.

  § 212.21(b)). The Rule defines “public benefits” to include a wide range of cash and noncash


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     benefits that offer short-term or supplemental support to eligible recipients. These benefits

     include cash benefits such as SSI, 42 U.S.C. § 1381 et seq.; TANF, 42 U.S.C. § 601 et seq.;

     and “Federal, state or local cash benefit programs for income maintenance”; and noncash

     supplemental benefits such as SNAP, 7 U.S.C. §§ 2011–2036c; Section 8 Housing Assistance

     under the Housing Choice Voucher Program, 24 CFR part 984; 42 U.S.C. §§ 1437f and 1437u;

     Section 8 Project-Based Rental Assistance, 24 C.F.R. parts 5, 402, 880–884, 886; federal

     Medicaid, 42 U.S.C. §§ 1396 et seq. (with certain narrow exclusions)36; and Public Housing

     under section 9 of the U.S. Housing Act of 1937, 42 U.S.C. § 1437 et seq. 84 Fed. Reg. 41,501

     (proposed 8 C.F.R. § 212.21(b)).37 In contrast, as noted, the Field Guidance considers only

     primary dependence on cash assistance and long-term institutionalization in making a public

     charge determination, and specifically excludes from consideration noncash benefits.

                      101. The definition of “public benefit” in the Rule also radically changes the

     amount as well as the type of benefits that can trigger a public charge finding. While under the

     Field Guidance, as noted, only a person who was considered “primarily dependent” on the

     government for subsistence was deemed a public charge, under the Rule, the receipt of any

     amount of the listed benefits renders the immigrant an excludable public charge if they are

     received for the established duration: 12 months “in the aggregate” in the 36-month period

     prior to filing an application for adjustment. Under this “aggregate” calculus, receipt of two



36
      Medicaid benefits excluded from the public charge analysis include benefits paid for an emergency medical
      condition, services or benefits provided under the Individuals with Disabilities Education Act, school-based
      benefits provided to children at or below the eligible age for secondary education, and benefits received by
      children under 21 years of age, or woman during pregnancy and 60 days post-partum. 84 Fed Reg. at 41,501
      (proposed 8 C.F.R. § 212.21(b)(5)).
37
      The definition of “public benefits” excludes benefits received by (i) individuals enlisted in the armed forces as
      well as their spouses and children, (ii) individuals during a period in which they are exempt from the public
      charge inadmissibility ground, and (iii) children of U.S. citizens whose admission for lawful permanent
      residence will automatically result in their acquisition of citizenship. 84 Fed. Reg. at 41,501.

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benefits in one month would count as two months. See 84 Fed. Reg. at 41,501 (proposed 8

C.F.R. § 212.21(a)).

               102. DHS offers no cogent explanation for this twelve-month trigger. Indeed,

although DHS received numerous comments that opposed taking into account the receipt of

minimal or supplemental benefits in making a public charge determination, the final Rule

actually lowers the threshold from what was proposed in the NPRM. The proposed rule in the

NPRM would have labeled someone a public charge only if they received any of the listed

benefits, such as SNAP, in an amount in excess of fifteen percent of the FPG for a household

of one within twelve months—which currently would amount to $1,821 a year. But it did not

penalize applicants for receipt of benefits below this already-low threshold. DHS nowhere

explains why it considers the appropriate threshold to be 12 months rather than 6, 24, or any

other number. Moreover, under the final Rule, USCIS will “consider and give appropriate

weight to past receipt of benefits” even below the already low twelve-month threshold. 84

Fed. Reg. at 41,297.

               103. The Rule’s sweeping definitions of “public charge” and “public benefits”

would drastically increase the number of persons potentially deemed a public charge. As an

illustration, by one estimate, in any one year, 30 percent of U.S.-born citizens receive one of

the benefits included in the proposed definition (compared to approximately 5 percent of U.S.-

born citizens who meet the current benefit-related criteria in the public charge determination

under the Field Guidance). Similarly, in any given year, 16 percent of U.S. workers receive

one of those benefits, compared to one percent who meet the current benefit-related criteria.

As set forth in its submission through the public notice-and-comment process, the Center on

Budget and Policy Priorities estimates that 40 percent of U.S.-born individuals covered by a


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     2015 survey participated in one of those programs between 1998 and 2014—a figure that, after

     adjusting for underreporting, is likely approximately 50 percent.38 A more recent report by the

     same organization explains that, “[i]f one considers benefit receipt of the U.S.-born citizens

     over the 1997-2017 period, some 43 to 52 percent received one of the benefits included in the

     proposed public charge rule,” and that more than 50 percent of the U.S.-born citizen population

     would receive such benefits over their lifetimes.39 While U.S. citizens are not subject to the

     public charge rule, these figures illustrate the extraordinarily broad potential impact of the

     Rule.

                    104. DHS does not dispute the accuracy of these estimates. Instead, it

     dismisses any comparisons to U.S. citizens’ benefit use as “immaterial.” See 84 Fed. Reg. at

     41,353 (“it is immaterial whether the definition of ‘public charge’ in the rule would affect one

     in twenty U.S. citizens or one in three”). But DHS offers no support for the suggestion that

     Congress would ever have approved a definition of “public charge” so sweeping that it could

     be applied to nearly half of U.S. citizens.

                    105. Third, the Rule defines the statutory phrase “likely at any time to become

     a public charge” to mean “more likely than not at any time in the future to become a public

     charge, . . . based on the totality of the alien’s circumstances.” 84 Fed. Reg. at 41,501,

     (proposed 8 C.F.R. § 212.21(c)). Thus, the Rule expressly disclaims any limit on how far into




38
      See CBPP Comment at 2, 7–8, 10; see also Center for American Progress, Comment, at 15 (Dec. 10, 2018)
      (“[T]he proposed redefinition would mean that most native-born, working-class Americans are or have been
      public charges”).
39
      See Center on Budget and Policy Priorities, Trump Administration’s Overbroad Public Charge Definition Could
      Deny Those Without Substantial Means a Chance to Come to or Stay in the U.S. (May 30, 2019),
      https://www.cbpp.org/research/poverty-and-inequality/trump-administrations-overbroad-public-charge-
      definition-could-deny.

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the future the consideration is to extend or what “totality” of circumstances a government

officer is permitted to balance.

               106. Fourth, the Rule creates a complex and confusing scheme of positive and

negative “factors,” including certain “heavily weighted” factors, that will be used in

determining whether a noncitizen is likely to become a public charge. 84 Fed. Reg. at 41,502–

03 (proposed 8 C.F.R. § 212.22).

               107. The factors focus overwhelmingly on the noncitizen’s income and

financial resources. Thus, one of the “heavily weighted negative factors” under the Rule is

past or current receipt of public benefits. 84 Fed. Reg. at 41,504 (proposed 8 C.F.R.

§ 212.22(c)). Another “heavily weighted negative factor” is an applicant’s diagnosis with a

medical condition that is “likely to require extensive medical treatment” and corresponding

lack of private health insurance or financial resources to pay for anticipated medical costs. Id.

               108. Likewise, every “heavily weighted positive factor” under the Rule

similarly focuses on the immigrant’s assets and financial resources, such as (1) having income,

assets, or resources, and support of at least 250 percent of the FPG, (2) being authorized to

work and currently employed with an annual income of at least 250 percent of the FPG, or (3)

possessing private health insurance. Id. The Rule expressly excludes from consideration as

private health insurance any insurance purchased using tax credits for premium support under

the Affordable Care Act. Id.

               109. The factors under the Rule that are not “heavily weighted” also focus

predominantly on assets and financial resources. For example, the Rule provides that DHS

will consider whether the applicant’s household’s annual gross income is at least 125 percent

of the most recent FPG based on household size. See 84 Fed. Reg. at 41502–03 (proposed 8


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     C.F.R. § 212.22(b)(4)). If the applicant’s household’s annual gross income is below that level,

     DHS will consider this a negative factor, unless the total value of the applicant’s household

     assets and resources is at least five times the underage. See id.40

                     110. Other factors likewise focus on financial resources. DHS states that it will

     consider whether the applicant has sufficient assets and resources to cover reasonably

     foreseeable medical costs related to a condition that could require extensive care or interfere

     with work. Lack of private health insurance or an undefined amount of cash reserves that

     could cover medical expenses would be a negative factor. 84 Fed. Reg. at 41,503 (proposed 8

     C.F.R.§ 212.22(b)(4)(C)); see also 83 Fed. Reg. at 51,189.

                     111. The Rule also penalizes applicants who are under the age of 18—merely

     because of their age, even though they have their whole working lives ahead of them—as well

     as those aged 62 and over. See 84 Fed. Reg. at 41,502 (proposed 8 C.F.R. § 212.22(b)(1)).

     Although DHS acknowledges that many commenters pointed out that it is not possible for

     young people to work to support themselves, the Rule fails to address this point, and instead

     responds that DHS may not “exempt” such children from the regulation. But choosing not to

     categorize youth as a negative factor is not the same as providing an “exempt[ion],” and DHS

     does nothing to address those many comments.

                     112. The Rule provides further that DHS will consider additional vague and

     unprecedented factors for which there appears to be no specific standard. For example, for the

     first time, DHS will evaluate an intending immigrant’s English language proficiency, without

     articulating any standard or level of proficiency an applicant is required to attain or how such


40
      This amount is reduced to three times the underage for an immigrant who is the spouse or child of a U.S.
      Citizen, and one times the underage for an immigrant who is an orphan who will be adopted in the United States
      after acquiring permanent residence. See id.

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proficiency is to be measured. 84 Fed. Reg. at 41,504 (proposed 8 C.F.R.

§ 212.22(b)(5)(ii)(C)). In contrast, when determining a naturalization applicant’s English

language proficiency, USCIS’s regulation sets out clear standards for ability to read, write, and

speak “words in ordinary usage” and directs applicants to test study materials and testing

procedures on the USCIS website. See 8 C.F.R. § 312.1.

               113. Further, the Rule will take into account a noncitizen’s U.S. credit score, as

assessed by private credit agencies, counting below-average credit scores as a negative factor.

84 Fed. Reg. at 41,503 (proposed 8 C.F.R. § 212.22(b)(4)(ii)(G)). There is no other

immigration benefit for which DHS uses credit score—an error-prone measurement, as DHS

concedes, see 84 Fed. Reg. at 41,427 (“DHS recognizes that the credit reports and scores may

be unavailable or inaccurate.”)—to determine whether an applicant is entitled to relief.

               114. DHS states that it will consider submission of an affidavit of support, but

the approach outlined in the Rule departs from past practices by decreasing the impact of a

sufficient affidavit of support on a public charge determination. Under the Rule, an affidavit of

support will no longer be sufficient to rebut a public charge finding. Rather, it will simply be

one positive factor—and not even a heavily weighted one—in the totality of the circumstances

test. See 84 Fed. Reg. at 41,439. Moreover, DHS will no longer consider an enforceable

affidavit of support at face value. Instead, the Rule requires an immigration office to evaluate

“the likelihood that the sponsor would actually provide the statutorily-required amount of

financial support to the [noncitizen],” by evaluating such non-statutory factors as the sponsor’s

income and assets, the sponsor’s relationship to the applicant, and whether the sponsor has

submitted affidavits of support for other individuals. 84 Fed. Reg. at 41,504 (proposed 8

C.F.R. § 212.22(b)(7)).


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                115. The impact of these factors is to multiply the number of grounds for

 deeming noncitizens inadmissible as public charges and barred from legal permanent

 residence. By focusing virtually all the factors DHS chooses to identify—including the

 majority of “heavily weighted factors”—on an immigrant’s assets and resources, the Rule

 provides immigration officers with an abundance of options to deny green cards to low-income

 immigrants, whether they have accessed public benefits or not. The income and resources-

 focused factors are not targeted to determining who is currently or predicted to be primarily

 dependent on the government for subsistence. Rather, they are geared toward capturing a

 much broader group of low- and middle-income noncitizens in the public charge dragnet. As

 discussed above, this approach represents a sharp departure from the consistent historical

 understanding and application of the public charge inadmissibility rule.

IV.   The Public Benefits Targeted by the Rule Provide Temporary and/or Supplemental
      Support to Individuals Who Work

                116. As noted, the Rule defines “public charge” to mean a person who receives

 certain enumerated public benefits for more than 12 months in any 36-month period. The

 “public benefits” at the root of the public charge inquiry include, for the first time, noncash

 benefits, including SNAP, Medicaid, and public housing assistance. As INS recognized in

 issuing the Field Guidance, these benefits “are by their nature supplemental and do not, alone

 or in combination, provide sufficient resources to support an individual or family.” 64 Fed.

 Reg. at 28,692. Contrary to DHS’s repeated assertion that an individual who makes use of

 these benefits “is not self-sufficient,” e.g., 84 Fed. Reg. at 41,349, these programs are widely

 used by working families to supplement their other income. And they are, by design, available

 to people with incomes well above the poverty line and, in some cases, with significant assets.



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          A.       SNAP

                       117. Congress created the food stamp program (now known as the

     Supplemental Nutrition Assistance Program, or “SNAP”) in 1964, in order to “safeguard the

     health and well-being of the Nation’s population by raising levels of nutrition among low-

     income households.”41 SNAP benefits may be used to buy nutritional staples, like bread, fruits

     and vegetables, meat, and dairy products.42 The current maximum monthly allotment of SNAP

     benefits an individual is eligible for is $192 for an individual, or $504 for a family of three,43

     which amounts to less than $6 per person daily. The average actual allotment for a family of

     three in 2019 is estimated to be approximately $378 per month, or little more than $4 per

     person daily.44

                       118. The supplemental nature of SNAP is evident not only from its name, but

     from the significant number of SNAP recipients who work. Over one-third of non-disabled

     adults work in every month they participate in SNAP.45 And “[j]ust over 80 percent of SNAP

     households with a non-disabled adult, and 87 percent of households with children and a non-

     disabled adult, included at least one member who worked either in a typical month while

     receiving SNAP or within a year of that month.”46 Many SNAP recipients must meet strict



41
      Food Stamp Act of 1964, Pub. L. No. 88-525, 78 Stat. 703 (codified at 7 U.S.C. § 2011); accord 7 C.F.R. §
      271.1 (reiterating same purpose).
42
      See N.Y. Office of Temporary & Disability Assistance Supplemental Nutrition Assistance Program (SNAP):
      Frequently Asked Questions, http://otda.ny.gov/programs/snap/qanda.asp#purchase.
43
      U.S. Dep’t of Agriculture Food & Nutrition Serv., SNAP Eligibility,
      https://www.fns.usda.gov/snap/recipient/eligibility#How much could I receive in SNAP benefits? (providing
      monthly SNAP benefits by household size, for the period October 1, 2018 through September 30, 2019).
44
      See Center on Budget and Policy Priorities, A Quick Guide to SNAP Eligibility and Benefits at Table 1 (Oct. 16,
      2018), https://www.cbpp.org/research/food-assistance/a-quick-guide-to-snap-eligibility-and-benefits,
      (estimating 2019 averages based on FY 2017 SNAP Quality Control Household Characteristics Data, the “most
      recent data with this information”); accord CBPP Comment at 44 (“SNAP benefits average only about $1.40
      per meal, or about $126 per month per person.”).
45
      CBPP Comment at 44.
46
      Id. at 43.

                                                          49
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     work requirements to maintain eligibility.47 Receipt of SNAP benefits can improve birth

     outcomes and long-term health, and reduce future reliance on the very public benefits

     programs whose use DHS claims it seeks to discourage.48

                     119. Although most SNAP recipients are subject to income and resource

     eligibility requirements, many recipients have significant assets and income above the poverty

     line. Households with earned income can maintain SNAP eligibility up to 150 percent of the

     FPG, and households with childcare expenses up to 200 percent. Many significant assets are

     excluded from SNAP eligibility determinations, including homes of residence, the full or

     partial value of certain vehicles, and most retirement and pension plans. 7 U.S.C. § 2014(g); 7

     C.F.R. § 273.8(e). Certain households are exempt from the resource cap altogether.

                     120. In some cases, an intending immigrant undergoing adjustment would be

     eligible for SNAP before his or her green card application is approved. More commonly, the

     applicant undergoing the public charge determination only would be eligible for SNAP five

     years after he or she adjusts. But an adjusted LPR may be eligible for SNAP sooner if he or

     she is under age 18, in receipt of a disability-based benefit, can be credited with 40 qualifying

     quarters of work, or was lawfully residing in the U.S. and 65 or older when PRWORA was

     signed into law on August 22, 1996.

          B.       Medicaid

                     121. Congress created the federal Medicaid program in 1965 to assist states in

     furnishing medical assistance to individuals and families.49 As described by the federal


47
      For example, Able Bodied Adults without Children, or “ABAWDs” are required to work or participate in a
      work program for at least 20 hours per week in order to receive SNAP benefits for more than three months in a
      36-month period. See 7 C.F.R. § 273.24.
48
      CBPP Comment at 45–47.
49
      Social Security Amendments of 1965, Pub. L. No 89-97, 79 Stat. 286.

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     Centers for Medicare and Medicaid Services, which works in partnership with state

     governments to administer Medicaid, “Medicaid provides health coverage to millions of

     individuals, including eligible low-income adults, children, pregnant women, elderly adults and

     people with disabilities.”50 The income and resource eligibility criteria for federal Medicaid

     depend on, among other criteria, the recipient’s age and income, and whether the person is

     blind or disabled.51

                      122. Many recipients of Medicaid work. Nearly 80 percent of non-elderly,

     non-disabled adult Medicaid beneficiaries are in working families.52 Among Medicaid

     enrollees who work, over half work full-time for the entire year in which they participate in the

     program.53 Research shows that access to affordable health insurance and care, like Medicaid,

     “promotes individuals’ ability to obtain and maintain employment.”54

                      123. In the 37 states (including the District of Columbia) that have adopted

     Medicaid expansion under the Affordable Care Act, the program is available to workers with

     no resources cap and with earnings above the poverty level.55 For example, parents with

     dependent children, and adults aged 19–64, can qualify for federal Medicaid if their income




50
      Centers for Medicare & Medicaid Services, Medicaid, https://www.medicaid.gov/medicaid/index.html (last
      visited Aug. 24, 2019).
51
      See Centers for Medicare & Medicaid Services, Eligibility,
      https://www.medicaid.gov/medicaid/eligibility/index.html (last visited Aug. 24, 2019).
52
      CBPP Comment at 39.
53
      Rachel Garfield et al., Understanding the Intersection of Medicaid and Work: What Does the Data Say?, Kaiser
      Family Foundation, at 4 (Aug. 2019), http://files.kff.org/attachment/Issue-Brief-Understanding-the-Intersection-
      of-Medicaid-and-Work-What-Does-the-Data-Say.
54
      CBPP Comment at 40–41 (quoting Larisa Antonisse and Rachel Garfield, The Relationship Between Work and
      Health: Findings from a Literature Review, Kaiser Family Foundation (Aug. 2018),
      https://www.kff.org/medicaid/issue-brief/the-relationship-between-work-and-health-findings-from-a-literature-
      review/).
55
      Kaiser Family Foundation, Status of State Medicaid Expansion Decisions: Interactive Map, (Aug. 1, 2019),
      https://www.kff.org/medicaid/issue-brief/status-of-state-medicaid-expansion-decisions-interactive-map/.

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     does not exceed 133 percent of the FPG.56 Medicaid expansion was a key component of the

     Affordable Care Act and appeared in the first public draft of the legislation.57

                     124. A person adjusting to LPR status through a family member who is subject

     to public charge would become eligible for federal Medicaid after he or she adjusts and has

     been a so-called “qualified alien” for five years.58

                     125. Through New York State of Health, New York’s state-run Health

     Exchange, New Yorkers are screened for and enrolled in Medicaid as well as other types of

     government-funded health insurance, government-subsidized private health insurance, and

     non-subsidized private health insurance. Government-funded insurance provided by New

     York includes medical assistance that is available to persons not eligible for federal Medicaid.

     See N.Y. Soc. Serv. Law §§ 366(1)(g), 369-gg. Immigrants who are eligible for this form of

     state-funded health insurance include qualified aliens subject to the five-year limit and persons

     considered permanently residing under color of law, including persons who have applied for

     deferred action for childhood arrivals (“DACA”) or other deferred action, and applicants for

     asylum.

                     126. Some New Yorkers are eligible for New York’s Basic Health Plan, called

     the “Essential Plan.” N.Y. Soc. Serv. Law §§ 366(1)(g), 369-gg. The Essential Plan provides

     coverage to certain immigrants who are ineligible for federal Medicaid, as well as for New

     Yorkers with income from 139 percent to 200 percent of the FPG who must pay a low monthly




56
      42 U.S.C. § 1396a(a)(10).
57
      John Cannan, A Legislative History of the Affordable Care Act: How Legislative Procedure Shapes Legislative
      History, 105 Law Libr. J. 131, 137 (2013).
58
      See 8 U.S.C. § 1641(b).

                                                        52
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     premium for coverage.59 As required by Congress, immigrants must be “lawfully present” to

     be eligible for private qualified health plans pursuant to the Affordable Care Act, including the

     Essential Plan.

                       127. Although such non-federal Medicaid forms of health insurance do not

     count as “public benefits” under the Rule’s public charge test, many noncitizens fear that

     enrollment in state-funded programs and even private coverage (which often have the same

     name as the state’s Medicaid program) will carry adverse immigration consequences. Almost

     all recipients of New York Medicaid are required to enroll in private Medicaid managed care

     plans. N.Y. Soc. Serv. Law § 364-j. Since many of the same health insurance companies offer

     commercial, Medicaid, Medicare, Essential Plan, and/or Children’s Health Insurance Program

     coverage, many New Yorkers do not understand which program they are in, especially if their

     eligibility shifts year to year.

           C.      Federal Rental Assistance Benefits

                       128. The Rule includes three types of federal rental assistance in its definition

     of “public benefit”: (i) public housing, (ii) Section 8 vouchers; and (iii) project-based Section

     8. Most tenants of public housing pay 30 percent of their income (after certain deductions) for

     rent and utilities. Federal subsidies, issued by the Department of Housing and Urban

     Development to the local public housing authority that owns and manages the public housing,

     are intended to cover the gap between tenant rents and operating costs. Section 8 housing

     choice vouchers provide a rental subsidy to the participant household that can be used to rent a

     privately owned housing unit. 42 U.S.C. §§ 1437f, 1437u. Households receiving project-


59
       See N.Y. State of Health, Essential Plan at a Glance (June 2019),
       https://info.nystateofhealth.ny.gov/sites/default/files/Essential%20Plan%20At%20A%20Glance%20Card%20-
       %20English.pdf.

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     based Section 8 benefit from a subsidy that is attached to the residence where they reside. 42

     U.S.C. § 1437f; 24 C.F.R. parts 5, 402, 880–884, 886. Each of these federal rental assistance

     programs has an income eligibility requirement measured by the local Area Median Income

     (“AMI”) for the size of the family receiving the benefit.

                     129. Federal rental assistance programs support work by enabling low-income

     households to live in stables homes. Of the non-elderly, non-disabled households receiving

     federal rental assistance, approximately two-thirds are headed by working adults.60 That

     number is even higher for households containing non-citizens, where approximately three-

     quarters of non-elderly, non-disabled households report earning wages.61

                     130. As with SNAP and Medicaid, recipients of federal rental assistance may

     have incomes above the poverty threshold and assets or other resources. Under these three

     rental assistance programs, while there are requirements for targeting assistance to lower-

     income households (below 30 percent of AMI), a household can qualify for assistance with

     income up to 80 percent of the AMI, which for a family of four in New York City is $85,360

     per year,62 more than three times above the FPG of $25,750 for a family that size.63

V.        The Rule Violates the Administrative Procedure Act in Numerous Ways

                     131. The Rule violates the APA in several respects, including that it is

     “arbitrary, capricious, an abuse of discretion, [and] otherwise not in accordance with law,” 5

     U.S.C. § 706(2)(A), “contrary to constitutional right,” id. § 706(2)(B), and “in excess of

     statutory jurisdiction, authority, or limitations,” id. § 706(2)(C). This section discusses several

60
      CBPP Comment at 48.
61
      Id.
62
      N.Y.C. Dep’t of Housing Preservation & Development, Area Median Income (AMI),
      https://www1.nyc.gov/site/hpd/renters/area-median-income.page (last visited Aug. 24, 2019).
63
      See U.S. Dep’t of Health & Human Services, U.S. Federal Poverty Guidelines Used to Determine Financial
      Eligibility for Certain Federal Programs, https://aspe.hhs.gov/poverty-guidelines (last visited Aug. 24, 2019).

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ways in which the Rule violates the APA, including that (1) the Rule’s definition of “public

charge” is contrary to the INA; (2) the Rule is unlawfully retroactive and penalizes past

conduct that was not part of the public charge analysis at the time it occurred; (3) the Rule is so

confusing, vague, and broad that it fails to give notice of conduct to avoid and invites arbitrary

and inconsistent enforcement; (4) the Rule unlawfully discriminates against individuals with

disabilities; (5) the Rule’s changes to the public charge bond provision impermissibly renders

such bonds inaccessible; and (6) the Rule is arbitrary and capricious in other ways.

     A.      The Rule’s Definition of “Public Charge” is Contrary to the INA

               132. As discussed above, see supra ¶¶ 59–90, the Rule’s definition of “public

charge” as an individual who receives a minimal amount of noncash public benefits is contrary

to the interpretation of “public charge” that has endured for 130 years: an individual primarily

dependent on the government for subsistence. The statutory meaning of the term “public

charge” is evident from, among other things, (i) the plain meaning of the phrase, (ii) the

judicial and administrative interpretation of the term since it first became part of federal

immigration law; (iii) Congress’s approval of that interpretation in repeatedly reenacting the

statute; and (iv) Congress’s rejection of efforts to expand that interpretation in the manner the

Rule now seeks to accomplish.

               133. Accordingly, the Rule is not in accordance with the law and is in excess of

DHS’s statutory jurisdiction. 5 U.S.C. §§ 706(2)(A), 706(2)(C).

     B.      The Rule Retroactively Penalizes Noncitizens for Past Conduct that Has
             Never Been Relevant to Public Charge Determinations

               134. Apparently recognizing that retroactive application of the Rule would be

unfair and unlawful, the Rule purports not to consider receipt of public benefits other than cash



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assistance and long-term institutionalized care (which were considered in public charge

determinations under the Field Guidance) obtained prior to the Rule’s effective date. 84 Fed.

Reg. at 41,504. But both the Rule itself and the proposed bureaucratic form that accompanies

the Rule make clear that DHS does intend to consider past receipt of public benefits when

determining whether a noncitizen is inadmissible on public charge grounds. Such retroactive

application is unlawful, because it is arbitrary and capricious and because DHS lacks the

statutory authority to promulgate retroactive rules concerning public charge determinations.

See 8 U.S.C. § 1182.

               135. The Rule applies retroactively in several ways. It (1) explicitly penalizes

any past receipt of, rather than primary dependence on, cash benefits; (2) requires applicants to

document receipt of all past noncash benefits on a newly-created Form I-944; (3) evaluates, for

the first time, credit scores based on years of past financial activity; (4) assesses English

language proficiency that would require years of preparation; and (5) ends the ability of

applicants to rely on sponsor affidavits to overcome the heavily weighted “negative” factors

that were never before considered. The Rule thus greatly increases the likelihood of a public

charge determination based on numerous past activities that were never evaluated or even seen

as relevant under the Field Guidance.

               136. First, the rule retroactively penalizes any past receipt of cash assistance,

including amounts that would not give rise to a public charge finding under the Field

Guidance. Under the Field Guidance, a noncitizen may be found to be inadmissible as a public

charge if she is likely to become “primarily dependent on the government for subsistence, as

demonstrated by . . . the receipt of public cash assistance for income maintenance.” 64 Fed.

Reg. at 28,689. The Field Guidance further provides that “[t]he longer ago an alien received


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     such cash benefits . . . the less weight [this] factor[] will have as a predictor of future receipt,”

     and “the length of time an applicant has received public cash assistance is a significant factor”

     as well. Id. at 28,690. The Field Guidance explains that receipt of cash assistance is just one

     factor in the totality of the circumstances test and that, for example, a noncitizen who received

     cash public benefits but also has an affidavit of support or full-time employment “should be

     found admissible.” Id. The Field Guidance has been relied upon by noncitizens, lawyers, and

     advocates for twenty years.

                     137. The Rule completely changes this calculus. The Rule states that “DHS

     will consider, as a negative factor . . . any amount of cash assistance . . . received, or certified

     for receipt, before” the effective date of the Rule. 84 Fed. Reg. at 41,504 (proposed 8 C.F.R.

     § 212.22(d)) (emphasis added). Thus, while the Field Guidance considered receipt of means-

     tested cash assistance only to the extent it tended to show likely “primary dependence on the

     government for subsistence,” see 64 Fed. Reg. at 28,693, the new Rule could predicate a public

     charge finding on past receipt at any time of “any amount of cash assistance” (even,

     apparently, cash assistance below the threshold of 12 months within a 36-month period). The

     proposed Rule, therefore, penalizes past receipt of cash assistance that, at the time it was

     received, would not have resulted in a public charge determination.

                     138. Second, the Rule requires applicants to submit evidence of past receipt of

     noncash benefits. While the Rule purports to direct DHS personnel not to consider past receipt

     of public benefits other than cash assistance or institutionalization, DHS’s actions say the

     opposite. In connection with issuing the Rule, DHS prepared a form (Form I-944)64 for


64
       USCIS, Form I-944, Declaration of Self Sufficiency, https://www.regulations.gov/document?D=USCIS-2010-
       0012-63772; USCIS, Form I-944, Instructions for Declaration of Self Sufficiency,
       https://www.regulations.gov/document?D=USCIS-2010-0012-63771.

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     submission by those applying for immigration benefits with USCIS, such as adjustment of

     status or extension or stay or change in status, “to demonstrate that the applicant is not likely to

     become a public charge under section 212(a)(4) of the Act,” 83 Fed. Reg. at 51,254; see also

     84 Fed. Reg. at 41,295. And the form requests precisely the information DHS says it will not

     consider. Form I-944 requires immigrants seeking admission or adjustment of status to

     disclose whether they have “ever applied for” or received the public benefits enumerated in the

     Rule (emphasis added). Applicants are required to respond to detailed questions about all such

     benefits they have received at any time. Neither Form I-944 nor its Instructions say that

     benefits applied for or received before the Rule’s effective date—benefits that were not

     considered in public charge determinations when they were applied for or received—will not

     be considered.

                      139. DHS’s requirement that such benefits be disclosed to the personnel

     making public charge determinations is also so onerous as to render it effectively unworkable.

     As legal services providers have made clear during the public comment period, the complexity

     of the modern public benefits landscape, the administrative hurdles to recipients of and

     applicants for benefits, and the likelihood of errors in calculating exact amounts of public

     benefits, including noncash benefits, received make it “virtually impossible for applicants to

     accurately self-report.”65

                      140. Further, this disclosure requirement clearly indicates that application for or

     receipt of such benefits could be considered in assessing whether the applicant is likely to

     become a public charge. At a minimum, DHS personnel reviewing an applicant’s Form I-944

     will see information about pre-Rule receipt of benefits and have that information in mind when

65
      New York Legal Assistance Group, Comment, at 7 (Dec. 10, 2018).

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evaluating whether the applicant is inadmissible. It is both unfair and unlawful to punish a

noncitizen under a new Rule for conduct that did not violate any rule at the time it occurred.

               141. Third, the Rule directs adjustment officers, for the first time, to evaluate

applicants’ “credit scores,” an inherently backward-looking criterion, that subjects applicants

to evaluations of reasonable past financial conduct that was never before considered. See 84

Fed. Reg. at 51,188. There is no immigration benefit for which eligibility has ever taken into

account the credit scores compiled by private credit rating companies. Applicants who have

made reasonable financial decisions, such as taking on debt that would assist them in becoming

financially stable—for example, a loan for a car that will allow them to work, or schooling that

will increase their skills—will be penalized by such past decisions.

               142. Fourth, the Rule includes an evaluation of English language proficiency

that, in addition to lacking any measurable standard, penalizes applicants for decisions to

forego English language instruction in reliance on the fact that no immigration benefit other

than naturalization is premised on English language proficiency. See 84 Fed. Reg. at 51,195.

Because achieving proficiency is a time-consuming process that can take years of preparation

and substantial monetary commitment, this factor impermissibly penalizes applicants for past

decisions made in reliance on then-current rules.

               143. Fifth, the Rule now penalizes applicants who expected to be able to

overcome a public charge determination by having their sponsors submit affidavits of support

pursuant to 8 U.S.C. § 1183a(a)(1). See 84 Fed. Reg. at 51,117. Under IIRIRA, noncitizens

seeking admission through family-sponsored immigration and some forms of employment-

sponsored immigration are required to have their sponsor submit such an affidavit as part of

their application for admission to the United States. See 8 U.S.C. §§ 1183, 1183a. In practice,


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     affidavits of support have provided sufficient assurance that an individual will not become a

     public charge, and properly executed affidavits have been deemed sufficient to satisfy a public

     charge analysis.66 Intending immigrants who received benefits, including cash assistance

     (whose receipt prior to the effective date is a negative factor), did so in reliance on the practice

     that a sponsor affidavit—an enforceable agreement with the U.S. government that the sponsor

     would support them—would overcome a potential public charge determination.

                    144. The Rule thus penalizes noncitizens for decisions made in reliance on

     existing law. For twenty years, noncitizens have made decisions relying on the express terms

     in the Field Guidance. The Field Guidance made clear that neither mere receipt of cash

     benefits nor acceptance of supplemental noncash benefits would subject an applicant to a

     public charge finding, particularly for those filing with the support of sponsor affidavits, nor

     was credit score or English language proficiency even mentioned as a consideration. The Rule

     penalizes reliance on these clear rules. In applying this new standard retroactively, the Rule

     increases every noncitizen’s liability for activity that at the time had no negative consequences.

                    145. DHS identifies no authority that would permit it to promulgate retroactive

     rules. Without express authorization from Congress, DHS lacks the power to issue this Rule.

          C.      The Rule is So Confusing, Vague, and Broad that it Fails to Give Applicants
                  Notice of Conduct to Avoid and Invites Arbitrary, Subjective, and
                  Inconsistent Enforcement

                    146. The Rule is complex and confusing. It transforms the process for

     determining public charge through a series of changes both to the benefits considered relevant

     to the public charge determination, and to the assessment and “weighting” of other qualities.



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      See CBPP Comment at 30; Center for Law and Social Policy, Comment, at 106 (Dec. 7, 2018) (citing 9 FAM §
      302.8-2(B)(3)) [hereinafter “CLASP Comment”].

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The Rule and the many internal inconsistencies within it fail to give applicants notice of

conduct to avoid, and fail to provide adjudicators with clear guidelines to apply.

               147. These vague, broad, and standardless factors make it impossible for DHS

officers to administer the Rule in an objective and consistent manner, or for applicants to

predict how it will be applied. Likewise, an officer administering the Rule would have no way

to reconcile inconsistencies between the Rule itself and the preamble purporting to explain the

Rule.

               148. Many of the retroactive elements of the Rule pose challenges to

administering the Rule objectively and consistently. For example, Form I-944 requires

immigration officers to obtain information about any past receipt of noncash public benefits—

even benefits received prior to the Rule’s effective date—even though those same officers are

being instructed in the Rule not to consider such benefits.

               149. The negative factor relating to credit scores is subject to arbitrary

application because the Rule fails to consider many scenarios that could affect an applicant’s

credit score. For example, although the Rule specifically states that “bankruptcies” should

form part of the credit score analysis, it provides no guidance about how to treat an applicant

who took advantage of bankruptcy laws to discharge and restructure debts. An immigration

officer has no way to know whether to treat such a bankruptcy as a positive factor (reflecting

sophistication or financial prudence) or a negative factor (reflecting excessive debt and poor

financial management). And the Rule is silent about whether “bankruptcies” (or “arrests,

collections, actions, [and] outstanding debts”) that occurred before its effective date may be

considered. See 84 Fed. Reg. at 41,425–26.




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                150. Many other vague factors also invite arbitrary enforcement of the Rule.

For example, the English proficiency factor—which comes with no standard for “proficiency”

to guide either applicant or immigration officer—may be applied by each officer in a different

way depending on the officer’s own language comprehension skills or the officer’s ability to

understand a non-U.S. accent. While the I-944 Form suggests that applicants provide

“certifications” of English language courses, the Rule offers no guidance as to how to evaluate

these certifications.

                151. Beyond that, there are inconsistencies between the Rule and the

preamble’s description of how the Rule is supposed to work that invite arbitrary enforcement.

For example, the preamble to the Rule states that “active duty service members, including

those in the Ready Reserve, and their spouses and children” are exempt from their use of

public benefits being counted against them. 84 Fed. Reg. at 41,372. But, although the Rule

does exclude benefits used by individuals who are family members of active-duty service

members who are noncitizens, it inexplicably does not exclude benefits used by noncitizen

family members of active-duty service members who are U.S. citizens. This inconsistency

leaves immigration officers without clear law to apply to applicants who are spouses or

children of active-duty U.S. citizen service members.

                152. As another example, the preamble to the Rule states that having non-

private health insurance, even if it is not Medicaid, will be given heavily negative weight if the

applicant has a qualifying health condition. 84 Fed. Reg. at 41,445 (stating that DHS considers

it a “heavily weighted negative factor” if an applicant lacks “financial means to pay for

reasonably foreseeable medical costs if the [non-citizen] does not have private health

insurance”). But nothing in the Rule itself suggests that having non-private health insurance


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other than Medicaid counts as a negative factor. To the contrary, the Rule specifically states

that, if an applicant has a medical condition that is likely to require extensive treatment, an

immigration officer should consider whether the applicant can pay for reasonably foreseeable

medical costs through health insurance “not designated as a public benefit . . . .” 84 Fed. Reg.

at 41,503 (proposed 8 C.F.R. § 212.22(b)(4)(2)(H)). Furthermore, to the extent this provision

expresses a bias in favor of employer-provided health insurance, it is in conflict with the fact

that many noncitizens work in industries where employers are less likely to provide health

insurance.

                153. The distinction in the Rule between Medicaid and other forms of medical

insurance poses additional challenges to consistent enforcement of the Rule (as well as to green

card applicants and their advisors). As discussed above, supra ¶¶ 125–27, in states like New

York where there are numerous forms of health insurance offered by the same managed care

plans, a USCIS officer (as well as applicants and their advisors) will have difficulty

distinguishing between health benefits that trigger the public charge, namely federal Medicaid,

and other forms of health insurance maintained by the same companies whose receipt is not a

negative factor under public charge.

      D.      The Rule Unlawfully Discriminates Against Individuals with Disabilities

                154. The Rule discriminates against individuals with disabilities in violation of

the Rehabilitation Act of 1973 (“Rehabilitation Act”), Pub L. No. 93-112, 87 Stat. 355. It does

so by expressly treating disability as a negative factor—indeed, as multiple, duplicative

negative factors—in making public charge determinations. The Rule thus conflicts with

Section 504 of the Rehabilitation Act, which provides that “[n]o otherwise qualified individual

with a disability in the United States . . . shall, solely by reason of her or his disability, be


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excluded from participation in, be denied the benefits of, or be subjected to discrimination . . .

under any program or activity conducted by an Executive agency.” 29 U.S.C. § 794(a).

               155. Starting in 1973, Congress began to pass a series of historic civil rights

laws prohibiting discrimination on the basis of disability in public and private life: barring

disability discrimination in federally funded programs by the federal government itself, in

private and public employment, in state and local programs and services, and in public

accommodations. These laws were designed to promote the goal of enabling individuals with

disabilities to achieve equality of opportunity, full inclusion, and integration in society. The

Rule ignores these laws and attempts to roll back the clock to a time when disabled individuals

were not permitted to fully participate in society.

               156. The first major federal civil rights statute extending protections to the

disabled was the Rehabilitation Act, which authorized vocational rehabilitation grants and

prohibited disability discrimination in federally funded programs. 29 U.S.C. § 784. In 1978,

Congress extended the Rehabilitation Act protections to prohibit discrimination by the Federal

government itself. See Rehabilitation, Comprehensive Services, and Developmental

Disabilities Amendments of 1978, Pub. L. No. 95-602, 95 Stat. 2955.

               157. In 1990, Congress passed the Americans with Disabilities Act (“ADA”),

Pub. L. No. 101-336, 104 Stat. 327, to prohibit discrimination against individuals with

disabilities in employment, local and state government programs and services, and public

accommodations. In passing the ADA, Congress found that “historically, society has tended to

isolate and segregate individuals with disabilities, and, despite some improvements, such forms

of discrimination against individuals with disabilities continue to be a serious and pervasive

social problem.” 42 U.S.C. § 12101(a)(2).


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                      158. In 2008, following a series of Supreme Court cases that had narrowly

     construed the definition of disability under the ADA, Congress acted to reinforce the intent of

     these civil rights statutes by passing the ADA Amendments Act, which amended the ADA and

     the Rehabilitation Act to clarify that the definition of disability in each statute was to be

     “construed in favor of broad coverage of individuals” to ensure “maximum” coverage.67

                      159. As a program or activity conducted by DHS, public charge determinations

     are subject to the Rehabilitation Act.68

                      160. DHS regulations implementing the Rehabilitation Act prohibit the agency

     from denying a benefit or service “on the basis of disability.” 6 C.F.R. § 15.30(b)(1). These

     provisions provide further that the agency may not “utilize criteria or methods of administration”

     that would: “(i) Subject qualified individuals with a disability to discrimination on the basis of

     disability; or (ii) Defeat or substantially impair accomplishment of the objectives of a program or

     activity with respect to individuals with a disability.” Id. § 15.30(b)(4).

                      161. The Rule violates the Rehabilitation Act and the implementing regulations

     by creating a new discriminatory scheme that is triggered by disability.

                      162. First, the Rule imposes a negative “health” factor based on disability alone,

     providing that “diagnos[is] with a medical condition that is likely to require extensive medical

     treatment,” with nothing more, is treated as a negative factor. See 84 Fed. Reg. at 41,502

     (proposed 8 C.F.R. § 212.22(b)(2)).

67
       See The Americans with Disabilities Amendments Act (“ADAA”) Pub. L. No. 110-325, 122 Stat. 3553,
       codified at 42 U.S.C. § 12102 et seq., and codified at 29 U.S.C. § 705(9) (B) (Rehabilitation Act provisions
       incorporating these ADA definitions.); see also Amendment of Americans With Disabilities Act Title II and
       Title III Regulations To Implement ADA Amendments Act of 2008, 81 Fed. Reg. 53,204 (explaining that the
       ADA Amendments Act was intended to: “effectuate Congress’s intent to restore the broad scope of the ADA by
       making it easier for an individual to establish that he or she has a disability”).
68
       See Dawn E. Johnsen, Department of Justice Office of Legal Counsel, Letter Opinion for the General Counsel
       Immigration and Naturalization Service (Apr. 18, 1997); Robert B. Shanks, Memorandum Re: Section 504 of the
       Rehabilitation Act of 1973 (Feb. 2, 1983).

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                163. Second, the Rule imposes an additional heavily weighted negative factor for

applicants who (a) have a medical condition that is likely to require extensive medical treatment

or institutionalization or that will interfere with their ability to provide for himself or herself,

attend school, or work; and (b) are uninsured and have neither the prospect of obtaining private

health insurance, nor the financial resources to pay for reasonably foreseeable medical costs

related to such medical condition. See 84 Fed. Reg. at 41,504 (proposed 8 C.F.R.

§ 212.22(c)(1)(iii)).

                164. Third, the Rule imposes a separate negative factor for an applicant who

lacks “sufficient household assets and resources (including, for instance, health insurance not

designated as a public benefit under 8 C.F.R. § 212.21(b)) to pay for reasonably foreseeable

medical costs, such as costs related to a medical condition that is likely to require extensive

medical treatment or institutionalization or that will interfere with the alien’s ability to provide

care for himself or herself, to attend school, or to work.” See 84 Fed. Reg. at 41,503 (proposed 8

C.F.R. § 212.22(b)(4)(H)).

                165. The Rule thus takes a single characteristic common to individuals with

disabilities—a chronic health condition—and counts it as a negative factor three different times

in the totality of the circumstances analysis: once as a negative factor relating to “health,” once as

a negative factor relating to “assets, resources, and financial status,” and once as an independent

“heavily weighted negative factor” related, again, to health and financial resources. DHS

provides no explanation to justify this triple-counting, which results in disproportionally

punishing individuals with disabilities. Indeed, the agency “acknowledges that multiple factors

may coincide or relate to each other,” and it makes no effort to explain or justify its conclusory




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denial that it is “impermissibly counting factors twice,” let alone three times. 84 Fed. Reg. at

41,406.

               166. The Rule also utilizes a complex and confusing web of discriminatory

principles to evaluate health insurance coverage—providing positive and negative weights to

health insurance coverage depending on whether it is “private,” or “publicly funded or

subsidized,” or, as in the case of federal Medicaid, a “public benefit.” Having “private health

insurance” is a heavily weighted positive factor under the Rule, but DHS has arbitrarily

determined that applicants cannot receive this heavily weighted credit if they receive

Affordable Care Act tax credits for their insurance premiums, despite tax credits only being

available to individuals up to 400 percent of the FPG. This disqualification of coverage under

the Affordable Care Act is not disqualifying if the coverage was received through the

“marketplace,” 84 Fed. Reg. at 41,388, a distinction that was not set forth in the NPRM.

               167. Many individuals with disabilities must rely on federal Medicaid to meet

their needs because it covers services and medical equipment that are often not available under

private insurance. Despite this, under the Rule, federal Medicaid is defined as a “public

benefit,” and past receipt of federal Medicaid is considered a heavily weighted negative factor.

               168. Even though the Rule purports to designate only federal Medicaid as a

“public benefit,” it nonetheless punishes individuals, including individuals with disabilities, for

using other non-private forms of health insurance. For example, health insurance provided by

New York State’s Essential Plan is not a federal Medicaid benefit and does not count as a “public

benefit” under the Rule. However, individuals with disabilities who have Essential Plan

coverage will nonetheless be assessed a heavily weighted negative factor under the Rule’s

provision that punishes individuals who have chronic medical conditions and do not have “the


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prospect of obtaining private health insurance.” See 84 Fed. Reg. at 41,504 (proposed 8 C.F.R.

§ 212.22(c)(1)(iii)) (emphasis added); 84 Fed. Reg. at 41,445. In addition, because Essential

Plan is not private health insurance, an applicant receiving Essential Plan benefits cannot be

credited with the heavily-weighted positive factor of having “private health insurance” under

proposed 8 C.F.R. § 212(c)(2)(ii). To the contrary, the Essential Plan is considered to be

“publicly-funded or subsidized health insurance.” 84 Fed. Reg. at 41,428.

               169. DHS received numerous comments explaining that the Rule would

negatively and disproportionately affect people with disabilities, those with chronic health

conditions, and other vulnerable individuals. DHS did not deny this outcome and instead merely

responded, without explanation, that the agency “does not intend to disproportionately affect

such groups.” 84 Fed. Reg. at 41,429.

               170. DHS is unapologetic about this discriminatory scheme, which represents a

clear departure from the mandates of the Rehabilitation Act and its conforming regulations. In

fact, as justification for such harsh treatment of individuals with disabilities, DHS relies on the

very archaic views of disability that Congress sought to eradicate in the Rehabilitation Act and

the ADA, falling back on the excuse that consideration of health “has been part of public

charge determinations historically.” 84 Fed. Reg. at 41,368. In support of this point, DHS

relies upon a judicial opinion from 1911 in which one individual was excluded on the basis of

public charge because “he had a ‘rudimentary’ right hand affecting his ability to earn a living,”

another individual had “poor appearance and ‘stammering,’” and a third individual “was very

small for his age.” 84 Fed. Reg. at 41,368 n.407 (citing Barlin v. Rodgers, 191 F. 970, 974–

977 (3d Cir. 1911)).




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               171. The Rule is thus arbitrary and capricious because it discriminates against

people with disabilities and fails to address the conflict between the Rule and Section 504 of

the Rehabilitation Act.

     E.      The Rule’s Changes to the Public Charge Bond Provision Render Such
             Bonds Effectively Inaccessible

               172. Since 1907, the federal immigration laws have provided a procedure by

which a noncitizen excludable on public charge grounds could be admitted “upon the giving of

a suitable and proper bond.” Immigration Act of 1907, 59 Cong. Ch. 1134 § 2, 34 Stat. 898

§ 26. A public charge bond is a contract between the United States and a counterparty who

pledges a sum of money (secured by cash or property or underwritten by a certified surety

company) to guarantee that the noncitizen will not become a public charge during a certain

time frame. See 8 U.S.C. § 1183; 8 C.F.R. § 103.6(c)(1); 8 C.F.R. § 213.1. Currently, the

minimum threshold for posting a public charge bond is $1,000. See 8 C.F.R. § 213.1.

               173. As discussed above, in 1996, Congress created for the first time an

alternative to a public charge bond: an enforceable affidavit of support. See 8 U.S.C. §§

1182(a)(4)(B)(ii), 1183a; supra ¶ 78. The advent of an enforceable affidavit of support largely

obviated the need for public charge bonds, which have been required only “rarely” since the

IIRIRA was enacted. See 83 Fed. Reg. at 51,219 n.602.

               174. The Rule dramatically alters this practice. As described above, under the

Rule, an affidavit of support is no longer sufficient for admissibility. Rather, it is only one

positive factor—and not a heavily weighted one—in the totality of the circumstances analysis.

Accordingly, under the Rule, the posting of a public charge bond is once again the only way to

overcome a determination that a noncitizen is inadmissible as likely to become a public charge.



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But the Rule takes extreme steps to make the statutorily-authorized public charge bond

inaccessible and unworkable.

               175. First, the Rule provides that a noncitizen can post a public charge bond

only with DHS’s permission, and DHS is directed to exercise that discretion in favor of

permitting a bond only if the applicant possesses no heavily weighted negative factors, the

same factors that lead to a finding of inadmissibility in the first place. See 84 Fed. Reg. at

41,506 (proposed 8 C.F.R. § 213.1(b)) (“If an alien has one or more heavily weighted negative

factors, . . . DHS generally will not favorably exercise discretion to allow submission of a

public charge bond.”). Thus, contrary to the statute and longstanding practice, the Rule creates

a Catch-22 by making bonds available only to applicants who do not need them.

               176. Second, the Rule would raise the minimum amount of such bonds from

$1,000 to $8,100, annually adjusted for inflation. 84 Fed. Reg. at 41,506 (proposed 8 C.F.R.

§ 213.1(c)(2)). The amount of the bond required is not appealable. Id. A noncitizen whose

income and assets render her inadmissible on public charge grounds under the proposed Rule is

exceedingly unlikely to have $8,100 or more in cash or cash equivalents to secure such a bond.

This minimum bond amount effectively regulates away the statutorily mandated availability of

public charge bonds to overcome inadmissibility determinations.

               177. Finally, the Rule also imposes draconian forfeiture procedures on the very

few immigrants who might be offered the opportunity to post a public charge bond, and who

might have assets to post such a bond. Existing federal regulations (which the Rule purports to

incorporate) require a “substantial violation” in order to determine that a public charge bond

has been breached. 8 C.F.R. § 103.6(e); see 84 Fed. Reg. at 41,455. The Rule, however,

requires forfeiture of the entire bond for any violation of its terms, no matter how minor. In


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 other words, an immigrant who posts a $8,100 public charge bond and later receives 12 months

 of a “public benefit” within any 36-month period before the bond is formally cancelled—for

 example, an immigrant who receives $50 per month of cash benefits for a year after losing a

 job—would be required to forfeit the entire $8,100 bond. See 84 Fed. Reg. at 41,507

 (proposed 8 C.F.R. § 213.1(h)(6)) (“The bond must be considered breached in the full amount

 of the bond.”).

      F.      The Rule Is Arbitrary and Capricious in Other Ways

                   178. The Rule is arbitrary and capricious in other ways that violate the APA. It

 uses an arbitrary and capricious durational standard as a threshold for receipt of government

 benefits. The Rule’s durational threshold—receipt of any amount of enumerated benefits for

 12 cumulative months in any 36-month period—has no sound basis and is at odds with the

 Congressional intent that the public charge exclusion apply only to those who primarily depend

 on the government for subsistence. As another example, the Rule employs an arbitrary and

 capricious system of weighted factors to govern public charge determinations. Many of the

 factors themselves, like English language proficiency and credit scores, are supported by

 insufficient evidence and have no value for predicting who is likely to be a public charge. And

 the Rule provides no guidance, beyond designating factors as “negative,” “positive,” and

 “heavily weighted,” for determining how different factors should be weighed against each

 other or considered in assessing the totality of the applicant’s circumstances.

VI.   The Rule Was Promulgated Without Authority

                   179. DHS lacks statutory authority to promulgate the Rule.

                   180. DHS cites as its principal legal authority for promulgating the Rule, and

 for making “public charge inadmissibility determinations and related decisions,” section 102 of


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the Homeland Security Act (the “HSA”), codified at 6 U.S.C. § 112, and section 103 of the

INA, codified at 8 U.S.C. § 1103. 84 Fed. Reg. at 41,295. Neither provision authorizes DHS

to promulgate this Rule as it relates to public charge determinations for noncitizens seeking to

adjust their status to lawful permanent resident. Rather, that authority belongs exclusively to

the Attorney General of the United States.

               181. Section 102 of the HSA created the position of Secretary of Homeland

Security, and broadly defined the Secretary’s “functions.” See 6 U.S.C. § 112. Nothing in that

section provides the Secretary with rulemaking authority over public charge determinations.

               182. Section 103 of the INA describes the “powers and duties” of the Secretary

of Homeland Security, the Under Secretary, and the Attorney General, as it relates to

immigration laws. See 8 U.S.C. § 1103. That section provides: “The Secretary of Homeland

Security shall be charged with the administration and enforcement of this chapter and all other

laws relating to the immigration and naturalization of aliens, except insofar as this chapter or

such laws relate to the powers, functions, and duties conferred upon the President, Attorney

General, the Secretary of State, the officers of the Department of State, or diplomatic or

consular officers.” 8 U.S.C. § 1103(a)(1) (emphases added). Section 103 further provides that

the Secretary of Homeland Security “shall establish such regulations . . . as he deems necessary

for carrying out his authority under the provisions of this chapter.” Id. § 1103(a)(3) (emphasis

added). Accordingly, DHS has the authority to administer and enforce the INA, including

through rulemaking, except with respect to provisions of the INA that relate to the powers of

the Attorney General (among others).

               183. The public charge provision of the INA that is the subject of the proposed

Rule specifically relates to the “powers, functions, and duties conferred upon the . . . Attorney


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     General.” Specifically, the public charge provision—section 214(a)(4) of the INA—provides

     that a noncitizen “who, in the opinion of the consular officer at the time of application for a

     visa, or in the opinion of the Attorney General at the time of application for admission or

     adjustment of status, is likely at any time to become a public charge is inadmissible.” 8

     U.S.C. § 1182(a)(4)(A) (emphasis added). The provision goes on to enumerate the factors that

     “the Attorney General shall at a minimum consider” when “determining whether an alien is

     inadmissible under this paragraph.” Id. § 1182(a)(4)(B). Accordingly, it is the Attorney

     General, not DHS or the Secretary of Homeland Security, who is responsible for making public

     charge inadmissibility determinations for noncitizens seeking admission or adjustment of

     status.69 The Rule was promulgated by an agency acting beyond its jurisdiction, and is ultra

     vires and void as a matter of law.

VII.      The Process for Promulgating the Rule Violates the Law

                     184. The Rule violates the APA because it was promulgated “without

     observance of procedure required by law.” 5 U.S.C. § 706(2)(D). This section describes how

     DHS’s process for promulgating the Rule was deficient because (1) DHS failed to respond to

     significant comments, and (2) DHS failed to provide a reasoned explanation for changing

     policy direction from the Field Guidance.

          A.       DHS’s Process for Promulgating the Rule was Procedurally Deficient

                     185. DHS published the NPRM on October 10, 2018. See 83 Fed. Reg. 51,114.

     DHS invited public comment on the proposed rule. The comment period closed on December


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      Although the public charge provision of the INA provides that inadmissibility determinations for visa applicants
      are to be made by “consular officer[s],” 8 U.S.C. § 1182(a)(4), the HSA specifically transferred rulemaking
      authority concerning visa applications to the Secretary of Homeland Security. See, e.g., 6 U.S.C. § 202(3); 6
      U.S.C. § 236(b). Notably, the HSA did not specifically transfer rulemaking authority concerning adjustment of
      status applications to DHS.

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10, 2018; over 266,000 public comments were filed. Although the vast majority of these

comments criticized and opposed the Rule, DHS ignored or did not respond to numerous

significant complaints.

               186. We cite below just a few examples called to DHS’s attention in comments

on the proposed rule:

                     (i)     The Rule is so vague, inconsistent, and lacking in measurable
                             standards that it invites arbitrary and discriminatory application;

                     (ii)    The requirement on the Form I-944 that applicants for adjustment
                             disclose past receipt of benefits that were not counted in the public
                             charge determination in the Field Guidance renders the Rule
                             retroactive;

                     (iii)   The Rule provides no standard for measuring English language
                             proficiency, and learning English requires long-term preparation
                             and expense which many applicants postpone until naturalization;

                     (iv)    Advances in treating such illnesses as HIV, cancer, and diabetes
                             enable many people to work, and these chronic conditions should
                             not render an applicant a public charge;

                     (v)     The dramatic increase in the public bond requirement—from
                             $1,000 to $10,000 in the proposed Rule ($8,100 in the final
                             Rule)—is arbitrary and unfair;

                     (vi)    The harms to millions of immigrant families—including increased
                             hunger, illness, and housing instability—cannot be justified.

               187. DHS fails to respond meaningfully to significant comments about these

issues, instead pushing forward with almost all of the provisions of the proposed rule in the

NPRM intact, or with only minor changes that make no meaningful difference.

               188. In addition to the non-exhaustive list of examples above, nowhere in the

NPRM was there any reference to insurance premiums under the Affordable Care Act. The

NPRM failed to give notice to the public that while the Rule would consider private health



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insurance as a positive factor, it would not count insurance through the Affordable Care Act

markets if the applicant obtained any tax subsidies. Thus, USCIS deprived the public of the

opportunity to comment on this provision at all.

               189. Numerous procedural anomalies characterized the promulgation and

publication of the Rule. In addition to the purges of high-level DHS and USCIS officials, see

infra ¶¶ 218, 223–24, 232, the Trump Administration has cut short the period of public and

Congressional feedback that typically follows the closing of the notice-and-comment period.

               190. Shortly before the publication of the final Rule, in a process required by a

longstanding Executive Order, the Office of Interagency Affairs (“OIRA”), a component of the

Office of Management and Budget, scheduled a series of meetings with stakeholders regarding

the impacts of the Rule. See Executive Order 12,866 (1993). Although representatives from

numerous state and local governments, as well as nationally known advocacy groups,

scheduled meetings with OIRA to present their points of view on the Rule and its

implementation, OIRA cut short the public feedback process, taking just a few meetings and

cancelling the rest.

      B.     DHS Fails to Justify its Departure from the 1999 Field Guidance

               191. DHS fails to provide a reasoned explanation for changing policy direction

from the Field Guidance and promulgating the Rule for several reasons.

               192. First, DHS fails to identify any problems with enforcement of the Field

Guidance, which has been in continuous effect for over 20 years. DHS does not suggest that

the Field Guidance has been ineffective or difficult to administer, or identify any adverse

consequences from the Field Guidance. DHS contends that the Field Guidance is “overly

permissi[ve],” 84 Fed. Reg. at 41,319, but does not identify a single adverse result flowing


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from the Field Guidance’s allegedly permissive standard that the Rule is meant to address.

Rather, DHS simply states that it has “determined that it is permissible and reasonable to

propose a different approach,” 83 Fed. Reg. at 51,164, and that the public charge standard set

forth in the Rule “furthers congressional intent” that noncitizens “be self-sufficient,” e.g., 84

Fed. Reg. at 41,319. But the agency provides no examples of how the goal of self-sufficiency

has not been served by the Field Guidance.

               193. Second, DHS fails to explain why its new definition of “public charge”

better reflects Congressional intent than the definition established in the Field Guidance. DHS

repeatedly states that the Rule reflects Congress’s intent in PRWORA—which was enacted in

1996—that noncitizens “be self-sufficient and not reliant on public resources.” E.g., 84 Fed.

Reg. at 41,319. But DHS fails to acknowledge that the Field Guidance—which was issued less

than three years after PWRORA, under the administration of the same President who signed

that bill into law—is far better evidence of the statute’s meaning and congressional intent than

the contrary interpretation included in the Rule 23 years later. DHS offers no evidence

suggesting that INS mistook Congress’s intent when it issued the Field Guidance in 1999, or

that Congress viewed the Field Guidance as inconsistent with its intent.

               194. Third, DHS offers no reasoned explanation for why it is necessary or

appropriate to redefine “public charge” to mean the receipt of even a minimal amount

supplemental benefits available to working families. DHS provides no evidence that mere

receipt of such benefits has ever triggered a public charge finding, either before or after the

Field Guidance was promulgated. DHS identifies no authority suggesting that receipt of

noncash benefits has ever factored into a public charge determination, that receipt of public




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     benefits alone has been sufficient to render someone a public charge, or that receipt of public

     benefits has ever rendered a working individual a public charge.

                     195. DHS also offers no reasoned explanation for rejecting the expert views of

     agencies that administer the relevant public benefits that are reflected in the Field Guidance. In

     issuing the Field Guidance, INS explained that its definition of public charge—and decision to

     exclude noncash benefits from consideration—reflected evidence and input it received after

     “extensive consultation with” the agencies that administer such benefits. 64 Fed. Reg. at

     28,692. DHS acknowledges that the Field Guidance reflects these consultations, but simply

     states that they do not foreclose a different interpretation. 84 Fed. Reg. at 41,351.

                     196. Indeed, emails between the White House and federal agencies while the

     Rule was being drafted demonstrate that those agencies were expressly discouraged from

     providing substantive input on whether to expand the definition of “public charge.” In

     circulating drafts of the proposed rule within the Executive Branch, a White House official

     stressed that “the decision of whether to propose expanding the definition of public charge,

     broadly, has been made at a very high level and will not be changing” (emphasis in

     original).70

                     197. Fourth, the Rule does not explain the contradiction between the concern

     about the public health impacts of discouraging use of public benefits as described in the Field

     Guidance, and DHS’s disregard of those impacts. DHS recognizes that the Field Guidance was

     issued in response to “confusion” about public charge that had resulted in immigrants

     foregoing benefits and consequent risks to public health. See 83 Fed. Reg. at 51,133 (citing 64


70
       See Yeganeh Torbati et al., “No Comment”: Emails Show the VA Took No Action to Spare Veterans from a
       Harsh Trump Immigration Policy, ProPublica (Aug. 19, 2019), https://www.propublica.org/article/emails-show-
       the-va-took-no-action-to-spare-veterans-from-a-harsh-trump-immigration-policy.

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Fed. Reg. at 28,676–77). DHS also acknowledges that the Rule will have a wide-spread

chilling effect and a corresponding negative impact on public health. But it offers no reasoned

explanation for its decision to disregard INS’s concerns. Instead, DHS simply reiterates that its

primary purpose is furthering “self-sufficiency,” and that the Rule’s chilling effect is an

acceptable tradeoff in pursuing that asserted purpose. See 84 Fed. Reg. at 41,311–13.

               198. Fifth, DHS fails to justify its abandonment of the “primary dependence”

standard in the Field Guidance in favor of the durational standard in the rule: receipt of any

enumerated benefits for 12 cumulative months in a 36-month period. As explained above, the

“primary dependence” standard was based on more than a century of case law and Congress’s

recent intent in enacting PRWORA and IIRIRA. See supra ¶¶ 86–89. The new durational

standard, by contrast, is based on DHS’s conclusory assertion “that it is permissible and

reasonable to propose a different approach.” 83 Fed Reg. at 51,164. DHS acknowledges that

its durational standard—which does not account for the amount of benefits received—will

result in “potential incongruities,” i.e., arbitrary results. 84 Fed. Reg. at 41,361. DHS attempts

to justify the durational standard based on inapposite data, such as data that measures the

duration of time that individuals receive means-tested assistance, but fails to distinguish

between use by citizens and noncitizens or otherwise explain how this data justifies its

approach. See 84 Fed. Reg. at 41,360.

               199. Sixth, DHS fails to address the legitimate reliance interests engendered by

the Field Guidance. The Field Guidance, and the long history of public charge on which it is

based, has permitted generations of immigrant families to build lives in the U.S. without

fearing that their choices, including whether to seek public benefits, may have a negative

impact on their immigration status (other than the choice to receive cash assistance or long-


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 term institutional care). U.S. immigration lawyers and advocates have likewise relied upon the

 simplicity and clarity of the Field Guidance to aid clients in making decisions about their lives

 and the consequences of using public benefits. The Rule fails to consider adequately the

 existence of these reliance interests and how they might affect implementation of the Rule.

                200. For example, previous receipt of “any” cash assistance is now scored as a

 negative factor, even if the applicant was never primarily dependent on the benefit. Other

 choices made by applicants in the past similarly cannot be undone, such as having another

 child, choosing to work instead of improving English language skills, or defaulting on a loan

 from one creditor in favor of paying the rent. None of these decisions can be renegotiated.

 This policy effectively punishes individuals who legitimately relied on decades of agency

 interpretation to make important decisions in their lives. DHS provides no reasoned

 explanation for doing so.

VIII. The Rule Is Motivated by Impermissible Animus Against Immigrants of Color

                201. The Rule is motivated by animus against immigrants from predominantly

 nonwhite countries, and, as designed, will disproportionately affect those nonwhite individuals.

                202. The Rule, which originated in a “wish list” created by an anti-immigrant

 think tank associated with white supremacists, see supra ¶¶ 91–94, continues the pattern of

 hostility to immigrants that has characterized the Trump Administration’s rhetoric and policies.

 The stated rationale for the Rule—to ensure that immigrants are self-sufficient—is, at best, a

 pretext for discrimination against immigrants, and in particular nonwhite immigrants, even

 those who are complying with the country’s long-standing rules for obtaining lawful residence.




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          A.      The President Has Repeatedly Expressed Hostility Toward Nonwhite
                  Immigrants

                    203. President Trump has a long and well-documented history of disparaging

     and demeaning immigrants, particularly those from Latin American, African, and Arab

     nations—or, as he has put it while considering changes to immigration rules, immigrants from

     “shithole countries.”71 Through his words and deeds, he has repeatedly portrayed

     immigrants—and particularly nonwhite immigrants—as dangerous criminals who are

     “invading” or “infesting” this country and draining its resources.72

                    204. In announcing his presidential campaign, then-candidate Trump compared

     Mexican immigrants to rapists. He said: “When Mexico sends its people, they’re not sending

     their best. . . . They’re sending people that have lots of problems, and they’re bringing those

     problems with us. They’re bringing drugs. They’re bringing crime. They’re rapists. And some,

     I assume, are good people.”73

                    205. Throughout his primary campaign, candidate Trump derided the ethnic

     backgrounds of his political foes. For instance, he retweeted a post stating that fellow-

     candidate Jeb Bush must like “Mexican illegals because of his wife,” who is Mexican,74 and

     insinuated that Senator Ted Cruz was untrustworthy because of his Cuban heritage.75 In May

     2016, candidate Trump called into question the integrity and impartiality of U.S. District Judge

71
      BBC, Donald Trump’s ‘racist slur’ provokes outrage (Jan. 12 2018), https://www.bbc.com/news/world-us-
      canada-42664173.
72
      Donald J. Trump (@realDonaldTrump), Twitter (June 19, 2018, 9:52 AM),
      https://twitter.com/realDonaldTrump/status/1009071403918864385.
73
      Washington Post, Transcript of Donald Trump’s Presidential Bid Announcement (June 16, 2015),
      https://www.washingtonpost.com/news/post-politics/wp/2015/06/16/full-text-donald-trump-announces-a-
      presidential-bid/.
74
      Jacob Koffler, Donald Trump Tweets Racially Charged Jab at Jeb Bush’s Wife, Time (July 6, 2015),
      https://time.com/3946544/donald-trump-mexican-jeb-bush-twitter/.
75
      See Rebecca Sinderbrand, In Iowa, Trump Makes a Play for Cruz’s Evangelical Base, Wash. Post (Dec. 29,
      2015), https://www.washingtonpost.com/news/post-politics/wp/2015/12/29/in-iowa-trump-makes-a-play-for-
      cruzs-evangelical-base/.

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     Gonzalo Curiel—an Indiana native who was presiding over a lawsuit against Trump

     University—because of Judge Curiel’s ethnic heritage: “He’s a Mexican. We’re building a

     wall between here and Mexico. The answer is, he is giving us very unfair rulings—rulings that

     people can’t even believe.”76

                      206. Among President Trump’s first actions as president—at the same time that

     the draft Executive Order from which the Rule derives was being developed—was to sign

     another executive order on January 26, 2017, banning all immigration from six Muslim

     majority countries. President Trump repeatedly made clear that his decision was driven by

     anti-Muslim sentiment, including by expressly “calling for a total and complete shutdown on

     Muslims entering the United States”77; justifying that by citing the internment of Japanese

     Americans during World War II78; and calling for the surveillance of mosques in the United

     States.79

                      207. In a June 2017 Oval Office meeting, the President is said to have berated

     administration officials about the number of immigrants who had received visas to enter the

     country that year, complaining that 2,500 Afghanis should not have gained entry because the

     country was “a terrorist haven,” that 15,000 Haitians “all have AIDS,” and that 40,000




76
       Sean Sullivan & Jenna Johnson, Trump Calls American-Born Judge ‘a Mexican,’ Points out ‘My African
       American’ at a Rally, Wash. Post (June 3, 2016), https://www.washingtonpost.com/news/post-
       politics/wp/2016/06/03/trump-calls-american-born-judge-a-mexican-points-out-my-african-american-at-a-rally/.
77
       Jenna Johnson, Trump Calls for ‘Total and Complete Shutdown of Muslims Entering the United States,’ Wash.
       Post (Dec. 7, 2015), https://www.washingtonpost.com/news/post-politics/wp/2015/12/07/donald-trump-calls-
       for-total-and-complete-shutdown-of-muslims-entering-the-united-states/.
78
       Meghan Keneally, Donald Trump Cites These FDR Policies to Defend Muslim Ban, ABC News (Dec. 8, 2015),
       https://abcnews.go.com/Politics/donald-trump-cites-fdr-policies-defend-muslim-ban/story?id=35648128.
79
       Jeremy Diamond, Trump Doubles Down on Calls for Mosque Surveillance, CNN (June 15, 2016),
       https://www.cnn.com/2016/06/15/politics/donald-trump-muslims-mosque-surveillance/index.html.

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     Nigerians would never “go back to their huts” after seeing the United States.80 Shortly

     thereafter, the Department of Homeland Security announced that it would be withdrawing

     Temporary Protected Status (“TPS”) from immigrants from Haiti, El Salvador, and the Sudan.

                    208. The President’s attacks on immigrants have only escalated since 2017.

     When discussing how to prosecute immigrants in sanctuary cities, Trump equated immigrants

     with “animals,” stating “[y]ou wouldn’t believe how bad these people are. These aren’t

     people. These are animals.”81 He has repeatedly characterized immigration at the southern

     border, including a caravan of Central American asylum-seekers passing through Mexico as an

     “invasion.”82 He asserted falsely that the caravan consisted of both Middle Eastern terrorists

     and members of the Central American gang MS-13, thereby conflating the ethnicities of two

     minority groups that he reviles.83 More recently, the President endorsed a proposal to transport

     and “release” migrants detained at the border into sanctuary cities, in the hopes that doing so

     would stoke racial and anti-immigrant tensions, thereby putting pressure on his political

     enemies.84

                    209. Most recently, as widely reported, the President told four members of

     Congress, all women of color, to “go back . . . [to] the totally broken and crime infested places


80
      Michael Shear & Julie Hirschfeld Davis, Stoking Fears, Trump Defied Bureaucracy to Advance Immigration
      Agenda, N.Y. Times (Dec. 23, 2017), https://www.nytimes.com/2017/12/23/us/politics/trump-
      immigration.html.
81
      Héctor Tobar, Trump’s Ongoing Disinformation Campaign Against Latino Immigrants, The New Yorker (Dec.
      12, 2018), https://www.newyorker.com/news/daily-comment/trumps-ongoing-disinformation-campaign-
      against-latino-immigrants.
82
      Id.
83
      See id.
84
      See Rachael Bade & Nick Miroff, White House Proposed Releasing Immigrant Detainess in Sanctuary Cities,
      Targeting Political Foes, Wash. Post (Apr. 11, 2019), https://www.washingtonpost.com/immigration/white-
      house-proposed-releasing-immigrant-detainees-in-sanctuary-cities-targeting-political-
      foes/2019/04/11/72839bc8-5c68-11e9-9625-01d48d50ef75_story.html?utm_term=.bfdb455e37c4; Eileen
      Sullivan, Trump Says He Is Considering Releasing Migrants in “Sanctuary Cities,” N.Y. Times (Apr. 12,
      2019), https://www.nytimes.com/2019/04/12/us/politics/trump-sanctuary-
      cities.html?action=click&module=Top%20Stories&pgtype=Homepage.

                                                      82
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     from which they came.”85 And, in reference to Representative Ilhan Omar, a former refugee

     from Somalia who arrived in the United States as a child and became a citizen in 2000, smiled

     as supporters at a campaign rally chanted “send her back.”86

                     210. In contrast to these expressions of hostility to nonwhite immigrants, the

     President has repeatedly expressed support for immigration of whites and Europeans. In

     March 2013, for instance, President Trump warned that Republicans are on a “suicide mission”

     if they support immigration reform, before calling for more immigration from Europe:

                  Now I say to myself, why aren’t we letting people in from Europe? . . .
                  Nobody wants to say it, but I have many friends from Europe, they want to
                  come in. . . . Tremendous people, hard-working people. . . . I know people
                  whose sons went to Harvard, top of their class, went to the Wharton
                  School of finance, great, great students. They happen to be a citizen of a
                  foreign country. They learn, they take all of our knowledge, and they can’t
                  work in this country. We throw them out. We educate them, we make
                  them really good, they go home—they can’t stay here—so they work from
                  their country and they work very effectively against this. How stupid is
                  that?87

                     211. Likewise, in a January 2018 meeting, Trump reportedly expressed dismay

     that we do not “have more people from places like Norway, contrasting such immigrants with

     those from “shitholes countries” such as Haiti and countries in Africa.”88 According to sworn




85
      Katie Rogers & Nicholas Fandos, Trump Tells Congresswomen to ‘Go Back’ to the Countries They Came
      From, N.Y. Times (July 14, 2019), https://www.nytimes.com/2019/07/14/us/politics/trump-twitter-squad-
      congress.html.
86
      See Meagan Flynn, ‘Malignant, dangerous, violent’: Trump rally’s ‘Send her back!’ chant raises new concerns
      of intolerance, Wash. Post (July 8, 2019), https://www.washingtonpost.com/nation/2019/07/18/malignant-
      dangerous-violent-trump-rallys-send-her-back-chant-raises-new-concerns-intolerance/?noredirect=on.
87
      Pema Levy, Trump: Let In More (White) Immigrants, Talking Points Memo (Mar. 15, 2013),
      https://talkingpointsmemo.com/dc/trump-let-in-more-white-immigrants.
88
      Jen Kirby, Trump Wants Fewer Immigrants from “Shithole Countries” and More from Places Like Norway,
      Vox (Jan. 11, 2018 5:55 PM), https://www.vox.com/2018/1/11/16880750/trump-immigrants-shithole-countries-
      norway.

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     Congressional testimony by Trump’s former lawyer Michael Cohen, Trump once asked Cohen

     whether he could “name a country run by a black person that wasn’t a shithole.”89

          B.       President Trump Has Repeatedly Expressed Hostility Toward Immigrants
                   Who Receive Public Benefits

                    212. President Trump has directed particular hostility toward the precise group

     at issue in this case: immigrants who receive public benefits.

                    213. In November 2018, President Trump advocated for the complete

     elimination of public benefits for immigrants who are already U.S. lawful permanent residents.

     Although undocumented immigrants are eligible for virtually no federal assistance, much less

     cash benefits, President Trump retweeted a post falsely claiming that “[i]llegals can get up to

     $3,874 a month under Federal Assistance program. Our social security checks are on average

     $1200 a month. RT [retweet] if you agree: If you weren’t born in the United States, you should

     receive $0 assistance.”90 In an interview with Breitbart News published on March 11, 2019,

     President Trump was quoted as saying “I don’t want to have anyone coming in that’s on

     welfare.”91

                    214. Similarly, during the presidential campaign, candidate Trump wrote a

     Facebook post falsely asserting: “When illegal immigrant households receive far more in

     federal welfare benefits—than []native American households—there is something CLEARLY




89
      Miles Parks, GOP Attacks After Opening Focused on Trump: Highlights from Cohen’s Testimony, NPR (Feb.
      27, 2019), https://www.npr.org/2019/02/27/698631746/gop-attacks-after-opening-focused-on-trump-highlights-
      from-cohens-testimony.
90
      Héctor Tobar, Trump’s Ongoing Disinformation Campaign Against Latino Immigrants, The New Yorker (Dec.
      12, 2018), https://www.newyorker.com/news/daily-comment/trumps-ongoing-disinformation-campaign-
      against-latino-immigrants.
91
      Alexander Marlow, et al., Exclusive—President Donald Trump on Immigration: “I Don’t Want to Have Anyone
      Coming in That’s on Welfare” (Mar. 11, 2019), https://www.breitbart.com/politics/2019/03/11/exclusive-
      president-donald-trump-on-immigration-i-dont-want-to-have-anyone-coming-in-thats-on-welfare/.

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     WRONG with the system!”92 And in the first Republican presidential debate, he falsely

     complained that the Mexican government was sending immigrants to the United States

     “because they don’t want to pay for them. They don’t want to take care of them.”93

          C.      Other Senior Trump Advisors Have Expressed the Same Animus Toward
                  Immigrants Who Receive Public Benefits

                     215. President Trump’s senior advisors on immigration, including those with

     significant responsibility for promulgating the Rule, have made similar statements. Several of

     President Trump’s appointees and associates involved in his Administration’s immigration

     policy, including former Attorney General Jefferson Sessions, Campaign Manager and

     Counselor to the President Kellyanne Conway, Senior Advisor to U.S. Immigration and

     Customs Enforcement Jon Feere, current USCIS official and former member of the White

     House’s Domestic Policy Council John Zadrozny, former Kansas Secretary of State and

     member of President Trump’s transition team Kris Kobach, Senior Policy Advisor Stephen

     Miller, and Policy Advisor for the “Trump for President” campaign and Ombudsman of USCIS

     Julie Kirchner, also have past and present ties to anti-immigrant organizations founded by John

     Tanton and designated as hate groups by the Southern Poverty Law Center, including CIS and

     the Federation for American Immigration Reform (“FAIR”).94

                     216. President Trump’s principal advisor on immigration policy, Senior Policy

     Advisor Stephen Miller, has asserted that the United States’ current immigration system

     “cost[s] taxpayers enormously because roughly half of immigrant head[s] of households in the
92
      Trump: I'll Fix Welfare System that Helps Illegal Immigrants More than Americans, Fox News Insider (May 11,
      2016), http://insider.foxnews.com/2016/05/11/trump-rips-welfaresystem-gives-illegal-immigrants-more-
      americans
93
      Andrew O’Reilly, At GOP debate, Trump says ‘stupid’ U.S. leaders are being duped by Mexico, Fox News,
      (Aug. 6, 2015), https://www.foxnews.com/politics/at-gop-debate-trump-says-stupid-u-s-leaders-are-being-
      duped-by-mexico.
94
      Southern Poverty Law Center, Federation for American Immigration Reform (2019),
      https://www.splcenter.org/fighting-hate/extremist-files/group/federation-american-immigration-reform.

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     United States receive some type of welfare benefit,” and that “a recent study said that as much

     as $300 billion a year may be lost as a result of our current immigration system in terms of

     folks drawing more public benefits than they’re paying in.”95 These statements are apparently

     based on misleading assertions by CIS, which do not distinguish between immigrants exempt

     from public charge determinations, other non-LPRs, LPRs, U.S. citizen children of noncitizens,

     and naturalized citizens.

                     217. Miller has taken an active role in agency processes focused on furthering

     the Trump Administration’s anti-immigrant policies, including the Rule. For example, when

     he discovered that an agency had drafted a report describing the benefits of refugees to the

     economy, he “swiftly intervened,” and the report was “shelved in favor of a three-page list of

     all the federal assistance programs that refugees used.”96 He has baselessly blamed immigrants

     who enter from the southern border for “thousands” of American deaths annually.97

                     218. Miller has specifically focused on expanding the definition of public

     charge, even directing federal agencies to “prioritize” this matter over their “other efforts.”98

     Miller’s drive to push the Rule and other anti-immigration policies ahead despite opposition

     from officials who questioned their legality, practicability, or reasonability, was reported to be

     one of the primary reasons why former Secretary Nielsen was forced to resign, along with


95
      The White House, Press Briefing by Press Secretary Sarah Sanders and Senior Policy Advisor Stephen Miller
      (Aug. 2, 2017), https://www.whitehouse.gov/briefings-statements/pressbriefing-press-secretary-sarah-sanders-
      senior-policy-advisor-stephen-miller-080217/.
96
      Michael D. Shear & Julie Hirschfeld Davis, Stoking Fears, Trump Defied Bureaucracy to Advance Immigration
      Agenda, N.Y. Times (Dec. 23, 2017), https://www.nytimes.com/2017/12/23/us/politics/trump-
      immigration.html?_r=0.
97
      See Glenn Kessler, Stephen Miller’s claim that ‘thousands of Americans die year after year’ from illegal
      immigration, Wash. Post (Feb. 21, 2019), https://www.washingtonpost.com/politics/2019/02/21/stephen-
      millers-claim-that-thousand-americans-die-year-after-year-illegal-immigration/?utm_term=.299854358dbc.
98
      Tal Kopan, Sources: Stephen Miller Pushing Policy to Make It Harder for Immigrants Who Received Benefits
      to Earn Citizenship, CNN (Aug. 7, 2018), https://www.cnn.com/2018/08/07/politics/stephen-miller-immigrants-
      penalizebenefits/index.html.

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     other officials at DHS.99 Miller reportedly exerted pressure to force the resignation of USCIS

     Director Cissna because of the perceived lack of urgency in finalizing the Rule, which Miller

     predicted would be “transformative.”100 During a meeting with administration officials in

     March 2019, Miller reportedly became furious that the public charge rule was not yet finished,

     shouting: “You ought to be working on this regulation all day every day . . . It should be the

     first thought you have when you wake up. And it should be the last thought you have before

     you go to bed. And sometimes you shouldn’t go to bed.”101 Emails obtained through a FOIA

     request show Miller berating Cissna in June 2018 over the perceived delay in publishing the

     proposed public charge rule, with Miller writing “I don’t care what you need to do to finish it

     on time.”102

                    219. Other senior officials have similarly expressed animus against nonwhite

     immigrants. Former Chief of Staff and Secretary of Homeland Security John Kelly has called

     Haitians “welfare recipients,” and, during the weeks leading up to the withdrawal of TPS to

     Haitians, solicited data regarding the TPS beneficiaries’ use of public and private assistance.103

     Kelly also took a leadership role in formulating and promoting the family separation policy

     formally implemented by DHS in 2018, at several points denying that taking mostly Central




99
      See Eileen Sullivan & Michael D. Shear, Trump Sees an Obstacle to Getting His Way on Immigration: His Own
      Officials, N.Y. Times (Apr. 14, 2019), https://www.nytimes.com/2019/04/14/us/politics/trump-immigration-
      stephen-miller.html?action=click&module=Top%20Stories&pgtype=Homepage.
100
      See id.
101
      Id.
102
      Ted Hesson, Emails show Stephen Miller pressed hard to limit green cards, Politico (Aug. 2, 2019),
      https://www.politico.com/story/2019/08/02/stephen-miller-green-card-immigration-1630406.
103
      Patricia Hurtado, As the Wall Consumes Washington, Another Immigrant Drama Unfolds in Brooklyn,
      Bloomberg (Jan. 11, 2019), https://www.bloomberg.com/news/articles/2019-01-11/as-wall-consumes-
      washington-another-immigrant-drama-in-brooklyn.

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  American children from their parents at the border was “cruel” and casually adding that

  separated children would be placed in “foster care or whatever.”104

          D.       President Trump and Other White House Officials Have Expressed Hostility
                   Toward Family-Based Immigration, Which is Primarily Utilized by
                   Immigrants from Predominantly Nonwhite Countries

                     220. President Trump has also repeatedly spoken about his disdain for family-

  based immigration preferences. The primary beneficiaries of family-based immigration

  preferences are individuals from predominantly nonwhite countries, with the most applicants

  originating in Mexico, China, Cuba, India and the Dominican Republic.105

                     221. President Trump has referred to family-based immigration with the

  derogatory term “chain migration,” repeatedly calling it a “disaster” and falsely claiming that it

  allows citizens to bring in relatives who are “15 times removed.”106 He has associated family-

  based immigration preferences with terrorism, using discrete events to launch into attacks on

  what he calls the “sick, demented” statutory scheme that has been in place for decades. He has

  called immigrants who arrive pursuant to family preferences “the opposite of [origin

  countries’] finest,” “truly EVIL,” and “not the people that we want.”107

                     222. President Trump strongly supported the RAISE Act, a bill introduced in

  the Senate which seeks to reduce the number of green cards issued by more than 50 percent.


104
      Matthew Yglesias, Cruelty is the Defining Characteristic of Donald Trump’s Politics and Policy, Vox (May 14,
      2018), https://www.vox.com/policy-and-politics/2018/5/14/17346904/john-kelly-foster-care-cruelty-judith-
      shklar.
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      Jie Zong et al., Frequently Requested Statistics on Immigrants and Immigration in the United States, Migration
      Policy Institute, https://www.migrationpolicy.org/article/frequently-requested-statistics-immigrants-and-
      immigration-united-states (last updated July 10, 2019).
106
      Meghan Keneally, 8 Times Trump Slammed “Chain Migration” Before It Apparently Helped His Wife’s
      Parents Become Citizens, ABC News (Aug. 10, 2018), https://abcnews.go.com/US/times-trump-slammed-
      chain-migration-apparently-helped-wifes/story?id=57132429.
107
      Jessica Kwong, Donald Trump Says ‘Chain Migration’ Immigrants ‘Are Not the People That We Want’—That
      Includes Melania’s Parents, Newsweek (Jan. 14, 2019), https://www.newsweek.com/donald-trump-chain-
      migration-immigrants-melania-1291210.

                                                         88
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  The bill would create a so-called “merit-based” immigration system that would reduce

  admissions based on family ties to current citizens or LPRs,108 The bill obtained only two

  sponsors in the Senate.

          E.       Anti-Immigrant Animus of Defendants Cuccinelli and McAleenan and Other
                   Top Officials at DHS and USCIS

                     223. This hostility towards nonwhite immigrants was and is shared by high-

  level officials at DHS and USCIS, including defendant Cuccinelli; former USCIS Director

  Cissna, who promulgated the proposed rule and oversaw much of the public comment and

  review before he was abruptly forced out of office in June 2019; defendant McAleenan; and

  former DHS Secretary Kirstjen Nielsen, who oversaw the Department when it first proposed

  this Rule.

                     224. Acting USCIS Director Cuccinelli assumed his position in July 2019, after

  the White House forced the resignation of USCIS Director Cissna because it viewed him as too

  slow in promulgating the Rule.109 John Zadrozny, a member of the White House Domestic

  Policy Council previously employed by FAIR, was installed as Cuccinelli’s deputy chief of

  staff.110




108
      David Nakamura, Trump, GOP Senators Introduce Bill to Slash Legal Immigration Levels, Wash. Post (Aug. 3,
      2017), https://www.washingtonpost.com/news/post-politics/wp/2017/08/02/trump-gop-senators-to-introduce-
      bill-to-slash-legal-immigration-levels/.
109
      Molly O’Toole et al., Trump Aide Stephen Miller ‘Going to Clean House’ as Immigration Policy Hardens, Los
      Angeles Times (April 8, 2019), https://www.latimes.com/politics/la-na-pol-trump-nielsen-tougher-border-
      immigration-whats-next-20190408-story.html. The unusual process for appointing Cuccinelli circumvented the
      Federal Vacancies Reform Act, which requires the Director of USCIS officials to be drawn from the deputy
      ranks within the federal agency. Instead, after firing Cissna, President Trump ordered the creation a new deputy
      position for Cuccinelli, and then promoted him to Acting Director of USCIS, a position for which he was
      reported to be unlikely to win Senate confirmation. See Louise Radnofsky, High Turnover Roils Trump’s
      Immigration Policy Ranks, The Wall Street Journal (June 12, 2019), https://www.wsj.com/articles/high-
      turnover-roils-trumps-immigration-policy-ranks-11560355978.
110
      Rebecca Rainey, More Moves at USCIS, Politico (June 14, 2019),
      https://www.politico.com/newsletters/morning-shift/2019/06/14/more-moves-at-uscis-655114.

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                     225. Cuccinelli is an immigration restrictionist who has advocated for the end

  of birthright citizenship for children of immigrants, compared immigrants to “rats” and “pests,”

  and who founded State Legislators for Legal Immigration, a nativist group formed to advocate

  for immigration and public benefits restrictions.111 Since at least 2007, Cucinnelli (echoing the

  President’s rhetoric) has repeatedly described the United States as being “invaded” by

  immigrants along the Southern border.112

                     226. In 2008, when Cuccinelli was a state senator in Virginia, he introduced

  legislation that would have allowed employers to fire those who did not speak English in the

  workplace. Under his plan, those fired would have subsequently been ineligible for

  unemployment benefits. One of Cuccinelli’s colleagues in the Virginia Senate called it “the

  most mean-spirited piece of legislation I have seen in my 30 years.”113

                     227. Cuccinelli announced the finalization of the Rule in a press briefing on

  August 12, 2019, stating that the rule would “reshape” the system of obtaining lawful

  permanent residence.114 Asked on television the next day whether the poem inscribed on the

  Statute of Liberty—“give us your tired, your poor, your huddled masses yearning to breathe




111
      Jessica Cobain, The Anti-Immigrant Extremists in Charge of the U.S. Immigration System, Center for American
      Progress (June 24, 2019), https://www.americanprogress.org/issues/immigration/news/2019/06/24/471398/anti-
      immigrant-extremists-charge-u-s-immigration-system/
112
      Andrew Kaczynski, Trump Official Has Talked About Undocumented Immigrants as ‘Invaders’ Since at Least
      2007, CNN (Aug. 17, 2019 9:00 AM), https://www.cnn.com/2019/08/17/politics/kfile-ken-cuccinelli-
      immigration-invasion-rhetoric/index.html.
113
      Elaina Plott, The New Stephen Miller, The Atlantic (Aug. 14, 2019),
      https://www.theatlantic.com/politics/archive/2019/08/who-is-ken-cuccinelli/596083/?utm_source=feed.
114
      Kadia Tubmanm The Trump Administration Ties Green Cards and Citizenship to Public Assistance, Yahoo
      News (Aug. 12, 2019), https://news.yahoo.com/trump-administration-ties-green-cards-and-citizenship-to-
      public-assistance-202741361.html.

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  free”—represented “what America stands for,” Cuccinelli responded that the poem was

  addressed to “people coming from Europe.”115

                     228. Former Director Cissna was similarly consistent about his hostility to

  immigrants. During his oversight of the development and promulgation of the Rule, he

  repeatedly condemned the family preferences system. Like Trump, Cissna referred to family-

  based immigration to it with the derogatory phrase “chain migration,” and associated incidents

  of crime or terrorism with the INA’s mandate to unify families. For example, in a press

  conference at the White House, Cissna used a pipe bomb attack by a Bangladeshi immigrant to

  make a speech criticizing family-based preferences as “not the way that we should be running

  our immigration system” and claiming to be unaware of data demonstrating that immigrants

  have a lower rate of crime than U.S.-born citizens.116 Cissna oversaw the decision to close all

  23 of USCIS’s international offices—which handle, among other things, citizenship

  applications, family visa applications, international adoptions, and refugee processing.117

                     229. Under Cissna, Ian M. Smith, a policy analyst with ties to neo-Nazi groups,

  helped draft the Rule. Smith resigned in August 2018, just two months before the publication

  of the NPRM, when these neo-Nazi ties became publicly exposed.118



115
      Baragona, Ken Cucinelli: Statue of Liberty Poem Was About ‘People Coming From Europe’, Daily Beast (Aug.
      13, 2019), https://www.thedailybeast.com/ken-cuccinelli-statue-of-liberty-poem-was-about-people-coming-
      from-europe.
116
      White House, Press Briefing by Press Secretary Sarah Sanders (Dec. 12, 2017),
      https://www.whitehouse.gov/briefings-statements/press-briefing-press-secretary-sarah-sanders-121217/.
117
      Hamed Aleaziz, The Trump Administration Has Set Projected Dates For Closing Foreign Immigration Offices,
      Buzzfeed News (Apr. 19, 2019), https://www.buzzfeednews.com/article/hamedaleaziz/trump-administration-
      overseas-immigration-offices; Tracking USCIS International Field Office Closures, American Immigration
      Lawyers Association (Aug. 15, 2019), https://www.aila.org/infonet/uscis-to-close-all-international-offices-by-
      2020.
118
      Nick Miroff, Homeland Security Staffer with White Nationalist Ties Attended White House Policy Meetings,
      The Washington Post (Aug.30, 2018), https://www.washingtonpost.com/world/national-security/homeland-
      security-staffer-with-white-nationalist-ties-attended-white-house-policy-meetings/2018/08/30/7fcb0212-abab-
      11e8-8a0c-70b618c98d3c_story.html?utm_term=.a461d9bc633b.

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                    230. Both Acting Secretary McAleenan in his role as Commissioner for U.S.

  Customs and Border Protection and Former Secretary Nielsen shared President Trump’s

  animus towards immigrants and sought to implement his anti-immigrant policies, including the

  public charge rule. Both have defended the Trump Administration’s policy of separating

  immigrant children at the border, largely Central Americans and Mexicans, from their families,

  a widely excoriated policy that resulted in the separation of as many as 6,000 children from

  their parents.119 McAleenan was one of three officials to support the family separation policy,

  which continues today despite class action litigation and official claims that it has ceased.

                    231. In McAleenan’s role at CBP, he oversaw an agency accused of rampant

  abuses of nonwhite immigrants, where numerous agents have assaulted or killed immigrants at

  the border. CBP agents have stated in court filings that the use of ethnic and racial slurs and

  the articulation in writing of violent urges toward migrants is “part of agency culture.”120

  McAleenan led CBP during a period of years when up to 10,000 agents participated in a

  Facebook group rife with deeply offensive racist, sexist, and homophobic commentary.121

  McAleenen and other high officials at CBP were aware of the nature of the group, but did not

  shut it down.122 On McAleenan’s watch, five Guatemalan children have died in CBP custody

  in the past six months, Central American migrants at the border have been tear-gassed, and

  families have been forced to sleep outside in the dirt because of CBP refusals to process their


119
      Miriam Jordan & Caitlin Dickerson, U.S. Continues to Separate Families Despite Rollback of Policy, N.Y.
      Times (Mar. 9, 2019), https://www.nytimes.com/2019/03/09/us/migrant-family-separations-border.html.
120
      Tim Elfrak, Mindless Murderous Savages: Border Agent Used Slurs Before Hitting Migrant With His Truck,
      Wash. Post (May 20, 2019), https://www.washingtonpost.com/nation/2019/05/20/mindless-murdering-savages-
      border-agent-used-slurs-before-allegedly-hitting-migrant-with-his-truck/.
121
      A.C. Thompson, Inside the Secret Border Patrol Facebook Group Where Agents Joke About Migrant Deaths
      and Post Sexist Memes, ProPublica (July 1, 2019), https://www.propublica.org/article/secret-border-patrol-
      facebook-group-agents-joke-about-migrant-deaths-post-sexist-memes.
122
      Ted Hesson & Cristiano Lima, Border Agency Knew About Secret Facebook Group for Years, Politico (July 3,
      2019), https://www.politico.com/story/2019/07/03/border-agency-secret-facebook-group-1569572.

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  requests for asylum. McAleenan also oversaw CBP during the implementation of the first and

  second “Muslim bans,” which were struck down by appellate courts across the country for

  violation of the equal protection clause. (A revised third ban eventually survived Supreme

  Court review.)

                       232. The unusual sudden purges of high-level officials at DHS in the spring of

  2019 reflect President Trump’s desire to move immigration policy in a “tougher direction.”123

  These firings sent unmistakable signals to current officials that speedy action, regardless of

  potential legal vulnerabilities, was encouraged and even required.

                       233. Multiple courts adjudicating claims over the Trump Administration’s

  immigration policies have concluded that “even if the DHS Secretary or Acting Secretary did

  not ‘personally harbor animus . . . , their actions may violate the equal protection guarantee if

  President Trump’s alleged animus influenced or manipulated their decisionmaking

  process.’”124 Another court adjudicated the specific question of whether “statements by

  Trump . . . [can] be imputed to [DHS Deputy Secretary] Duke or Nielsen.” It ruled in the

  affirmative, finding that statements from “people plausibly alleged to be involved in the



123
      John Fritze & Alan Gomez, Trump to Name Ken Cuccinelli to Immigration Job as White House Seeks ‘Tougher
      Direction’, USA Today (May 21, 2019), https://www.usatoday.com/story/news/politics/2019/05/21/donald-
      trump-ken-cuccinelli-take-job-homeland-security/3750660002/.
124
      Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1098 (N.D. Cal. 2018); see also CASA de Maryland, Inc. v. Trump,
      355 F. Supp. 3d 307, 326 (D. Md. 2018) (“Defendants contend that the Secretary was the decision-maker, not
      the President, and that the Secretary’s decision did not involve classification of a group of foreign nationals on
      the basis of their individual characteristics, but rather the classification of a foreign state. As to the first of these
      contentions, there can be no doubt that if, as alleged, the President influenced the decision to terminate El
      Salvador’s TPS, the discriminatory motivation cannot be laundered through the Secretary.”); Centro Presente v.
      U.S. Dep’t of Homeland Security, 332 F. Supp. 3d 393, 414–15 (D. Mass. 2018) (“Defendants argue that the
      allegations regarding statements by Trump are irrelevant because animus held by the President cannot be
      imputed to Duke or Nielsen, the two officials who terminated the TPS designations at issue, notwithstanding
      allegations that the White House was closely monitoring decisions regarding TPS designations. . . . [B]ecause
      the exact time that the new policy regarding the criteria for TPS designations was made and the exact
      participants involved in that decision are unclear, it would be premature to conclude that President Trump had
      nothing to do with that decision such that his statements would be irrelevant.”).

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  decision-making process, and an allegedly unreasoned shift in policy [are] sufficient to allege

  plausibly that a discriminatory purpose was a motivating factor in a decision.”125

                     234. Courts have looked at facts such as these and found that the Trump

  Administration’s actions can plausibly be traced to the President’s personal anti-immigrant

  animus. For example, Judge Furman of this Court recently held that statements and actions by

  the President render “plausible” plaintiffs’ allegation that Administration action in adding

  citizenship questions to the upcoming census was motivated by unconstitutional animus.126

  Likewise, Judge Garaufis of the Eastern District of New York recently held that President

  Trump’s statements about immigrants were “racially charged, recurring, and troubling” enough

  to raise “a plausible inference that the DACA rescission was substantially motivated by

  unlawful discriminatory purpose.”127 The Ninth Circuit affirmed a district court’s similar

  finding, considering not only Trump’s “pre-presidential” and “post-presidential” statements,

  but also the “unusual history” of that agency action and the evidence of the disparate impact it

  would have on “Latinos and persons of Mexican heritage.”128 And in litigation over President

  Trump’s travel ban, the Fourth Circuit found that the relevant executive order “sp[oke] in

  vague words of national security,” but still facially “drip[ped] with religious intolerance,

  animus, and discrimination.”129


125
      Centro Presente, 332 F. Supp. 3d at 415.
126
      State of New York v. United States Dep’t of Commerce, et al., 315 F. Supp. 3d 766, 780 (S.D.N.Y. 2018)
      (Furman, J.).
127
      Batalla Vidal v. Nielsen, 291 F. Supp. 3d 260, 277 (E.D.N.Y. 2018).
128
      Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Security, 908 F.3d 476, 518–20 (9th Cir. 2018).
129
      Int’l Refugee Assistance Project v. Trump, 857 F.3d 554, 572 (4th Cir. 2017) (en banc), vacated as moot
      without expressing a view on the merits, 138 S. Ct. 353 (2017); see also Int’l Refugee Assistance Project v.
      Trump, 241 F. Supp. 3d 539, 558–59 (D. Md. 2017) (finding the same at the district court: “[D]irect statements
      of President Trump’s animus towards Muslims and intention to impose a ban on Muslims entering the United
      States, present a convincing case that the First Executive Order was issued to accomplish, as nearly as possible,
      President Trump’s promised Muslim ban.”); Hawai’i v. Trump, 245 F. Supp. 3d 1227, 1236 (D. Haw. 2017)
      (“[H]ere the historical context and the specific sequence of events leading up to the adoption of the challenged

                                                           94
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          F.       As Intended, the Rule Disproportionately Affects Immigrants from Nonwhite
                   Countries

                     235. The Rule will also have a disproportionate effect on nonwhite immigrants.

  Evidence submitted to DHS as part of its notice-and-comment process showed that the Rule’s

  most heavily weighted positive factor, an income of at least 250 percent of the FPG, is unlikely

  to be met by 71 percent of applicants from Mexico and Central America, 69 percent from

  Africa, 75 percent from the Philippines, and 63 percent from China; by comparison, only 36

  percent of applicants from Europe, Canada, and Oceania who will be unlikely to meet this

  threshold.130

                     236. Another comment on the proposed rule estimated, for every country in the

  world, the percentage of the population that would be assigned a “negative factor” under the

  Rule due to having a family income below 125 percent of the FPG.131 The results confirm that

  the “125 percent test will disproportionately affect immigrants from poor countries and have a

  racially disparate impact on who is allowed into the U.S.”132 For example, 99.2 percent of the

  population of South Asia, 98.5 percent of the population of Sub-Saharan Africa, and 79.1

  percent of the population of Latin America and the Caribbean would fall below the 125 percent




      Executive Order are as full of religious animus, invective, and obvious pretext as is the record here, it is no
      wonder that the Government urges the Court to altogether ignore that history and context.” (internal quotation
      marks omitted)).
130
      Jeanne Batalova et al., Through the Back Door: Remaking the Immigration System via the Expected “Public-
      Charge” Rule, Migration Policy Institute (Aug. 2018), https://www.migrationpolicy.org/news/through-back-
      door-remaking-immigration-system-expected-public-charge-rule. This study was referenced in numerous
      public comments, including, e.g., those submitted by the National Hispanic Leadership Agenda, and the Service
      Employees International Union. See also Legal Aid Justice Center, Comment, at 8 (Dec. 10, 2018) (citing
      Boundless Immigration Inc., Looming Immigration Directive Could Separate Nearly 200,000 Married Couples
      Each Year (Sept. 24, 2018), https://www.boundless.com/blog/looming-immigration-directive-separate-nearly-
      200000-married-couples/ (citing the same figures)).
131
      CBPP Comment at 11–17 & Table 2.
132
      Id. at 12.

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  threshold. By contrast, less than 10 percent of the populations of countries like Norway,

  Germany, and France fall below the threshold.133

                      237. The Rule’s standardless requirement that applicants obtain “English

  language proficiency” will similarly have a disproportionate impact on immigrants from Latin

  American countries.

                      238. The Rule is arbitrary and capricious because it arbitrarily discriminates

  against immigrants of color.

                      239. The Rule is also arbitrary and capricious because it is pretextual. The

  Rule purports to identify immigrants who will become public charges, but the factors that it

  adopts as part of the Rule bear no reasonable relationship to the public charge inquiry. This

  demonstrates that defendants were seeking to reduce immigration by immigrants of color.

IX.       The Rule Will Cause Irreparable Harm to Immigrant Families, the Public, and
          Plaintiffs

                      240. The Rule will cause irreparable harm to hundreds of thousands or millions

  of immigrants by penalizing them for past or anticipated future use of benefits to which they

  are legally entitled. Individuals receive these benefits during the most vulnerable times in their

  lives. Effectively forcing individuals to forego benefits so as to protect their immigration

  statuses will have broad negative repercussions on the health and safety of noncitizens, and

  will impede their integration into American society. The Rule itself acknowledges massive

  impacts on society at large, including public health, the economy, and workforce. The Rule

  will also impede the fundamental missions of plaintiffs, and will force them to divert resources

  to support their clients, members, and the public in dealing with the fallout from the Rule.



133
      See id. at 12–13.

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          A.      Harms to Immigrant Families

                    241. As DHS concedes, the Rule will cause a flight of immigrants away from

  benefits to which they are lawfully entitled and that are not currently part of the public charge

  analysis, including benefits for healthcare, nutrition, and housing. Some of this will occur

  because immigrants will correctly conclude that the benefits will harm their ability to achieve

  LPR status. In other cases, it will occur because of understandable and predictable fear and

  confusion, abetted by the complexity of the Rule and the Administration’s consistently

  expressed hostility to immigration and immigrants, as discussed above. In all such cases, the

  loss of such benefits will cause irreparable harm to immigrant households across the country.

                    242. DHS concedes the existence of these chilling effects, but grossly

  understates their severity. While acknowledging that it is “difficult to predict” the Rule’s

  chilling effect on noncitizens, 84 Fed. Reg. at 41,313, DHS estimates that about 2.5 percent of

  public benefits recipients who are members of households including foreign-born

  noncitizens—or approximately 232,288 individuals—will forego benefits to which they are

  legally entitled every year.134 DHS further estimates that, as a result, these individuals will

  lose nearly $1.5 billion in federal benefits payments, and more than $1 billion in state benefits

  payments, ever year.135 DHS estimates that these numbers could be higher in the first year the

  Rule is in effect, causing as many as 725,760 individuals to disenroll from benefits programs,

  and denying them access to as much as $4.37 billion in federal benefits that year alone.136




134
      See DHS, Economic Analysis Supplemental Information for Analysis of Public Benefits Programs, at 7 & Table
      5, https://www.regulations.gov/document?D=USCIS-2010-0012-63742.
135
      See id.; Regulatory Impact Analysis, Inadmissibility on Public Charge Grounds, at 10–11 & Table 1,
      https://www.regulations.gov/document?D=USCIS-2010-0012-63741 [hereinafter “Regulatory Impact
      Analysis”].
136
      See Regulatory Impact Analysis, at 98–99 & Table 18.

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                     243. These DHS estimates are not based on any data of actual disenrollment.

  Instead, they are based on DHS’s estimate of the average percentage of immigrants (out of the

  total population of foreign-born noncitizens in the United States who receive any of the

  specified benefits) who adjust status every year. See 83 Fed. Reg. at 51,266. DHS thus rests

  its conclusion on the unsupported assumption that only immigrants who intend to apply for

  status adjustment will forego public benefits as a result of the Rule, and that they will do so

  only in the year in which they intend to make such an application.

                     244. DHS’s assumptions are unwarranted, and its conclusions grossly

  understate the Rule’s chilling effects, as evidenced by comments provided to DHS on the

  proposed rule. A study conducted by the Migration Policy Institute, based upon data showing

  the effects of reducing noncitizen access to public benefit programs under PRWORA, has

  estimated that, as a result of the rule in the form proposed in the NPRM, “5.4 million to 16.2

  million of the total 27 million immigrants and their U.S.- and foreign-born children in benefits-

  receiving families could be expected to disenroll from programs.”137 The nonpartisan Fiscal

  Policy Institute estimated that “the chilling effect [of the proposed rule] would extend to 24

  million people in the United States, including 9 million children under 18 years old.”138

  Similarly, Manatt Health estimated that “[n]ationwide, 22.2 million noncitizens and a total of


137
      Jeanne Batalova et al., Chilling Effects: The Expected Public Charge Rule and Its Impact on Legal Immigrant
      Families’ Public Benefits Use, Migration Policy Institute, at 4 (June 2018),
      https://www.migrationpolicy.org/research/chilling-effects-expected-public-charge-rule-impact-legal-immigrant-
      families. This study was referenced in numerous public comments, including, e.g., those of the Southern
      Poverty Law Center, the Alabama Coalition for Immigrant Justice, the Coalition of Florida Farmworker
      Organizations, the Farmworker Association of Florida, the Florida Immigrant Coalition, the Hispanic Interest
      Coalition of Alabama, the MQVN Community Development Corporation, and the Southeast Immigrant Rights
      Network, and the Center for Law and Social Policy.
138
      Fiscal Policy Institute, FPI Estimates Human & Economic Impacts of Public Charge Rule: 24 Million Would
      Experience Chilling Effects, (Oct. 10, 2018), http://fiscalpolicy.org/public-charge. This study was referenced
      in public comments, including, e.g., those of Advancement Project California, and the Community Legal
      Center.

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  41.1 million noncitizens and their family members currently living in the United States (12.7%

  of the total U.S. population) could potentially be impacted as a result of the proposed changes

  in public charge policy.”139 More recently, a study published by the Journal of the American

  Medical Association estimated that the proposed Rule “is likely to cause parents to disenroll

  between 0.8 million and 1.9 million children with specific medical needs from health and

  nutrition benefits.”140 Certain of these estimates are more than 50 times greater than DHS’s

  estimates. DHS does not contend (and certainly offers no reason to believe) that the modest

  changes made in the final Rule will ameliorate this harm.

                     245. The chilling effects of the Rule are already well documented and have

  been observed by the organizational plaintiffs among their clients and constituencies—and,

  again, were called to DHS’s attention in comments on the proposed rule. Following the leak of

  President Trump’s draft Executive Order in January 2017 and early drafts of the Rule in

  February and March 2018, many immigrants and their families chose to forego participation in

  federal, state, and local benefits to avoid being labeled public charges. For example, just

  months after the first leaks of the executive order, a Los Angeles-based health care provider

  serving a largely Latino community reported a 20 percent drop in SNAP enrollment and a 54

  percent drop in Medicaid enrollment among children, as well as an overall 40 percent decline

  in program re-enrollments.141 In late 2017, benefits administrators continued to see declining


139
      Manatt Health, Public Charge Proposed Rule: Potentially Chilled Population Data Dashboard (Oct. 11, 2018),
      https://www.manatt.com/Insights/Articles/2018/Public-Charge-Rule-Potentially-Chilled-Population. This study
      was referenced in public comments, including, e.g., those of the American Civil Liberties Union, and Loyola
      University Chicago’s Center for the Human Rights of Children.
140
      Leah Zallman et al., Implications of Changing Public Charge Immigration Rules for Children Who Need
      Medical Care, JAMA Pediatrics (July 1, 2019), https://jamanetwork.com/journals/jamapediatrics/article-
      abstract/2737098.
141
      CBPP Comment at 59 (citing Annie Lowrey, Trump’s Anti-Immigrant Policies Are Scaring Eligible Families
      Away from the Safety Net, The Atlantic (Mar. 24, 2017),
      https://www.theatlantic.com/business/archive/2017/03/trump-safety-net-latino-families/520779/).

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  program participation over the prior year, including an 8.1 percent decrease in New Jersey

  SNAP programs, a 9.6 percent decrease in Florida WIC participation, and a 7.4 percent

  decrease in Texas WIC participation.142 By September 2018, WIC agencies in at least 18 states

  reported drops of up to 20 percent in enrollment, a change they attributed “to fears about the

  [public charge] immigration policy.”143 A study released in November 2018 found that

  participation in SNAP “dropped by nearly 10 percentage points in the first half of 2018 for

  immigrant households that are eligible for the program and have been in the United States less

  than five years.”144 For the period from January 2018 through January 2019, New York City

  found a 10.9 percent drop in non-citizens leaving the SNAP caseload or deciding not to enroll,

  compared to a 2.8 percent drop among citizens.145 Even more recently, a survey by the Urban

  Institute found that in 2018—before the NPRM was published, but after extensive reporting

  that it was under consideration—one in seven adults in immigrant families reported that they

  or a family member had disenrolled from or chosen not to apply for a noncash benefit program

  “for fear of risking green card status.”146 Another study published by the Urban Institute in


142
       CBPP Comment at 60 (citing Emily Bumgaertner, Spooked by Trump Proposals, Immigrants Abandon Public
       Nutrition Services, N.Y. Times (Mar. 6, 2018), https://www.nytimes.com/2018/03/06/us/politics/trump-
       immigrants-public-nutrition-services.html).
143
       CBPP Comment at 60 (citing Helena Bottemiller Evich, Immigrants, Fearing Trump Crackdown, Drop out of
       Nutrition Programs, Politico (Sept. 4, 2018), https://www.politico.com/story/2018/09/03/immigrants-nutrition-
       food-trump-crackdown-806292).
144
       Helena Bottemiller Evich, Immigrant Families Appear to Be Dropping out of Food Stamps, Politico (Nov. 14,
       2018), https://www.politico.com/story/2018/11/14/immigrant-families-dropping-out-food-stamps-966256. This
       article was cited by several commenters, including, e.g., the City of Chicago, and 111 Members of Congress led
       by Reps. Jerrold Nadler, Zoe Lofgren, and Adriano Espaillat. See also Allison Bovell-Ammon, et al., Trends
       in Food Insecurity and SNAP Participation Among Immigrant Families of U.S.-Born Young Children,
       Children’s Healthwatch, at 1 (Apr. 4, 2019) (finding that “SNAP participation decreased in all immigrant
       families in 2018, but most markedly in more recent immigrants, while employment rates were unchanged”).
145
       N.Y.C. Dep’t of Social Servs., Fact Sheet: SNAP Enrollment Trends in New York City (June 2019),
       https://www1.nyc.gov/assets/immigrants/downloads/pdf/Fact-Sheet-June-2019.pdf.
146
       Hamutal Bernstein et al., One in Seven Adults in Immigrant Families Reported Avoiding Public Benefit
       Programs in 2018, Urban Institute, at 2 (May 22, 2019),
       https://www.urban.org/sites/default/files/publication/100270/one_in_seven_adults_in_immigrant_families_repo
       rted_avoiding_publi_7.pdf.

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  August 2019 showed that numerous adults in immigrant families have avoided participating in

  SNAP, Medicaid, and housing benefits due to fear and confusion about the public charge

  rule.147 This effect will only become more pronounced with the publication of the final Rule.

                      246. DHS acknowledges, but does not quantify, other dire harms to

  immigrants, their families, and their communities that will result when noncitizens forego

  benefits to avoid harming their immigration status. These include:

                   “Worse health outcomes, including increased prevalence of obesity and
                    malnutrition, especially for pregnant or breastfeeding women, infants, or children,
                    and reduced prescription adherence;
                   Increased use of emergency rooms and emergent care as a method of primary
                    health care due to delayed treatment;
                   Increased prevalence of communicable diseases, including among members of the
                    U.S. citizen population who are not vaccinated;
                   Increases in uncompensated care in which a treatment or service is not paid for by
                    an insurer or patient; and
                   Increased rates of poverty and housing instability; and
                   Reduced productivity and educational attainment.”

83 Fed. Reg. at 51,270. DHS further acknowledges the possibility that not adopting the Rule

might “alleviate food and housing insecurity, improve public health, decrease costs to states and

localities, [and] better guarantee health care provider reimbursements.” 84 Fed. Reg. at 41,314.

But it apparently views these consequences as an acceptable cost of its stated goal of furthering

immigrant “self-sufficiency.”

                      247. Here, too, DHS understates the severe harms in the form of food

  insecurity, worse health, and homelessness that have been, are being, and will be suffered by

  immigrants, their children (including U.S. citizen children), and other family members—harms

  that, once again, many commenters to the NPRM called to DHS’s attention.
147
       Hamutal Bernstein et al., Safety Net Access in the Context of the Public Charge Rule: Voices of Immigrant
       Families, Urban Institute (Aug. 7, 2019),
       https://www.urban.org/sites/default/files/publication/100754/safety_net_access_in_the_context_of_the_public_
       charge_rule_1.pdf.

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                      248. Going without SNAP will increase food insecurity, which leads to adverse

  health impacts and increased spending on medical care.148 Studies show that participation in

  SNAP for six months reduced the percentage of SNAP households that were food insecure by

  6–17 percent, reducing obesity, improving dietary intake, and contributing to more positive

  overall health outcomes.149 According to one estimate, SNAP decreases annual healthcare

  expenditures by an average of $1,409 per participant as compared to non-participants.150

                      249. Similarly, declines in Medicaid participation will restrict access to medical

  care and increase the rates of uninsured persons, negatively impacting the health of already

  strained communities.151 Medicaid significantly increases access to health care, leading to

  better composite health scores, lower incidences of high blood pressure, fewer emergency

  room visits, and reduced hospitalizations.152 The positive effects of Medicaid go beyond just

  health. For example, Medicaid (including CHIP) has been shown to reduce childhood poverty

  rates by 5.3 percentage points.153




148
       See CLASP Comment at 32; CBPP Comment at 61–62.
149
       Institute for Policy Integrity at New York University School of Law, Comment, at 10 (Dec. 10, 2018) (citing
       Food Research & Action Center, The Role of the Supplemental Nutrition Assistance Program in Improving
       Health and Well-Being, at 5 (Dec. 2007), https://frac.org/wp-content/uploads/hunger-health-role-snap-
       improving-health-well-being.pdf).
150
       Food Research & Action Center, The Role of the Supplemental Nutrition Assistance Program in Improving
       Health and Well-Being, at 7 (Dec. 2017), https://frac.org/wp-content/uploads/hunger-health-role-snap-
       improving-health-well-being.pdf (cited in Institute for Policy Integrity at New York University School of Law,
       Comment, at 10 (Dec. 10, 2018)).
151
       See CLASP Comment at 33; CBPP Comment at 62–64.
152
       CLASP Comment at 33 (citing Alisa Chester & Joan Alker, Medicaid at 50: A Look at the Long-Term Benefits
       of Childhood Medicaid, Georgetown Univ. Health Policy Inst. Ctr. for Children and Families (2015),
       https://ccf.georgetown.edu/wpcontent/uploads/2015/08/Medicaid-at-50_final.pdf; Sarah Miller & Laura R.
       Wherry, The Long-Term Effects of Early Life Medicaid Coverage, SSRN Working Paper (2014),
       https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2466691).
153
       Loyola University Chicago’s Center for the Human Rights of Children, Comment, at 5 (citing Dahlia Remler, et
       al., Estimating the Effects of Health Insurance and Other Social Programs on Poverty Under the Affordable
       Care Act, Health Affairs (Oct. 2017), https://www.healthaffairs.org/doi/full/10.1377/hlthaff.2017.0331).

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                      250. Going without rental assistance will increase homelessness and housing

  instability,154 which lead to a host of individual and societal harms including increased hospital

  visits, loss of employment, and mental health problems.155 Current housing assistance lifts

  about a million children out of poverty each year,156 leads to significantly higher college

  attendance rates and higher annual incomes,157 and improves long‐term economic mobility.158

                      251. Children in particular—including U.S.-citizen children of noncitizen

  parents—will lose access to programs that support healthy development. Numerous studies

  have found that children who lack these basic needs will feel repercussions throughout their

  lives, as they perform worse in school and suffer adverse health consequences. For example,

  housing instability negatively impacts a child’s cognitive development, decreases student

  retention rates, and limits student opportunity.159 The Robin Hood Foundation found that the

  proposed rule could increase the number of poor New York City residents by as much as 5

  percent.160 DHS “recognizes that many of the public benefits programs aim to better future


154
       Gregory Mills et al., Effects of Housing Vouchers on Welfare Families, U.S. Dep’t of Housing and Urban
       Development, at 139 (2006), https://www.huduser.gov/publications/pdf/hsgvouchers_1_2011.pdf (finding that
       between 1999 and 2004, housing vouchers reduced the percentage of homeless families living in the streets or
       in shelters from 7 percent to 5 percent, and the percentage of homeless families living with friends or relatives
       from 18 percent to 12 percent). This study was referenced in public comments, including, e.g., those submitted
       by the Institute for Policy Integrity at New York University School of Law, and Loyola University Chicago’s
       Center for the Human Rights of Children.
155
       National Housing Law Project, Comment, at 4 (Dec. 10, 2018) (citing Will Fischer, Research Shows Housing
       Vouchers Reduce Hardship and Provide Platform for Long‐Term Gains Among Children, Center on Budget &
       Policy Priorities (Oct. 7, 2015),
       https://www.cbpp.org/research/researchshows‐housing‐vouchers‐reduce‐hardship‐and‐provide‐platform‐for‐lon
       gterm‐gains); CBPP Comment at 64–65.
156
       Trudi Renwick & Liana Fox, The Supplemental Poverty Measure: 2016, U.S. Census Bureau (Sept. 2017).
       This study was referenced in numerous public comments, including, e.g., those submitted by Michigan
       Immigrant Rights Center, the Massachusetts Law Reform Institute, the Disability Law Center, and the National
       Housing Law Project.
157
       CLASP Comment at 34 (citing Raj Chetty et al., The Effects of Exposure to Better Neighborhoods on Children:
       new Evidence from the Moving to Opportunity Experiment, Am. Econ. Rev. 855 (2016)).
158
       National Housing Law Project, Comment, at 8 (Dec. 10, 2018).
159
       Id. at 9.
160
       Christopher Wimer et al., Public Charge: How a New Policy Could Affect Poverty in New York City, Robin
       Hood (Dec. 2018), https://robinhoodorg-

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  economic and health outcomes” for children, see 84 Fed. Reg. at 41,371, but makes no effort to

  address the impact that the loss of benefits will have on the well-being of children both now

  and in the future.

                      252. DHS similarly acknowledges the severe harm from the Rule to vulnerable

  populations, but, again, does nothing to ameliorate these harms. Women, persons with

  disabilities, persons with HIV/AIDS, and elderly individuals all use benefits programs at

  higher than average rates.161 These categories of people, then, particularly stand to suffer if

  they are unable to access benefits due to operation of the Rule, as several commenters pointed

  out.162

                      253. Finally, the Rule will harm immigrants and their families by depriving

  them of the ability to remain in this country and keep their families together. DHS is aware of

  this harm, too, but makes no effort to address it. On the contrary, Rule is designed to affect

  primarily family-based immigrants.

                      254. DHS acknowledges a chilling effect on “people who erroneously believe

  themselves to be affected” and therefore forego public benefits due to fear or confusion about

  the Rule’s scope, but blandly responds that it “will not alter this rule to account for [the]



       production.s3.amazonaws.com/uploads/2018/12/Public_Charge_Report_FINAL-4.pdf. This study was cited in
       several public comments, including, e.g., those submitted by Legal Services NYC, and the New York City
       Comptroller.
161
       See, e.g., American Civil Liberties Union, Comment (Dec. 10, 2018).
162
       E.g., 84 Fed. Reg. at 41,310–11 (“Some commenters stated that including SNAP in the public charge
       determination would worsen food insecurity primarily among families with older adults, children, and people
       with disabilities. . . . Several commenters stated that the sanctions associated with the use of Medicaid and
       Medicare Part D benefits would result in reduced access to medical care and medications for vulnerable
       populations, including pregnant women, children, people with disabilities, and the elderly. . . . Many
       commenters said that reduced enrollment in federal assistance programs would most negatively affect
       vulnerable populations, including people with disabilities, the elderly, children, survivors of sexual and
       domestic abuse, and pregnant women. . . . Several commenters said the proposed rule would adversely affect
       immigrant women, because they will be more likely to forego healthcare and suffer worsening health
       outcomes.”)

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unwarranted choices” of these individuals. 84 Fed. Reg. at 41,313. DHS does not and cannot

contend, however, that all noncitizens who forego benefits in order not to be penalized by the

Rule are misinformed and confused. On the contrary, it concedes that discouraging benefits

use by noncitizens is precisely one of the Rule’s goals. Moreover, in light of the repeated

expressions of hostility by members of the Trump Administration to immigrants and

immigrants’ purported heavy use of public benefits, including not least of all those by

President Trump himself, it is difficult to avoid concluding that such confusion was intended.

More fundamentally, DHS cannot credibly disclaim responsibility for the damage the Rule will

predictably cause by attributing that damage to supposed confusion about the Rule. At the

least, the enormously complex nature of the Rule, as discussed above, and the Rule’s heavy

reliance on subjective assessments by USCIS officers of the “totality of the circumstances,”

make such confusion inevitable.

     B.      Harms to the General Public

               255. Large numbers of immigrant families foregoing public benefits to which

they are entitled will have significant adverse impacts on the national and local economies,

state and local governments, and the public generally.

               256. DHS acknowledges the significant negative impact the Rule will have “on

the economy, innovation, and growth.” 84 Fed. Reg. at 41,472. As multiple commenters

pointed out, these harms are very large. For example, assuming a 35 percent disenrollment

rate—a rate derived from studies of the chilling effect on immigrants of other major policy

changes, such as the enactment of PRWORA in 1996—the Fiscal Policy Institute estimates

that former public benefits recipients will forego $17.5 billion in public benefits, the lost

spending of which would result in the potential loss of 230,000 jobs and $33.8 billion in


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  potential economic ripple effects.163 Another study estimated an even more severe economic

  impact of the rule, explaining: “The total annual income of workers who would be affected by

  the public charge rule is more than $96.4 billion. Should they leave the United States, our

  economy would suffer negative indirect economic effects of more than $68 billion dollars. The

  total cost to the U.S. economy could therefore amount to $164.4 billion” (emphasis added).164

                      257. Health care systems will be particularly affected. Medicaid supports

  hospitals, health centers, and other community care providers that provide needed medical

  access to low-income people throughout the United States, not just immigrants. By reducing

  Medicaid enrollment and effectively limiting immigrants’ access to health care, these providers

  will be negatively impacted and may have to limit their services to all persons. Studies cited in

  public comments estimated that nearly $17 billion in Medicaid and CHIP hospital payments

  could be at risk as a result of the chilling effect of the Rule,165 and that community health

  centers stood to lose $624 million in Medicaid revenue, resulting in 538,000 fewer patients and

  a loss of 6,100 medical staff jobs.166

                      258. Similar examples abound. Businesses that accept SNAP benefits, such as

  grocery stores, will be harmed: they will have to cut back on the foods that they offer to the



163
       CLASP Comment at 38 (citing Fiscal Policy Institute, Only Wealthy Immigrants Need Apply: How a Trump
       Rule’s Chilling Effect Will Harm the U.S., at 5 (Oct. 10, 2018), http://fiscalpolicy.org/wp-
       content/uploads/2018/10/US-Impact-of-Public-Charge.pdf).
164
       See New American Economy, How the “Public Charge” Rule Change Could Impact Immigrants and U.S.
       Economy (Oct. 31, 2018), https://research.newamericaneconomy.org/report/economic-impact-of-proposed-rule-
       change-inadmissibility-on-public-charge-grounds/. This study was referenced in public comments, including,
       e.g., those submitted by the Institute for Policy Integrity at New York University School of Law, and the New
       American Economy.
165
       E.g., CLASP Comment at 38 (citing Cindy Mann et al., Medicaid Payments at Risk for Hospitals Under Public
       Charge, Manatt Health (Nov. 16 2018), https://www.manatt.com/Insights/White-Papers/2018/Medicaid-
       Payments-at-Risk-for-Hospitals-Under-Publ).
166
       E.g., CLASP Comment at 38 (citing Leighton Ku et al., How Could the Public Charge Proposed Rule Affect
       Community Health Centers?, RCHN Community Health Foundation Research Collaborative (Nov. 2018),
       https://publichealth.gwu.edu/sites/default/files/downloads/GGRCHN/Public%20Charge%20Brief.pdf).

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  entire community, not just immigrants. Moreover, SNAP benefits have a high multiplier effect

  as they circulate through the economy. Studies have found that every dollar of SNAP

  translates to roughly $1.79 in local economic activity.167 Decreasing the use of SNAP benefits

  deprives entire communities of this multiplier effect.

                      259. Even utilizing the final rule’s inadequate and vastly underestimated 2.5

  percent rate of disenrollment or foregone enrollment, DHS estimates that SNAP disenrollment

  alone will result in $197.8 million in foregone benefit payments, leading to a $354 million

  decrease in total economic activity, a $51.4 million decrease in retail food expenditures, a

  $146.3 million decrease in expenditures on nonfood goods and services, and a loss of more

  than 1,900 jobs.168 Assuming a far more justifiable higher rate of disenrollment or foregone

  enrollment, the fallout from SNAP disenrollment will be even more consequential.

           C.       Harms to Plaintiffs

                      260. The effects described in the previous sections are already being felt, and

  will only become more pronounced when the Rule goes into effect on October 15, 2019, unless

  it is enjoined. Since even before the Rule was published on August 14, 2019, noncitizens

  increasingly have been forced to grapple with the potential effects of the Rule on their

  immigration statuses, and have increasingly turned to advocacy organizations for help. As

  discussed above, supra ¶¶ 21–46, plaintiffs are the front-lines for dealing with this well-


167
       See Kenneth Hanson, The Food Assistance National Input-Output Multiplier (FANIOM) Model and Stimulus
       Effects of SNAP, U.S. Dep’t of Agriculture, at iv (Oct. 2010),
       https://www.ers.usda.gov/webdocs/publications/44748/7996_err103_1_.pdf (“The FANIOM analysis of SNAP
       expenditures is estimated to increase economic activity (GDP) by $1.79 billion.”); accord Nune Phillips, SNAP
       Contributes to a Strong Economy, Center for Law and Social Policy (Aug. 2017) (“[E]ach $1 increase in SNAP
       payments generates $1.73 of economic activity, a fiscal impact greater than any other public benefit program or
       tax cuts.”). Hanson’s study for the U.S. Department of Agriculture was referenced in several public comments,
       including, e.g., those submitted by the Harvard Law School Food Law and Policy Clinic, the National
       Immigration Law Center, USCIS-2010-0012-39659 and the City and County of San Francisco.
168
       Regulatory Impact Analysis at 104–06.

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founded panic, which will continue unless and until the Rule is enjoined. The Rule threatens

the mission of each of the plaintiffs, and requires them to devote substantial resources—in

money, time, and personnel—that cannot otherwise be devoted to serving their constituents.

               261. Plaintiff CCCS-NY operates the New York state and New York City

hotlines that answer questions and, where needed, makes emergency referrals for people who

may be trying to adjust before October 15, 2019, or may be deciding whether to close their

cases or apply for benefits they need, or who may require emergency assistance to deal with

the loss of benefits. CCCS-NY’s legal team is required to answer urgent questions from

noncitizens about the Rule and its implications, and to assist eligible clients in seeking

adjustment before the deadline. By prioritizing these cases, CCCS-NY is unable to serve other

clients with other serious issues.

               262. Plaintiff MRNY is holding emergency meetings and answering questions

from clients and members concerned about whether the Rule applies to them. MRNY’s staff

help its members and other noncitizens navigate the processes of applying for health insurance

and SNAP benefits. Since the Rule was announced, these staff have had to spend significant

time learning about the new rule; engaging in community education trainings and workshops;

and conducting screenings and intakes and answering questions from MRNY’s members and

the public. In the short time since the Rule was issued on August 14, 2019, MRNY has held

eight workshops on public charge, in addition to the approximately 29 workshops held in

October and November 2018 after the NPRM was first published. These workshops are in

demand and serve hundreds of members, clients, and the public. MRNY will continue to

conduct such workshops after October 15, 2019 if the Rule is not enjoined




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               263. Like CCCS-NY, the legal teams at MRNY and ASC must, by necessity,

prioritize adjustments that can be filed before October 15, 2019, so as to protect their clients

from being subject to the Rule. Also like CCCS-NY, the MRNY and ASC legal teams are

unable to deal with other issues facing their clients due to this need to prioritize muting the

effects of the Rule.

               264. Plaintiffs CLINIC and AAF are likewise on the receiving end of urgent

questions from members and affiliates brought through their clients and constituents.

CLINIC’s consultation service is already at maximum capacity, unable to address other

emergency needs of its affiliates.

               265. These harms will be greatly amplified if the Rule is allowed to go into

effect on October 15, 2019. Plaintiffs will have to address questions from clients, members of

their organizations, and the public who are planning adjustment about how the Rule affects

them, and those same clients will require extra assistance when they go forward with an

adjustment application. Not only will clients need assistance filling out the burdensome Form

I-944, they will need extra counseling to understand fully their options, including not going

forward with an application at all. Plaintiffs will also have to assist clients and members with

questions about continuing to receive or applying for benefits. Because the consequences of

applying for or receiving benefits will be far more dire, tasks that used to be relatively routine

will now require plaintiffs’ staff to conduct a grueling analysis to attempt to determine whether

the application could render the client a public charge.

               266. Plaintiffs will need to devote substantial resources to educating their

members, constituents, and immigrant communities generally regarding the Rule. For

instance, AAF held a special press briefing after the Rule was issued featuring information


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provided in seven Asian languages for the benefit both of those present and for consumers of

Asian ethnic media generally. MRNY has held eight workshops on public charge since the

final rule was announced, bringing the total number of its workshops on public charge since

the rule was proposed to over three dozen. Preparing such educational sessions requires

plaintiffs to devote time, personnel, and resources that cannot then be spent on addressing other

consequential issues facing those same constituencies.

               267. Plaintiffs like CCCS-NY and AAF that have access to charity funds also

will face extra demands on those resources. Because noncitizens will be unable to access

public benefits, they will instead turn to these organizations to help fill the gaps and make ends

meet. The plaintiffs will be unable to use these funds for other programs or to address the

needs of their other constituents.

               268. The Rule goes to the heart of the core mission of each of the plaintiffs.

Where plaintiffs seek a world where immigrants have choices and are treated with dignity and

respect as they make their way towards permanent residence and greater economic success, the

Rule has the opposite effect. In application, the Rule will prevent low-income immigrants of

color from applying to adjust, and will limit their choices about accessing benefits that get

them through hard times. To address this harm and fulfill their missions, plaintiffs will be

forced to devote time, money, personnel, and other resources to this issue.

               269. In October 2018, USCIS began a policy of issuing Notices to Appear in

immigration court for removal hearings to immigrants whose adjustment of status the agency

had denied. Intending immigrants are thus facing not only a higher likelihood of denial of

adjustment once the Rule goes into effect, but also, for many, an accompanying risk that such

denial will lead to placement in removal proceedings. Implementation of the Rule will thus


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force many adjustment applicants and their families to leave the lives they have built and

cherished over years in the United States. For Plaintiffs MRNY, ASC, and AAF, these effects

will in turn hinder the organizations’ ability to mobilize community members and impede their

ability to fulfill their mission of strengthening the political voice and well-being of immigrant

communities. For all plaintiffs, these effects will cause a substantial increase in resources

dedicated to mitigating the harms of the Rule, educating clients about the dangers of

adjustment, and evaluating the risks of accessing important health care, nutritional, and

housing assistance. And, where the Rule results in denials of adjustment of status, plaintiffs

will be forced to spend additional resources counseling individuals through subsequent

removal proceedings.

                270. The Rule will potentially result in denial of status adjustment to hundreds

of thousands of applicants, including the thousands of adjustment applicants who receive

representation, counseling, and other immigration-related services from plaintiffs. The

Department of State, which processes applicants immigrant visas from abroad, has seen a

significant increase in immigrant visa denials on public charge grounds in the year since it

implemented a policy change similar to the Rule. That pattern will repeat itself as to

applications for adjustment of status if the Rule goes into effect. Implementation of the Rule

will lead to immigrants losing their opportunity to adjust, and will threaten families with

instability far into the future.




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                                     CAUSES OF ACTION

                                          COUNT ONE

          (Violation of Administrative Procedure Act – Substantively Arbitrary
        and Capricious, Abuse of Discretion, Contrary to Constitution or Statute)

                271. Plaintiffs reallege and incorporate by reference the allegations set forth in

each of the preceding paragraphs of this Complaint.

                272. The APA, 5 U.S.C. § 706(2), prohibits federal agency action that is,

among other things, “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law”; “contrary to constitutional right”; or “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.”

                273. DHS and USCIS are each an “agency” under the APA. 5 U.S.C.

§ 551(A).

                274. In implementing the Rule, defendants took unconstitutional and unlawful

action, in violation of the APA, by, among other things, as set forth herein: (a) expanding the

definition of “public charge” in a manner contrary to the statutory meaning of the term;

(b) seeking to establish a framework for making public charge determinations that will deny

status adjustment to large numbers of intending immigrants who would be approved for status

adjustment under an approach consistent with the Act; (c) identifying “negative factors” and

“heavily weighted negative factors” for public charge determinations that are contrary to law;

(d) establishing a Rule that is so confusing, vague, and broad that it fails to give applicants

notice of the conduct to avoid and inviting arbitrary, subjective, and inconsistent enforcement;

(e) seeking to establish a framework for public charge determinations that undermines the

Congressional goal of promoting family unity; (f) promulgating a rule that discriminates



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against individuals with disabilities in violation of the Rehabilitation Act of 1973;

(g) promulgating a Rule that, in purpose and effect, is improperly retroactive; and

(h) promulgating a rule that is motivated by animus against nonwhite immigrants.

                275. Defendants acted arbitrarily and capriciously, otherwise not in accordance

with law, and contrary to constitutional right, and abused their discretion, in violation of the

APA.

                276. Defendants’ violations have caused and will continue to cause ongoing

harm to plaintiffs and the general public.

                                        COUNT TWO

            (Violation of Administrative Procedure Act – Procedurally Arbitrary
                           and Capricious, Notice and Comment)

                277. Plaintiffs reallege and incorporate by reference the allegations set forth in

each of the preceding paragraphs of this Complaint.

                278. The APA, 5 U.S.C. §§ 553 and 702(2)(D), prohibits federal agency action

that affects substantive rights “without observance of procedure required by law.”

                279. DHS and USCIS are each an “agency” under the APA. 5 U.S.C.

§ 551(A).

                280. In implementing the Rule, defendants will change the substantive criteria

regarding evaluating whether an individual is a public charge.

                281. The Rule must comply with the APA process for notice-and-comment

rulemaking. 5 U.S.C. § 553.

                282. Under the APA, agencies engaged in notice-and-comment rulemaking

must, among other things, (a) provide reasonable basis for departing from prior agency actions;



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(b) support their actions with appropriate data and evidence; and (c) provide a reasoned

response to significant public comments.

               283. Defendants have failed to comply with these obligations.

               284. These violations will cause ongoing harm to plaintiffs.

                                        COUNT THREE

 (Violation of the Administrative Procedure Act – In Excess of Statutory Jurisdiction,
                              Authority, or Limitations)

               285. Plaintiffs reallege and incorporate by reference the allegations set forth in

each of the preceding paragraphs of this Complaint.

               286. The APA, 5 U.S.C. § 706(2)(C), prohibits federal agency action that is

made “in excess of statutory jurisdiction, authority, or limitations.”

               287. DHS and USCIS lack rulemaking authority to promulgate the Rule.

               288. Section 103 of the INA denies DHS authority over the “powers, functions,

and duties conferred upon the . . . Attorney General.” 8 U.S.C. § 1103(a)(1).

               289. The INA confers upon the Attorney General, not DHS, the authority to

regulate adjustment of status applications, 8 U.S.C. § 1255(a), and to make public charge

inadmissibility determinations for noncitizens seeking admission or adjustment of status, 8

U.S.C. § 1182(a)(4)(A).

               290. The promulgation of the Rule by DHS and USCIS is in excess of the

agencies’ statutory jurisdiction, authority, or limitations.

               291. This violation will cause ongoing harm to Plaintiffs.




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                                          COUNT FOUR

        (Violation of the Fifth Amendment – Equal Protection and Due Process)

                  292. Plaintiffs reallege and incorporate by reference the allegations set forth in

each of the preceding paragraphs of this Complaint.

                  293. The Due Process Clause of the Fifth Amendment prohibits the federal

government from denying persons due process of law and the equal protection of the laws.

                  294. The Rule targets individuals for discriminatory treatment based on their

race, ethnicity, and/or national origin, without lawful justification.

                  295. The Rule was motivated, in whole or in part, by a discriminatory motive

and/or a desire to harm a particular group, nonwhite immigrants.

                  296. Nonwhite immigrants will be disproportionately harmed by the Rule.

                  297. By issuing the Rule, defendants violated the equal protection and due

process guarantees of the Fifth Amendment.

                  298. This violation will cause ongoing harm to plaintiffs.

                                     PRAYER FOR RELIEF

             WHEREFORE, plaintiffs respectfully request that the Court:

             a.        Issue a declaratory judgment stating that the Rule is unauthorized by law

                       and contrary to the Constitution and laws of the United States;

             b.        Vacate and set aside the Rule;

             c.        Preliminarily and permanently enjoin defendants from implementing the

                       Rule or taking any actions to enforce or apply it;

             d.        Award plaintiffs attorneys’ fees; and

             e.        Grant such additional relief as the Court considers just.


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Dated:   New York, New York
         August 27, 2019



                              By: /s/ Jonathan H. Hurwitz

                              PAUL, WEISS, RIFKIND, WHARTON &
                              GARRISON LLP
                              Andrew J. Ehrlich
                              Jonathan H. Hurwitz
                              Robert J. O’Loughlin
                              Daniel S. Sinnreich
                              Amy K. Bowles (admission pending)

                              1285 Avenue of the Americas
                              New York, New York 10019-6064
                              (212) 373-3000
                              aehrlich@paulweiss.com
                              jhurwitz@paulweiss.com
                              roloughlin@paulweiss.com
                              dsinnreich@paulweiss.com
                              abowles@paulweiss.com


                              CENTER FOR CONSTITUTIONAL RIGHTS
                              Ghita Schwarz
                              Brittany Thomas
                              Baher Azmy

                              666 Broadway
                              7th Floor
                              New York, New York 10012
                              (212) 614-6445
                              gschwarz@ccrjustice.org
                              bthomas@ccrjustice.org
                              bazmy@ccrjustice.org




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                       THE LEGAL AID SOCIETY
                       Susan E. Welber, Staff Attorney, Law Reform Unit

                       Janet Sabel, Attorney-in-Chief
                       Adriene Holder, Attorney-in-Charge, Civil Practice
                       Judith Goldiner, Attorney-in-Charge, Law Reform Unit
                       Susan Cameron, Supervising Attorney, Law Reform Unit
                       Kathleen Kelleher, Staff Attorney, Law Reform Unit
                       Hasan Shafiqullah, Attorney-in-Charge, Immigration Law Unit
                       Margaret Garrett, Staff Attorney, Immigration Law Unit
                       Rebecca Novick, Director, Health Law Unit
                       Lillian Ringel, Staff Attorney, Health Law Unit (pro hac vice
                       application forthcoming)
                       Esperanza Colón, Staff Attorney, Brooklyn Neighborhood
                       Office

                       199 Water Street, 3rd Floor
                       New York, New York 10038
                       (212) 577-3320
                       Sewelber@legal-aid.org
                       Jsabel@legal-aid.org
                       Aholder@legal-aid.org
                       Jgoldiner@legal-aid.org
                       Scameron@legal-aid.org
                       Kkelleher@legal-aid.org
                       Hhshafiqullah@legal-aid.org
                       Mgarrett@legal-aid.org
                       Ranovick@legal-aid.org
                       Lringel@legal-aid.org
                       Emcolon@legal-aid.org


                       Attorneys for Plaintiffs Make the Road New York, African
                       Services Committee, Asian American Federation, Catholic
                       Charities Community Services (Archdiocese of New York), and
                       Catholic Legal Immigration Network, Inc.




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